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             EXHIBIT C7
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON                         MDL NO. 16-2738 (FLW) (LHG)
 TALCUM POWDER PRODUCTS
 MARKETING, SALES PRACTICES,
 AND PRODUCTS LIABILITY
 LITIGATION

 THIS DOCUMENT RELATES TO ALL CASES




                             RULE 26 EXPERT REPORT OF
                             ANNE MCTIERNAN, MD, PHD




 Date: November 16, 2018
                                       Anne McTiernan, MD, PhD
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 Mandate

 I have been retained to review the current state of the scientific literature regarding talcum powder
 products and opine on whether those products cause ovarian cancer. When I refer to talc or talcum
 powder products in this report, I am referring to commercially available talcum powder products and all
 constituent elements contained within. All my opinions in this report are based upon a reasonable
 degree of scientific and medical certainty. My time is billed at $450 per hour for the literature review
 and preparation of this report. I have not previously provided expert testimony in legal cases.




 Credentials, Expertise, and Experience

 I am a Full Member at the Fred Hutchinson Cancer Research Center in Seattle, Washington, Division of
 Public Health Sciences, Program in Epidemiology. I am also a Full Research Professor at the University of
 Washington School of Public Health, Department of Epidemiology, and the University of Washington
 School of Medicine, Department of Medicine, Division of Geriatrics. I am an elected member of the
 American College of Epidemiology, the Obesity Society, and the American College of Sports Medicine.
 From 2002-2012, I directed the Fred Hutchinson Cancer Research Center’s Prevention Center.


 I have received several prestigious awards for my research work including: the American College of
 Sports Medicine Wolffe Lecture, 2018, the American College of Sports Medicine Citation Award, 2012;
 the McDougall Mentoring Award, Fred Hutchinson Cancer Research Center, 2011; Komen for the Cure
 Scientific Advisory Council/Komen Scholars, 2010-2012; the University of Washington Roger E. Moe
 Award for Translational Research 2009; and the Joan P. Liman MD Award, Recipient, New York Medical
 College, 1989.


 I received my PhD in Epidemiology in 1982 from the University of Washington, and my MD degree in
 1989 from New York Medical College. I completed Internal Medicine residency training from the
 University of Washington in 1992. For the past 25 years, I have focused on epidemiologic research,
 primarily in cancer and women’s health. My research studies used the methodology employed in the
 talcum powder products and ovarian cancer studies, namely, case-control studies, cohort studies, and
 meta-analyses. In addition, I have had leadership positions for several randomized controlled trials


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 testing interventions to prevent cancer. I have published over 400 scientific manuscripts in peer-
 reviewed medical and scientific journals, have contributed to several academic texts, and have edited
 two academic texts.


 I have held several leadership positions in scientific U.S. Government work. Most recently, I was a
 member of the 2018 U.S. Department of Health and Human Services Physical Activity Guidelines
 Advisory Committee and was a member of the 2008 U.S. Department of Health and Human Services
 Physical Activity Guidelines Advisory Committee. I served as chair of the Cancer subcommittees for both
 Committees. I have served on, or chaired, grant review panels for the U.S. Department of Defense
 Congressionally Directed Medical Research Programs and the National Institutes of Health, and serve as
 a program reviewer for NCI intramural epidemiologic research branches and for NCI comprehensive
 cancer centers.


 I have served on editorial boards for the American Association for Cancer Research Cancer Prevention
 Journal, the Journal of Women’s Health, and Medscape Women’s Health. I have reviewed manuscripts
 for over a dozen prestigious journals including: JAMA, Journal of the National Cancer Society, Archives of
 Internal Medicine, American Journal of Epidemiology, Annals of Internal Medicine, European Journal of
 Cancer, British Journal of Cancer, Cancer Causes & Control, Cancer Epidemiology Biomarkers &
 Prevention, Annals of Epidemiology, Epidemiology, and Nutrition.


 My research funding has been provided by the U.S. National Cancer Institute, the National Institutes of
 Health, the National Heart Lung & Blood Institute, Komen for the Cure, the Breast Cancer Research
 Foundation, National Cancer Institute Canada, and various pharmaceutical companies and other
 foundations. I have been Principal Investigator of several randomized clinical trials testing effects of
 various agents in relation to prevention of breast and other cancers, including exemestane, raloxifene,
 tamoxifen, aspirin, and vitamin D. In addition, I have been Principal Investigator of four randomized
 clinical trials testing effects of weight loss and exercise on biomarkers of breast and other cancers. I am
 co-investigator of a pending National Cancer Institute funded trial testing the effect of exercise on
 quality of life in women with ovarian cancer. I was Principal Investigator of the Seattle site of a
 prospective cohort study of 1100 breast cancer survivors that investigated associations of hormones,
 inflammation, diet, exercise, obesity, and breast cancer survival. I was Principal Investigator of a case-
 control study of thyroid cancer and hormones in women, and co-investigator of a case-control study of

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 breast cancer in men. I have published on data from other case-control studies including studies on
 breast cancer, pituitary tumors, melanoma, and colorectal adenomas. I have collaborated in several
 prospective cohort studies, resulting in lead, senior, and co-authorship of several epidemiologic
 manuscripts. These included the Women’s Health Initiative Observational Study, the Tromso study, the
 Carotene and Retinol Efficacy Trial cohort, the VITAL cohort, and the Pancreatic Cancer Cohort
 Consortium.


 While my major focus is in epidemiology of breast cancer, I have also published on ovarian cancer, on
 gynecologic cancers in general, and on women’s cancers, as described below, as well as on colorectal,
 pancreas, melanoma, and prostate cancers. In my randomized clinical trials and prospective cohort
 studies, I have investigated the effects of weight loss and exercise on biomarkers of inflammation, which
 is highly relevant to the topic of this report, because inflammation may be one mechanism linking
 talcum powder products exposure and risk of ovarian cancer.


 My international work in epidemiology has included work with the International Association for
 Research in Cancer (IARC), the World Cancer Research Fund, and the Norwegian Tromso and EBBA
 studies. For IARC, I chaired a working group on mechanisms for a monograph on obesity, physical
 activity, and cancer risk (IARC Handbook of Cancer Prevention 2002: Physical Activity and Weight
 Control, 2000-1). For the World Cancer Research Fund, I am a member of the advisory panel of experts
 that guides interpretation of meta-analyses and systematic reviews of nutrition, physical activity,
 obesity, and risk for many cancers including ovarian cancer (http://wcrf.org/sites/default/files/Ovarian-
 Cancer-2014-Report.pdf).


 From 1992 to 1997, I was the Project Director for clinical work at the Women’s Health Initiative Clinical
 Coordinating Center. I held this role from the inception of the Women’s Health Initiative, and therefore
 directed all aspects of development and implementation of the three clinical trials and observational
 study. This included development of questionnaires and protocols. Of interest to ovarian cancer and
 talcum powder products, one of the Women’s Health Initiative questionnaires includes questions about
 use of talcum powder products. Furthermore, ovarian cancer was one of the primary cancers included
 as an outcome in this study. As Project Director, I oversaw development of the protocol and procedures
 for ascertainment and adjudication of cancer outcomes, including ovarian cancer. When I stepped down
 as Project Director (to lead my own National Cancer Institute funded studies), I retained leadership of

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 the outcomes work for the Women’s Health Initiative through 2005. This outcomes work entailed
 identifying cases of specific diseases such as cancer (including ovarian), collecting medical records, and
 classifying cases according to standardized criteria.


 Although I have not personally conducted research on talcum powder products use and risk for ovarian
 cancer, I have published several manuscripts on gynecologic cancers, including prevention of ovarian
 cancer in women at high genetic risk, as well as effects of weight and exercise on risk for ovarian cancer
 and on survivorship in ovarian cancer patients. In addition, I am co-investigator of a National Cancer
 Institute grant to test an exercise intervention on quality of life in women with ovarian cancer.


 While my expertise is in the area of epidemiology, primarily in women’s health and cancer research, I
 regularly consider the reports and studies from different scientific and medical fields including
 pathology, oncology, gynecology, physiology, molecular biology, and toxicology, and therefore, I have
 experience and expertise to consider evidence presented by experts in these fields, as I do when I
 prepare scientific manuscripts and grant proposals, when I review grants and manuscripts for
 government and private funding agencies, and when I do peer-reviewing for scientific and medical
 journals. Attached as Exhibit A to this report is a current copy of my curriculum vitae.




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 Overall Approach

 The foundation for this report is based upon my education, expertise, and years of experience in
 designing, conducting, and interpreting epidemiologic studies, as well as my medical training. I drew
 upon my years of experience with synthesizing and interpreting large numbers of epidemiologic studies
 for comprehensive reports including work for the U.S. government, the World Health Organization
 International Agency for Research on Cancer (IARC), and the World Cancer Research Fund. My opinions
 are based on the published epidemiologic evidence including original case-control and cohort studies,
 systematic reviews, meta-analyses, and pooled analyses on the topic of talcum powder products
 exposure and risk of ovarian cancer. In reviewing the epidemiologic literature, I used my experience as a
 researcher in evaluating study quality, and in determining evidence of association between talcum
 powder products and ovarian cancer in terms of estimated size of the effect and statistical significance. I
 drew upon my 36 years as a PhD-trained epidemiologist and 26 years as an MD-trained clinical scientist.


 In developing my opinions in this report, I applied the same rigor and standards as I utilize in my
 academic and research work. In addition to my review of epidemiologic studies, I also considered and
 reviewed clinical, pathological, and biologic and mechanistic evidence regarding talcum powder product
 exposure and ovarian cancer development.




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  Executive Summary

  This review assessed relevant published epidemiologic evidence on the association between use of
  talcum powder products in the genital/perineal area and risk of developing epithelial ovarian cancer. My
  review, as discussed more fully in this report, included 38 publications in Medline referenced scientific
  journals. Of these papers, 28 presented data from case-control studies(1-28), 5 presented results from 3
  cohort studies(29-33), 7 were meta-analyses of all epidemiologic studies up to a set date(11, 22, 34-38),
  and 1 was a pooled analysis of 8 case-control studies(39). All of these form the basis for the conclusions
  below. The meta-analyses, which included data summarized from all published case-control and cohort
  studies, consistently showed that ever use of talcum powder products in the genital/perineal area is
  associated with a statistically significant 22 - 31% increased risk of developing epithelial ovarian cancer
  overall compared with never-users. Further, the meta-analyses found a statistically significant 24 – 32%
  increased risk of developing serous ovarian cancer—the most common subtype of epithelial ovarian
  cancer—in women who had ever used talcum powder products compared with never-users. The pooled
  analysis, which included data from 5 previously published and 3 unpublished case-control studies, found
  similar statistically significant increased risks for overall epithelial ovarian cancer and serous ovarian
  cancer (24%). The two most recent meta-analyses, and the pooled analysis, found evidence of
  relationships between increasing amount of exposure to talcum powder products in the perineal/genital
  area (including frequency, years of use, and estimates of lifetime applications) and increased risk of
  developing epithelial ovarian cancer (i.e., dose-response relationships).


  Published laboratory and clinical studies on talc exposure and ovarian carcinogenesis have shown that in
  humans, talc can migrate from the perineum to the ovaries and that it can cause an inflammatory
  response. Elevated levels of biomarkers of inflammation (such as cytokines), as well as oxidative stress,
  provide biologically plausible pathways by which talcum powder product exposure can induce neoplastic
  transformation and result in ovarian cancer.


  Given the frequency with which asbestos, a known carcinogen has been found in cosmetic and personal-
  use talc products, I reviewed the literature on the epidemiology of asbestos and risk of ovarian cancer.
  Due to the presence of not only asbestos but fibrous talc, heavy metals, and fragrance, I also reviewed
  literature on the carcinogenic properties of these constituents. IARC noted in its 2012 report that a
  causal association between exposure to asbestos and cancer of the ovary was clearly established.(40,

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  41) IARC has classified asbestos and talc containing asbestiform fibers grown in an asbestiform habit as
  Class 1 carcinogens(40, 42). Talc fibers grown in an asbestiform habit are often referred to as “fibrous
  talc.” The elongated features of fibrous talc have many of the carcinogenic properties of asbestos that
  are known to cause an inflammatory process.(40) The additional chemicals present in talcum powder
  products discussed above were also classified by IARC to be carcinogenic(40), contributing to the
  biologically plausible mechanisms to explain the carcinogenic effects of talcum powder products.


  The epidemiologic evidence in total, along with the biological and pathological evidence, fits virtually all
  of the Bradford Hill aspects of causation(43), namely: strength, consistency across populations,
  temporality, biologic gradient (dose-response), plausibility, coherence, and analogy. The weight of the
  evidence related to genital use of talcum powder products and ovarian cancer development
  demonstrates a consistent increased risk. There are many instances in which relative risks less than 1.5
  are widely accepted within the scientific community as being causative and have strong public health
  and clinical ramifications, as I point out in the report. Given the high prevalence of use of talcum powder
  products (as much as half of women in some studies), a relative risk/odds ratio in the range observed in
  these studies can have profound effects on clinical events and public health.


  In my opinion, as an epidemiologist and physician, stated to a reasonable degree of medical and
  scientific certainty, use of talcum powder products, including Johnson & Johnson Baby Powder and
  Shower to Shower, in the genital/perineal area can cause ovarian cancer. I base this opinion on the
  statistically significant elevated risk estimates (relative risk, odds ratios) seen when the epidemiologic
  data are combined, the pathological evidence, the consistency of results across geographic areas and in
  different race/ethnic groups, the evidence of a positive dose-response effect, and the plausible
  biological mechanisms.




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  The Science of Epidemiology

  Epidemiology is the science of diseases in human populations. Epidemiologists study patterns of disease
  occurrence to determine causes of the disease of interest, with an aim of finding ways to prevent the
  disease from occurring. Epidemiological research describes and seeks to explain the distribution of
  health and disease within human populations. Its methods are based mainly on comparative
  observations made at the level of individuals within populations. This type of investigation is known as
  observational. By relating differences in circumstances and behavior to differences in the incidence of
  disease, associations are identified that may or may not be causal.


  In epidemiological studies, an ‘exposure’ is a factor or condition that may or may not influence the risk
  of disease. For assessing effects of some exposures, epidemiologists may employ randomized controlled
  clinical trials, but for exposures that have possible adverse effects with little known benefit, such studies
  would be unethical. For example, the effects of vitamin supplements have been tested in large-scale
  clinical trials to determine effects on risk for several cancers. This was considered ethical because the
  expectation was that the vitamin supplements could have benefit, and were unlikely to have risk, for
  study participants. For toxicological exposures, however, with little expectation of benefit to offset
  possible adverse effects, observational studies will usually be the only available epidemiological
  evidence.


  Much public health knowledge derives from epidemiological studies. For example, observational
  epidemiological studies show us that individuals who drink excessive amounts of alcohol have a high risk
  for developing liver failure and other diseases. Such studies have shown that persons with obesity have
  a high risk for developing diabetes and that smokers have high risk for developing lung cancer. Similarly,
  the effects of toxic agents on risk for several diseases have been identified through observational
  epidemiological studies. Examples include the effect of lead paint on cognitive development in children;
  the effect of radium exposure on bone health, blood abnormalities, and cancers; and the effect of
  second hand smoke on risk for lung cancer in nonsmokers.




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  The associations between talcum powder product use and risk for ovarian cancer have been studied
  only in two types of epidemiologic studies—case-control and cohort—and therefore this description of
  epidemiologic methodology below is limited to those types of studies.



  Terminology in Epidemiological Studies

  Disease incidence: The incidence of a disease is the number of new cases that occur. An incidence rate
  is the number of new cases that occur per number of persons over an interval of time. Typically, for
  cancer, incidence rates per 100,000 individuals per year are determined. The incidence rate for ovarian
  cancer in the U.S. is approximately 11.7/100,000 women/year
  (https://seer.cancer.gov/statfacts/html/ovary.html).


  Risk: The risk of a disease refers to likelihood of its occurrence. In epidemiological studies, risk is usually
  used in relative terms, that is, the risk of developing cancer in one group versus the risk in another
  group. In cancer epidemiology, the risk almost exclusively refers to risk of incident cancer, that is, risk of
  a new cancer occurrence.


  Risk factor: The World Health Organization defines a risk factor as any attribute, characteristic or
  exposure of an individual that increases the likelihood of developing a disease or injury
  (http://www.who.int/topics/risk_factors/en/). Risk factors can be inherent, such as sex, age, and
  genetics; lifestyle-related such as diet, physical activity, or smoking; health related such as menstrual
  factors, reproductive history, or history of infectious diseases; toxic exposures such as minerals, metals,
  chemicals, or radiation; or medical, such as use of particular medications.


  Exposures: In epidemiological studies, an ‘exposure’ is a factor or condition that may increase or
  decrease the risk of disease. In this report, use of talcum powder products is the ‘exposure’ investigated.
  Self-reporting of exposure could result in incomplete information. Some women may over-report use of
  personal products, while others may not recall whether they used the products, how often or at what
  quantity they used them, or for how long they continued using them. Studies in which participants are
  queried by trained interviewers may be able to obtain information in greater detail than when
  participants complete questions on a form.(44) However, women may be reluctant to relay sensitive
  personal information to an interviewer as opposed to a self-administered form.(44) This type of


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  systematic bias, however, would underestimate the relative risk, suggesting that effects of talcum
  powder product use in the perineal area may be stronger than reported in epidemiologic studies.


  Association: Epidemiologists use the term association to describe how a disease occurrence varies as a
  result of the effect of an exposure. A positive association indicates that the exposure increases risk of
  the outcome; a negative association indicates that the exposure decreases risk of the outcome.


  Etiology: The etiology is the cause or origin of a disease or condition.


  Multi-factorial etiology: Very few cancers occur as a result of only one cause. Most, on the other hand,
  have several likely causes, each with different levels of effect. The most common risk factor for cancer is
  age, as older persons have increased risk for developing most of the common cancers. So, even though
  certain human papilloma viruses increase risk for head and neck cancers, their effect is most often seen
  with increasing age despite individuals acquiring the virus at a young age. For some cancers, exposures
  add to the effects of other exposures, or even multiply their effects. For example, both smoking and
  alcohol use increase risk for squamous cell carcinoma of the esophagus, but individuals who both smoke
  and drink have a risk of this cancer that is greater than what would be expected by adding the effects of
  the two exposures.


  Latency period: The length of time between when a person is exposed to a causal agent and when their
  cancer is first diagnosed is called the latent period. This period is typically years to decades. For
  exposures that continue over time, it may not be possible to determine the latency period of that
  cancer.


  Relative risk, odds ratio, and hazard ratio: The strength of a relationship between an exposure and the
  occurrence of disease is commonly expressed in terms of relative risk. In cohort studies, relative risk is
  the ratio of risk (or incidence) of a disease among people with an exposure to that among people
  without that exposure. In cohort studies, the hazard ratio can be used, and is the chance of an event
  occurring in one group (exposed) divided by the chance of the event occurring in another group (non-
  exposed). In case-control studies, the odds ratio is used, which is the ratio of the odds of exposure
  among cases to the odds of exposure among controls. Relative risks, odds ratios, and hazard ratios



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  above 1.0 indicate an increased risk, while those below 1.0 imply a protective effect. Therefore, a
  relative risk of 1.3 represents a 30% increased risk.


  Statistical analyses: Epidemiologists use several types of statistical analyses to determine the size and
  significance of relationships among variables in sets of data. The most common in observational studies
  are the relative risk, odds ratio, and hazard ratio. These estimates are based on individual studies, or on
  meta-analyses, which are based on data from multiple studies. To determine the likelihood of these
  being true estimates of risk, rather than just occurring by chance, epidemiologists determine the
  statistical significance. For the relative risk, odds ratio, and hazard ratio, we calculate a confidence
  interval (CI), which shows the range of values that the true risk estimate likely represents. Most
  commonly, we use 95% CI, which means we are 95% sure that a true relative risk or odds ratio lies
  within that interval of numbers. If a confidence interval includes the number 1.0, then we say the
  association between the exposure and the disease could be null. Some epidemiologists consider a CI
  that has 1.0 at one end of the range to be of “marginal statistical significance.” A similar statistic is the p-
  value, which estimates how likely the observed association is likely due to chance. Epidemiologists often
  consider a p-value less than or equal to 0.05 as “statistically significant,” and often describe p-values
  between 0.05 and 0.09 as “marginally statistically significant.” However, the term just refers to the
  likelihood of a chance finding.


  Both confidence intervals and p-values depend largely on the size of the population studied. If a relative
  risk/odds ratio indicates an effect that is consistent across studies, or that is large, we are less likely to
  reject the likelihood of true association, even if the confidence interval includes 1.0 or if the p-value is
  greater than 0.05.


  Sample size: Because development of cancer can be a random event, epidemiologists strive to
  determine whether an association between an exposure and disease could have occurred by chance. If
  the study is designed appropriately, the chance of random-ness explaining observed associations is
  lessened. The number of cases of cancer within the study is a critical element to determining likelihood
  of causality.




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  Standardized incidence ratio and standardized mortality ratio: In some epidemiologic studies, only
  highly exposed persons are available for study. This is a common occurrence in studies of occupations
  with high levels of exposures to carcinogens, such as asbestos. Researchers typically then compare the
  incidence (or mortality) in the exposed cohort with the general population from which the exposed
  cohort is drawn. The standardized incidence ratio compares the actual versus expected number of cases
  of a disease, using the population data to determine expected numbers. Similarly, the standardized
  mortality ratio compares actual versus expected numbers of cause-specific or overall deaths. The
  standardized incidence ratio and standardized mortality ratio are similar to relative risks, and 95%
  confidence intervals are often presented.


  Dose-response: “Dose response” began as a medical concept where it denotes a change in the effect of
  a medication or treatment according to the dose used. This concept can be applied to any exposure,
  including potentially toxic agents such as talcum powder products. The demonstration of a biological
  gradient adds weight to evidence that an exposure may be causal.


  Dose response effects may be linear, where an increase in the exposure increases risk of disease at each
  level of increase in the exposure. A common example is the relationship between average packs/day
  and years of cigarette smoking and risk for lung cancer. Alternatively, there may be a ‘threshold’ below
  which there is no effect seen, but above which there is an effect. An example is the association between
  exposure to menopausal hormone therapy; use for short periods has little effect on risk of breast
  cancer, but risk consistently increases for five years’ or longer use.


  Alternatively, the effect may be to influence risk one way at both low and high levels of exposure, but
  the other way at intermediate levels of exposure, shown as ‘J’- or ‘U’-shaped curves. In such cases, the
  exposure is evidently beneficial or harmful only within certain ranges. For example, intake of alcohol at
  small amounts has been related in some studies to lower risk of cardiovascular disease, whereas heavy
  intake increases risk.


  Some exposures that are continuous variables are often reported in discrete categories. Although this is
  done for statistical reasons and can make effects easier to detect, the number and location of category
  boundaries may obscure the true relationship between exposure and the outcome, and non-linear
  effects of exposure may be missed if inappropriate categories are used.

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  Bias: A systematic error in the design, recruitment, data collection or analysis that results in a mistaken
  estimation of the true effect of the exposure and the outcome.


  Confounding: This type of bias occurs when a third variable interferes with a true relationship between
  an exposure and an outcome. A confounding variable is one that is related to the risk of disease and to
  the exposure. It is not by itself a cause of the disease and does not lie in the pathway between the
  exposure and disease. A classic example is that individuals who report carrying matches in their pockets
  are more likely to develop lung cancer than individuals who do not carry matches. However, the true
  relationship is between smoking and lung cancer. Smokers are more likely to carry matches, and it is the
  smoking that is the true cause. The epidemiologic studies reviewed for this report all adjusted for
  potential confounding factors.


  Effect modification: In some persons, an exposure increases risk of disease while in others it has no
  effect or has a smaller effect. This is called effect modification. An example is that obesity has a larger
  effect on risk for colon cancer in men than in women.


  Generalizability: The goal for epidemiologic research is to identify causes of disease that can be
  applicable to all populations. Most modern-day case-control studies attempt to do this by conducting
  population-based studies. That is, they identify all cases of a cancer occurring in a population and
  attempt to interview as many of those cases as possible. They also identify a similar sample of persons
  from the same population who do not have cancer and attempt to interview as many of those as
  possible. Many of the case-control studies of talcum powder products identified cases through
  population-based cancer registries, which register almost 100% of cases of cancer occurring in the
  population served by the registry. These population-based studies are better able to produce results
  that are generalizable to the whole population. Hospital-based case-control studies of ovarian cancer
  include all cases of the cancer that present to a hospital and compare them to a comparable group of
  hospitalized patients without cancer. While the comparisons between cases and controls can be valid,
  the generalizability of the results to the population can be low if patients from the recruiting hospital
  differ from the population as a whole.




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  Generalizability can be more of an issue for cohort studies, depending on how the study participants
  were recruited. Three cohort studies have reported on talcum powder product use and ovarian cancer
  risk. The Women’s Health Initiative recruited from the general population of postmenopausal women
  from 40 clinical centers around the U.S. The rate of response was only around 1-2%, however, and
  therefore the cohort is unlikely to represent the population of American postmenopausal women. The
  Nurses’ Health Study recruited nurses from around the U.S. Their rate of response was higher than for
  the Women’s Health Initiative, but they are all nurses, and therefore have different health knowledge,
  income, and socioeconomic status compared with the general U.S. population. The Sisters’ Study
  recruited from the general population, targeting women who had at least one sister with breast cancer.
  The responding participants therefore represent only women with a family history of breast cancer, and
  given their self-selection, likely differ from the general population in vulnerability to cancer and other
  characteristics.


  Exposure measurement: Defining whether a person is exposed to a potentially causal agent is critical to
  the science of epidemiology. For many exposures, we must rely on what the individual can tell us about
  their health habits, lifestyle, work history, and use of products and medications. Recall of these variables
  can be challenging. Epidemiologists, therefore, often have interviewers use tools to jog participants’
  memories, such as anchoring around particular ages and life events. The most thorough case-control
  studies queried about both frequency and duration of use of talcum powder products, as well as brand
  and type of product, and areas of exposure (e.g., perineal, sanitary napkin, other body areas, diaphragm,
  etc.) The ascertainment of use of talcum powder products is difficult, especially in determining dose of
  exposure, because women may have been using powders without being aware of what the product
  contained. Furthermore, information on the variable contents of talcum powder products (talc, fibrous
  talc, asbestos, other metals, fragrance) was not available to the scientists conducting the epidemiologic
  studies. While many epidemiologic case-control studies of talcum powder products and ovarian cancer
  risk asked women for brand names and dates of use, and analyzed data separately by likely powder
  contents, these analyses will not have been able to identify the various constituents of talcum powder
  products.


  The Women’s Health Initiative asked about duration of use of talcum powder products but did not ask
  about frequency of use.(29) The Nurses’ Health Study asked about frequency of use but did not query
  regarding duration of use.(31) The Sisters’ Study asked participants about use of talcum powder

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  products in the 12 months before study enrollment, and the frequency of use.(30) None of the cohorts,
  therefore was able to estimate total lifetime dose of talcum powder product exposure. As described
  below, under-reporting of exposures will underestimate a true relative risk.(45) Therefore, the
  estimated relative risks in studies that looked at effects of talcum powder product use and risk of
  ovarian cancer may be under-estimates.


  Diagnosis and classification of disease outcome: “Outcome” refer to the disease or health condition of
  interest; in this report, any type of epithelial ovarian cancer is the outcome. In some reports, cancers of
  the fallopian tubes and peritoneum are combined with epithelial ovarian cancer, as they are believed to
  be the same biological process and are treated the same as ovarian cancer with surgery and
  chemotherapy (https://www.cancer.gov/types/ovarian/hp/ovarian-epithelial-treatment-pdq).


  Determination of outcomes (sometimes called “events”) is a critical part of epidemiologic research. If
  cases of a disease are over- or under-counted, results of exposure-disease associations will be skewed. If
  the source of cases differs from the source of controls, comparisons between cases and controls may be
  biased. In case-control studies, researchers try to include all cases that were newly diagnosed with the
  disease in a defined population within a set period. Population-based cancer studies often identify cases
  through population-based cancer registries. Hospital-based studies, conversely, identify cases that were
  newly diagnosed in one or more hospitals. Whichever method is used, researchers try to include and
  interview as high a proportion as possible of identified cases, to reduce chances of biased results.


  For epidemiologic studies of cancer, it is important to identify, at the minimum, the type of cancer, stage
  of cancer at diagnosis, and subtype of cancer. Using pathologists’ reports from medical records, trained
  coders classify patients into the correct categories depending on the pathology and other medical
  records. There are several different subtypes of cancer of the ovary. Over 90% originate in epithelial
  tissues and are called “epithelial ovarian cancers.” The remaining 10% originate in other ovarian tissues
  (germ cell or sex-cord stromal). Of the epithelial ovarian cancers, approximately 70% are serous, 10%
  are endometrioid, 12% are clear cell, 3% are mucinous, 1% are Malignant Brenner, and the remaining
  are mixed histologies.(46) Epithelial ovarian cancer may be invasive or borderline. Only epithelial
  ovarian cancer has been studied in relation to use of talcum powder products. Therefore, in this report,
  “ovarian cancer” refers to “epithelial ovarian cancer.”



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  Types of Epidemiologic Studies on Ovarian Cancer and Exposure to
  Talcum Powder Products

  Epidemiologists have assessed the relationships between use of talcum powder products and risk of
  ovarian cancer development, using several types of epidemiologic studies. The studies with the greatest
  number of cases of ovarian cancer used case-control designs. Most of these were designed specifically
  to address use of talcum powder products as a potential cause of ovarian cancer. Three cohort studies
  have also reported on associations between talcum powder product use and risk of ovarian cancer.
  These cohort studies were designed to test hypotheses relating hundreds of exposures to scores of
  disease outcomes including common cancers, cardiovascular disease, cerebrovascular disease,
  musculoskeletal diseases, and others. Finally, after several epidemiologic studies were published,
  researchers combined data from these studies using either meta-analyses or a pooled analysis. The
  pooled analysis also included data from previously unpublished studies, and therefore provide
  additional information beyond just summarizing results of published studies. All of these studies
  contribute to the science of the epidemiologic evidence relating use of talcum powder products to risk
  of ovarian cancer development. The totality of evidence on the causal effect of talcum powder product
  use on ovarian cancer development relies on data from epidemiologic studies, pathological evidence of
  migration to the ovaries of talc and other contents of talcum powder products (such as asbestos), and
  laboratory evidence.



  Critical Components to Both Case-control and Cohort Studies

  1) The accurate and complete ascertainment of cases. In case-control studies, this means that all cases
  of ovarian cancer should be identified in a given population and as high percent of them should be
  included in the study as possible. The controls should be free of ovarian cancer and should be as similar
  as possible to the cases except for the exposure under study. In cohort studies, this means that all
  individuals should be followed over time to determine how many did or did not develop ovarian cancer.
  For both types of studies, cases should be confirmed by medical record and pathological report review.


  2) Precise determination of exposure. In both case-control and cohort studies, both cases and non-cases
  should have completed questionnaires about their current and past history of use of talcum powder
  products, including how often they used the products, when they began use, and number of years used.

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  In case-control studies, this is often done with the help of a trained interviewer. In cohort studies, which
  typically involve larger numbers of participants because only a small fraction will go on to develop
  specific diseases, questionnaires are usually self-administered without the assistance of an interviewer.
  In cohort studies, exposures should be updated after the baseline assessments, to ensure that changes
  in exposure can be captured. For an exposure like talcum powder product use, lifetime use would be
  relevant for determining total exposure. For both case-control and cohort studies, determining early life
  exposures depend on participants’ ability to recall typical use patterns. Interviewer-administered
  surveys would typically include prompts to help participants recall past habits. Self-administered
  questionnaires may include some printed prompts, but these are usually minimal.


  For a rare endpoint like ovarian cancer, a cohort must be followed for decades in order for a sufficient
  number of cases to accrue to determine effects of particular exposures. Therefore, there is the
  possibility of bias towards the null via changes in behavior over the course of the decades of follow-up.
  A woman who was originally classified as an “ever” talc user will remain an “ever” user even if she
  subsequently discontinued talc use. A “never” user who subsequently begins talc use will always be
  misclassified as a never user unless a follow-up survey records her change in status.


  In ideal situations, the precise nature of the exposure would be verified. Despite habitual use, however,
  quantification of exposure is difficult.


  (3) For both case-control and cohort studies, the populations should be well-characterized, so that any
  potential confounding variables can be accounted for in comparing exposure rates of cases and non-
  cases.



  Case-control Studies

  In case-control studies, individuals diagnosed with a specific type of cancer (cases) are compared with
  otherwise similar individuals who have not been diagnosed with cancer (controls). The control group is a
  sample of the population from which the cases arose and provides an estimate of how the exposures
  being studied are distributed in that population. In the ideal case, the controls will be similar to the
  cases on all variables other than the exposure under question. Therefore, epidemiologists often match



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  controls to cases on such variables as age, race, and ethnicity, or they include a large enough sample of
  participants that they can adjust for these variables.


  Case-control studies can enroll a large number of cases, are usually less expensive than cohort studies,
  and can be completed over shorter periods of time. Relevant to this report, case-control studies also can
  be designed to answer specific questions related to one outcome, and participants can be queried in
  detail about certain exposures. Selection bias is an increasing problem if participation rates among case
  and control groups is substantially less than 100 percent, and where participation may be related (in
  different ways) to various exposures.


  Case-control studies are subject to their own limitations, including recall bias, which can occur when
  participants’ reports of various exposures are differentially affected by whether they are cases or
  controls in the study. This is a theoretical bias however; studies that have investigated other sources of
  data on exposures have failed to confirm the presence of differential recall between cases and
  controls.(47)


  One of the case-control studies of talcum powder product use and ovarian cancer risk (1) addressed this
  issue by counting as “users” only women who had used talcum powder products for at least six months,
  on at least a monthly basis. This procedure minimizes the potential over-reporting of minimal exposure
  by cases versus controls.


  For this report, I reviewed 28 case-control studies, for most of which the association between use of
  talcum powder products and risk of ovarian cancer was a primary research questions.



  Cohort Studies

  In prospective cohort studies (usually called cohort studies), the exposures of a large group (cohort) of
  people who are assumed to be healthy are assessed, and the group is followed over a period of time.
  During the follow-up period, some members of the cohort will be diagnosed with cancer, while others
  will not, and comparisons are then made between these two groups. Cohort studies may need to be
  very large (up to hundreds of thousands of participants) to have sufficient statistical power to identify
  factors that may increase cancer risk by on the order of 20 or 30 percent. In addition, meaningful


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  comparisons between cases and non-cases can be made only for factors that vary sufficiently within the
  cohort. Importantly, cohort studies must identify exposures of interest when participants are enrolled
  into the study, in order to determine effect of the exposures on eventual development of the outcome
  of interest. Alternatively, if an exposure is ascertained some time after enrollment (as in the Nurses’
  Health Study ascertainment of talcum powder product use), the researchers will consider the date of
  collection of that exposure data to be the start date for follow-up of study participants. Because cohort
  studies typically are designed to look at multiple outcomes such as cancers, cardiovascular diseases,
  mortality, and other diseases, information collected on exposures tends to be minimal, to pertain to
  current levels of exposure, and may not be updated during follow-up.


  Cohort studies provide the opportunity to obtain repeated assessments of participants’ exposures at
  regular intervals, which may improve the assessment of the exposures. However, for this to happen, the
  investigators need to have planned for repeated measures of the exposure. In published cohort studies
  of talcum powder products and ovarian cancer risk, no repeated measures of talcum powder products
  were reported.


  In cohort studies, the ascertainment and adjudication of cancer outcomes can be accomplished by
  directly asking participants about illnesses and hospitalizations, and requesting medical records for
  reviewing these events. In some cases, ascertainment of disease events may be accomplished by linking
  to a cancer registry.


  For this report, I reviewed results of 3 cohort studies, published in 5 papers. None were designed
  specifically to look at the association between talcum powder product use and risk of ovarian cancer.
  Further, none of these studies fully ascertained exposure to talc, as will be discussed below.



  Meta-analyses

  Because there can be random variations within individual epidemiologic studies, and because very large
  sample sizes may be needed to see effects on rare diseases, epidemiologists rarely make causal
  inferences based on results of one study. Rather, we look at the totality of epidemiologic studies to
  determine patterns of exposure-disease relationships. Meta-analysis is a method used to combine the
  statistical results of several studies to produce an average estimate of effect of an exposure on an


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  outcome of interest. These summary estimates can provide evidence regarding the presence or absence
  of an association and can allow examination of dose-response relationships. In the area of talcum
  powder products use and ovarian cancer, 7 meta-analyses have been published (11, 22, 34-38), two of
  which are very recent and covered all studies contained in the previous meta-analyses.(34, 35) Of the 7
  meta-analyses, 2 were included within reports of individual case-control studies (11, 22); the two recent
  meta-analyses contained all studies included in these 2 meta-analyses as well.


  Pooled analysis is a type of meta-analysis where original individual-level data from various published
  and/or unpublished epidemiological studies are combined and re-analyzed. The combination of data
  from multiple studies creates a larger data set and increased statistical power. One such pooled analysis
  was published on the relationship between talcum powder product use and risk of ovarian cancer, and is
  heavily cited in this report because of its significance in including very high numbers of women with
  ovarian cancer and controls, thereby providing a high degree of statistical power.(39)


  The 7 meta-analyses that I reviewed for this report included data from available cohort and case-control
  studies. I also reviewed the pooled analysis of 8 case-control studies.(39) In addition to effect measures
  (relative risks, odds ratios, hazard ratios) and their confidence intervals (or other test of statistical
  significance such as p-value), I reviewed the number of people with and without disease for each
  exposure category, method of exposure ascertainment, estimated exposure categories, assessment of
  dose-response effects, and effect sizes for all epithelial ovarian cancer and for subtypes of epithelial
  ovarian cancer (invasive, borderline, serous, endometrioid, mucinous, clear cell).




  Possible Sources of Bias in Epidemiologic Studies Reviewed

  All studies of all types must be criticality evaluated for both strengths and potential limitations in order
  to determine the totality of evidence. Limitations in epidemiologic studies are often characterized as
  biases. These include the biases listed below. It is important to note that the presence of bias does not
  render an epidemiologic study invalid. Rather, biases are issues that should be carefully considered
  when assessing how much weight should be given to individual studies, and what conclusions can be
  drawn from them.




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  Missing data: Both case-control and cohort studies can suffer from missing data. If the missing data
  items are related to the use of talcum powder products, then the estimated relative risks/odds ratios
  will likely be artificially low. If, in cohort studies, the cases of ovarian cancer are not identified, i.e., the
  cancer data are missing, the statistical power to detect statistically significant effects will be lessened.
  Both of these conditions would likely mean the true association between use of talcum powder products
  and risk of ovarian cancer is actually higher than what is observed in the epidemiologic studies.


  Poor precision of exposure measurement: Determining whether, how much, and for how long women
  were exposed to talcum powder products is difficult. Women may not remember the brand of powder
  products they used, and contents of personal powder products may not be clear or may change over
  time. Women may not remember the amount of products used, frequency of use, and years of use.


  Publication bias: The publication of epidemiologic studies depends on several factors. The investigators
  must have developed hypotheses about certain questions and designed the study accordingly, including
  asking the correct questions about the exposure and potential confounding variables, and collecting
  information from a sufficient number of participants. The investigators then need to perform statistical
  analyses, develop scientific manuscripts, and submit for journal publication. It may be difficult to find a
  journal that will accept null results (i.e. where an exposure is shown to not be related to an
  outcome).(48, 49) The pooled analysis of case-control studies provides some reassurance that
  publication bias is less likely for this association.(39) Of the 8 studies included in that analysis, 3 had not
  been previously published. Ever use of talcum powder products in the genital area produced odds ratios
  of 1.37 (95% CI 1.07–1.67), 1.36 (95% CI (1.06–1.74), and 0.99 (95% CI 0.70–1.41) for the 3 individual
  studies. That the confidence intervals overlapped, and that 2 of the 3 studies showed statistically
  significant associations, suggest low publication bias for the association between use of talcum powder
  products in the genital area and risk of developing ovarian cancer.


  Cancer process affecting likelihood of exposure: If women used talcum powder products in the perineal
  area due to symptoms from an early cancer process, results of studies could be biased. Cohort studies
  often guard against this by eliminating cases that develop within a short time of study enrollment. Case-
  control studies guard against this by asking participants to recall exposures one or more years prior to
  their cancer diagnosis (and similarly ask controls to recall exposures at least one year prior to interview).



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  Confounding: Variables related to both use of talcum powder products and risk of ovarian cancer could
  mask the true relationship between these variables. Epidemiologists handle this by adjusting in the
  analysis for these potential confounding variables. All of the studies reviewed performed adjustment for
  several potential confounding variables. Those studies that presented both adjusted and unadjusted
  odds ratios/relative risks found little effect of confounding variables on these relationships.


  Recall bias: For the case-control studies, media reports of associations between talc and ovarian cancer
  could have influenced cases such that they recalled use of talcum powder products to a greater degree
  than controls. However, the studies for which data collection pre-dated news reports of this association
  showed similar effects to those for which data were collected afterward. Thus, “recall bias” is unlikely to
  be an issue. As mentioned above, recall bias is a theoretical bias; studies that have investigated other
  sources of data on exposures have failed to confirm the presence of differential recall between cases
  and controls.(47)


  Non-response bias: Case-control studies with low levels of response in cases or controls can be biased,
  in that the non-responding cases and controls could differ with respect to use of talcum powder
  products.


  Differential results of cohort versus case-control studies: Ideally, results of case-control and cohort
  studies would be similar for the relationship between an exposure and risk of disease. However, there
  could be several reasons for discrepancy in results between case-control and cohort studies. The
  exposure measurement may differ in the two types of studies. For example, cohort studies may measure
  exposure at study entry without updating and without ascertaining lifetime exposure. The study would
  then have only one time point of an exposure that could significantly attenuate the observed
  associations between exposure and disease.


  Population-based case-control versus hospital-based case-control studies: For some exposure-disease
  relationships, population-based case control studies are the most valid method of comparing risk for
  exposed versus non-exposed persons because the risks to public health can better be estimated. For
  others, however, hospital-based case control studies may provide important information because
  controls with illnesses may be more likely to recall exposures compared with healthy controls from the
  community, and therefore recall bias can be reduced.

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  Causal Inference in Epidemiology

  The overarching goal of epidemiologic research is to determine likely causes of disease, in order to
  determine who is at risk for that disease and how to prevent the disease in individuals and populations.
  Much of epidemiologic observational research in cancer focuses on determining the associations
  between an exposure and an outcome. In other words, in a sample of individuals, are the number of
  persons exposed to an agent more likely to develop a cancer than those who are not exposed? There
  are several related questions. For example, will the persons who are exposed to a higher dose have an
  even greater risk than persons with little exposure? Will those exposed for a longer period of time have
  greater risk than those exposed for only a short time? Epidemiologists follow guidelines and logic in
  determining likelihood of an exposure causing cancer.(50) In addition to epidemiologic data,
  epidemiologists also consider plausible biological mechanisms to explain observed associations. The
  weight of evidence depends on the validity of the data as well as the clinical and biological evidence, if
  available, to explain these associations.


  In epidemiology, and therefore in this report, a positive association means that the exposure in question
  increases risk for a disease or outcome. A negative association refers to an exposure decreasing risk for
  the outcome.


  In 1965, English epidemiologist Sir Austin Bradford Hill attempted to describe several aspects of the
  causal relationship in a speech to the Royal Society of Medicine’s newly-established Section of
  Occupational Medicine.(43) As Bradford Hill explained, this is not a checklist of factors to be counted:
  “What I do not believe—and this has been suggested—is that we can usefully lay down some hard-and-
  fast rules of evidence that must be obeyed before we accept cause and effect. None of my nine
  viewpoints can bring indisputable evidence for or against the cause-and-effect hypothesis and none can
  be required as a sine qua non.”


  These aspects of a causal relationship are:


  Strength of the association. If the risk of developing cancer is several times higher in persons exposed to
  a toxic agent, that increases the likelihood of causality. It is not a necessary condition for establishing
  causality and providing recommendations for avoiding a potential cancer-causing agent, however.

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  Indeed, several carcinogens raise risk of cancer less than doubling of risk, but because of a high
  prevalence of exposure, can have major public health effects. Other exposures may be highly prevalent
  to certain groups such as factory workers; such exposures need to be minimized to meet government
  regulations for worker safety. Several examples follow:


  Alcohol and risk for postmenopausal breast cancer: Risk for postmenopausal breast cancer increases by
  approximately 10% (a relative risk of 1.1) for each 10 gram/day intake of alcohol (the amount in a four-
  ounce glass of wine).(51) Women are advised to avoid alcohol or minimize alcohol intake to no more
  than one alcoholic drink per day to reduce risk for this cancer.(51) As Bradford Hill pointed out in his
  address: “We must not be too ready to dismiss a cause-and-effect hypothesis merely on the grounds
  that the observed association appears to be slight. There are many occasions in medicine when this is in
  truth so.”(43)


  Air pollution and risk for cardiovascular disease: A 2013 meta- analysis found that for each 10 µg/m3 rise
  in PM2.5, the air pollution caused by motor vehicles, yields an 15% increase in risk of cardiovascular
  disease (similar to a relative risk of 1.15). Given the widespread prevalence of exposure to ambient
  pollution, even modest contributions to cardiovascular disease risk can have a substantial effect on
  population health. (52)


  Outdoor particulate matter air pollution and lung cancer: A 2014 meta-analysis including 18 studies
  showed a relative risk of 1.09 (95% CI 1.04-1.14) per 10-μg/m3 of exposure to particulate matter
  (PM2.5).(53) This is highly significant, because 10-μg/m3 of exposure to PM2.5 is the lowest recommended
  limit set by IARC for minimizing health effects of air pollution.


  Benzene at work and risk of leukemia: In 2010, a meta-analysis of 15 epidemiologic studies found that
  worksite benzene exposure increased risk of any leukemia by 40% (relative risk 1.40, 95% CI 1.23-
  1.57).(54)


  Estrogen-progestin menopausal hormone therapy and breast cancer risk: The Women’s Health Initiative
  clinical trial showed that this type of hormone therapy increases risk of breast cancer by 26% after an
  average 5 years of use. That level of risk was sufficient for clinical interest groups and governmental
  agencies to advise women to use hormone therapy for limited periods of time, if at all, because of risk

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  for breast cancer and other adverse events with similar levels of increased risk (29% increase in coronary
  heart disease, and 41% increase in stroke).(55) A meta-analysis of clinical trials and observational studies
  in 2018 found that use of this therapy increased risk of breast cancer by 59% (relative risk 1.59, 95% CI
  1.40-1.81).(56) These results led to FDA-required label warnings on estrogen and progesterone therapy
  preparations(57), and to clinical warnings against use of estrogen plus progesterone for prevention of
  chronic conditions.(58)


  Trichloroethylene and risk of kidney cancer: In 2012, a meta-analysis was published showing that
  occupational exposure to trichloroethylene was associated with an approximately 30% increased risk for
  kidney cancer (relative risk 1.32, 95% CI 1.17-1.50).(59)


  Regular physical activity is associated with reduced risk for cardiovascular disease, diabetes, and various
  cancers in persons who meet national physical activity guidelines of 150 minutes/week of moderate-
  intensity aerobic activity.(60) In one large pooled analysis of 6 cohorts with 661,137 men and women,
  investigators found a 20% lower mortality risk among those performing less than the recommended minimum of
  7.5 metabolic-equivalent hours per week (hazard ratio, 0.80 [95% CI, 0.78-0.82]), a 31% lower risk at 1 to 2 times
  the recommended minimum (hazard ratio, 0.69 [95% CI, 0.67-0.70]), and a 37% lower risk at 2 to 3 times the
  minimum (hazard ratio, 0.63 [95% CI, 0.62-0.65]).(61) To compare with the relative risks for adverse exposure, one
  would look at the inverse of the hazard ratios, i.e., 1.25, 1.45, and 1.59.


  Intermittent intense sun exposure and risk of melanoma: A 2005 meta-analysis included data from 57
  epidemiologic studies with 38,671 cases of melanoma, and found a relative risk of 1.61 (95% CI 1.31-
  1.99) for intermittent intense sun exposure.(62)


  Prevention of skin cancer with use of sunscreen has also been observed, with similar effect sizes. In a
  4.5-year trial with an additional 8-years follow-up, individuals randomly assigned to daily sunscreen use
  had almost a 40% reduced risk of squamous cell carcinoma (rate ratio, 0.62; 95% confidence interval,
  0.38-0.99).(63) To compare with the relative risks for adverse exposure, one would look at the inverse of the risk
  ratio, i.e., 1.6.


  Consistency of the association. A consistent association would be observed in various populations,
  places, circumstances, and times. Has the association been found in different countries, in persons from


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  various race/ethnic groups, and of different ages? This is also not a requirement, as there could be
  occasions when an exposure only increases risk for specific categories of individuals. An example, again
  from the breast cancer field, is that obesity increases risk for breast cancer occurring after menopause
  but decreases it for women who have not yet undergone menopause. Relevant to the association
  between ovarian cancer risk and use of talcum powder products, the association has been observed in
  the U.S., Canada, China, Australia, Israel, and the UK. While most data have been collected in Whites, a
  positive association between use of talcum powder products and risk for ovarian cancer has also been
  found in Blacks and Asians.


  Specificity of the association: This suggests that if an exposure causes only one type of disease, that its
  causal link to that disease is strengthened. However, Bradford Hill recognized the limits of this aspect.
  One noxious agent, such as tobacco smoke, is an accepted cause of multiple cancers as well as
  cardiovascular disease. Similarly, one disease can have multiple causes. For example, lung cancer risk is
  increased with exposure to radon and asbestos, even in persons who do not smoke. In support of this,
  Bradford Hill stated, “One-to-one relationships are not frequent. Indeed I believe that multi-causation is
  generally more likely than single causation…”(43)


  Temporality: The time course between exposure and disease occurrence is an important consideration.
  Bradford Hill was referring to the need to document that the exposure came before the disease, rather
  than something about the disease causing a person to come into contact with the exposure. This is why,
  for case-control studies, researchers have often queried women about their lifetime history of use of
  talcum powder products, beginning from young ages. Some cohort studies, on the other hand, asked
  about current use of these products when the women were first enrolled in the cohort. However, for all
  of these studies, only talcum powder product use prior to the cases’ diagnoses (and prior to a
  comparable time point for controls, in case-control studies) was counted as “exposure.”


  Biologic gradient: This refers to the dose-response curve or the shape of the association between
  exposure and risk as the amount of exposure changes. If risk for a disease increases with increasing
  amount of exposure, the likelihood of a causal relationship is often increased. The exposure can be
  classified by total duration of exposure, by usual amount of exposure, or by a combination of these two.
  For use of talcum powder products, dose has been estimated by total years of use, by frequency of use,
  and by a combination of these two variables. It should be noted that ovarian talc particle burden may

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  not be influenced by number of applications of perineal talc usage(64), and therefore the typical dose-
  response relationship may not be necessary for establishing causality between perineal talcum powder
  product use and risk for ovarian cancer. Indeed, there are numerous substances for which there is no
  safe dose.


  Plausibility: The association is strengthened if it is biologically plausible. However, Bradford Hill
  recognized that “What is biologically plausible depends upon the biological knowledge of the day.” It is
  important to note that biologic plausibility does not require proof of mechanism.


  Coherence: The cause-and-effect interpretation of the data should not significantly conflict with the
  known facts about the natural history and biology of the disease. Therefore, for example, the concurrent
  rise in tobacco smoking rates and rise in lung cancer incidence in the 20th century in the U.S., as well as
  the more recent concurrent decrease in smoking rates and decrease in lung cancer occurrence,
  strengthen the association between smoking and lung cancer as causal. For the case of use of talcum
  powder products and ovarian cancer risk, the prevalence of other risk and protective factors (e.g., use of
  oral contraceptives, hysterectomy, and tubal ligation as protective factors, obesity as risk factor)
  changed over time in the general population. Therefore, it would be difficult to determine if ovarian
  cancer incidence time trends vary by changes in use of talcum powder products. The biology involves, as
  described below, the migration of talc to the ovaries, the inflammatory process which talc elicits, and
  the carcinogenetic effects of inflammation.


  Experiment: The evidence from randomized controlled trials can provide strong support to
  observational evidence. However, in many situations, randomized controlled trials are not feasible. In
  the case of talcum powder products and ovarian cancer risk, a trial would have to be very large,
  involving 50,000 women or more, followed for decades, to determine effects of use of talcum powder
  products on risk for ovarian cancer. This is because ovarian cancer is a rare disease and typically takes
  many years to develop to be clinically diagnosable. In addition, because the effects of genital talcum
  powder product use could be harmful, it would be unethical to conduct a trial of this type.


  Analogy: Bradford Hill states that in some circumstances it would be fair to judge by analogy.
  Therefore, since some toxic agents such as thalidomide or rubella have been shown to cause birth
  defects, other drugs or viral exposures may be recognizable as possibly leading to harmful effects to a

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  fetus. Regarding talcum powder products use and ovarian cancer use: since increased inflammation has
  been associated with increased ovarian cancer risk, and since talc causes an inflammatory response in
  tissues, this strengthens the link between talcum powder products use and ovarian cancer risk.




  Methods Used for this Review

  In performing this evidence review and for purposes of my opinions, I first conducted a review of the
  relevant literature on the epidemiology of ovarian cancer risk in relation to use of talcum powder
  products, using the same process I use for systematic review articles I write for my academic work.(60,
  65) I triaged articles by title, then by abstract, and finally by complete paper. As I read the epidemiologic
  literature, I considered the “Bradford Hill” aspects of causal inference(43), as well as causal inference as
  defined by Rothman(50), and weighed the evidence. My search identified studies that both support and
  do not support my eventual opinion on whether use of talcum powder products can cause ovarian
  cancer.


  I searched in the PubMed database for research studies published in peer-reviewed, PubMed indexed
  journals, using the following search terms: (“talc” OR “talcum powder”) AND (“ovarian cancer” OR
  “ovarian carcinoma”).


  The search produced 110 references, of which 7 included meta-analyses (11, 22, 34-38), one was a
  pooled analysis (39), and 33 were reports of original epidemiologic studies that tested the association
  between talcum powder products and risk of ovarian cancer.


  I did not perform a meta-analysis, because excellent meta-analyses have been recently published,(34,
  35) and all of the published meta-analyses showed similar relative risk estimates for use of talcum
  powder products and risk of ovarian cancer. For all of the reviewed studies, I performed data extraction
  using a standardized data extraction table (see Tables 1-4). I recorded information on the publication
  year, study design, number of cases, number of controls (for case-control studies), total sample size (for
  cohort studies), population type, country, risk estimates, confidence intervals, and the type of ovarian
  cancer. I also indicated whether dose-response relationships were assessed, method used, and results.




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  In this report, I provide descriptions of the study methods and main study results including risk
  estimates (odds ratio, relative risk, or hazard ratio). All studies included control for some confounders
  and presented the risk estimates with adjustment for the confounders. I present below the results from
  adjustment with the greatest number of variables.




  Epidemiologic Evidence on the Association between Talcum Powder
  Products Use and Ovarian Cancer Risk

  Case-control Studies

  Schildkraut et al. (2016)(1) investigated the association between body powder use and ovarian cancer in
  African American women in 11 geographic areas of the U.S. Included were 584 cases and 745 controls,
  in a population-based study. Cases were identified through state or SEER cancer registries, or through
  hospital gynecologic oncology departments. Controls were randomly selected from the same
  populations as the cases. Participants were asked in a phone interview whether they had ever regularly
  used talc, cornstarch, baby, or deodorizing powders. Women were classified as “regular users” if they
  reported using any of these powders at least monthly for at least 6 months, and “never users”
  otherwise. Regular users were asked about frequency and duration of use; use on genital areas,
  underwear, sanitary napkins, or diaphragms; and use on non-genital areas. Lifetime number of
  applications was estimated as number of applications per month times number of months used.
  Occupational exposure (yes/no) was ascertained for a subset of participants. Use of genital powder was
  associated with a statistically significant 44% increased risk for ovarian cancer (odds ratio 1.44, 95% CI
  1.11-1.86). A dose-response trend was noted: compared with never-users, women who used genital
  powder less than daily had a 12% increased risk for ovarian cancer, while women who used genital
  powder daily had a 71% increased risk. The statistical test for trend was significant (p < 0.01).
  Furthermore, a greater number of years used increased risk further: compared with never-users, women
  who used genital powders for less than 20 years had a 33% increased risk of ovarian cancer, while those
  who used genital powders for 20 years or more had a 52% increased risk of ovarian cancer. The
  statistical test for trend was significant (p = 0.02). Estimated lifetime number of applications was also
  related to risk in a dose-dependent manner. Compared with never users, those who used few than 3600
  genital powder applications had a 16% increased risk for ovarian cancer, while those who used 3600 or


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  more applications had a 67% increased risk. The statistical test for trend was significant (p < 0.01). Risk
  of both serous and non-serous ovarian cancer increased statistically significantly with any genital
  powder use by 38% and 63%, respectively (odds ratios, 1.38, 95% CI 1.03-1.85, and 1.63, 95% CI 1.04-
  2.55, respectively).


  Cramer et al. (2016) (2) reported on association between genital talc use and risk of ovarian cancer in
  2,041 cases of ovarian cancer and 2100 controls. Cases were combined from three case-control studies
  interviewed in 1992-97, 1998-2002, and 2003-2008. Cases were identified from tumor boards and
  registries in Eastern Massachusetts and Massachusetts. Controls were identified from the same
  populations as controls. Interviewers asked participants if they “regularly” or “at least monthly” applied
  powder to the genital or rectal area, sanitary napkins or tampons, underwear, or non-genital areas. Type
  of powder, age begun, years used, and applications per month were ascertained. Lifetime exposure was
  estimated by multiplying frequency of applications per month by months used, and talc-years were
  calculated. Participants were then divided into quartiles according to these variables. Participants were
  also asked if their partners dusted or sprayed powder to their genital or rectal areas. Condom and
  diaphragm use were ascertained as potential sources of genital talc exposure. Genital talc use was
  associated with a statistically significant 33% increased risk of ovarian cancer (odds ratio 1.33, 95%CI
  1.16-1.52). Risk decreased with increasing time since last use. There was a clear trend to increasing risk
  for ovarian cancer with increasing frequency of use: compared with never users, risks for 1-7 days per
  month, 8-29 days per month, and 30 or more days per month were increased by 17%, 37%, and 46%,
  respectively, and the trend was statistically significant (p<0.0001). Furthermore, as months per year of
  use increased, risk increased, and the trend was statistically significant (p=0.006). Risk for serous
  invasive, endometroid invasive, and serous borderline were increased with any genital talc use, by
  approximately 40%, and all were statistically significant. Risks of serous invasive and endometroid also
  increased significantly with increased talc-years of use. Risks of serous invasive were increased in both
  premenopausal and postmenopausal women who used genital products, but the results were only
  statistically significant in premenopausal women. Premenopausal women and postmenopausal women
  using hormone therapy had the largest risks associated with talcum powder product use for most types
  of ovarian cancers.


  Wu et al. (2015) (3) investigated the associations of risk of ovarian cancer and talcum powder products
  use and other risk factors. Cases were identified through the SEER population-based University of

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  Southern California cancer registry. A total of 1,701 patients were included; and 2,319 controls were
  recruited from the cases’ neighborhoods using random selection from population lists. In-person
  interviews were conducted. To determine use of talcum powder products, women were asked if they
  ever used talc at least once per month for 6 months or more.(6) If the response was positive, they were
  asked whether they had ever used talc in non-perineal areas (feet, arms, chest or back), perineal areas,
  or on underwear or sanitary pads/diaphragm. Questions on talc use included age at first use, frequency
  of use (times per month) and years of talc use. Use of genital talc for one year or more was associated
  with a statistically significant 46% increased risk for ovarian cancer (odds ratio 1.46, 95% CI 1.27-1.69).
  Similar relative risks were seen in non-Hispanic white, Hispanic, and African-American women. A dose-
  response analysis found that for each 5-year use of genital talc products, risk for ovarian cancer
  increased by a statistically significant 14% (95% CI 1.09-1.20).


  Kurta et al. (2012)(4) published results of a population-based case-control study based in Western
  Pennsylvania, Eastern Ohio, and Western New York State. A total of 902 cases were enrolled, and 1,802
  controls were randomly selected from the general population of those areas. Perineal talc use was
  defined as ever using dusting powder or deodorizing spray on the genital or rectal areas, on sanitary
  napkins, on underwear, or on diaphragms or cervical caps. Use of perineal talc increased risk for ovarian
  cancer by a statistically significant 40% (odds ratio 1.40, 95% CI 1.16–1.69).


  Rosenblatt et al. (2011) (5) published results of a population case-control study set in western
  Washington that investigated the association between genital powder exposure and risk of ovarian
  cancer. A total of 812 women with ovarian cancer were identified through a population-based cancer
  registry and interviewed. A total of 1,313 controls were selected at random from the western
  Washington population. Sources of genital powder were ascertained, including direct perineal
  application, use on sanitary napkins and diaphragms, and use of deodorant vaginal spray. For powder
  use on sanitary napkins and use of vaginal deodorant sprays, the authors recorded the total number of
  months or years in which these products were used. For use of perineal powder, the investigators
  recorded the age began and ended, number of weeks or months of use per year, and average days per
  week used. Study participants were also asked about the types of powder used, including talcum, baby,
  cornstarch, deodorant, body/bath, and other or unknown. The authors then calculated the lifetime
  duration of use, and estimated lifetime number of applications. Perineal use of powder was associated
  with a non-statistically significant 27% increased risk for ovarian cancer (odds ratio 1.27, 95% CI 0.97-

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  1.66). The risk for borderline ovarian tumors was statistically significantly raised by 55% (odds ratio,
  1.55, 95% CI 1.02-2.37), whereas risk for invasive ovarian cancers was increased by a non-statistically
  significant 27% (odds ratio 1.27, 95% CI 0.87-1.58). Use of powder on either sanitary napkins or
  diaphragms did not increase risk. Use of vaginal deodorant spray increased risk by a non-statistically
  significant 15% (odds ratio 1.15, 95% CI 0.85-1.56). None of the dose-response or time variables (years
  of use, lifetime number of applications, age at first use, age at last use, calendar year of first use, time
  since first and last uses) showed evidence of increasing relative risk of ovarian cancer with increasing
  level of exposure to talcum powder products. Similarly, there was no evidence of increased risk for
  ovarian cancer with increasing dose of powder use on sanitary napkins, or of vaginal deodorant sprays.
  Use of perineal powder increased risk for mucinous borderline, serous borderline, endometrioid, and
  other non-mucinous ovarian cancers by 47% to 78%, but none of the odds ratios was statistically
  significant.


  Wu et al. (2009) (6) presented results of a case-control study of ovarian cancer with 609 cases and 688
  controls. Risk of ovarian cancer among users of talcum powder products in the perineal area was
  increased by 53% (odds ratio 1.53, 95% CI 1.13-2.09). Risk of serous ovarian cancer was also significantly
  elevated (odds ratio 1.70, 95% CI 1.27-2.28). A statistically significant trend to increased risk with
  lifetime numbers of applications was observed. Compared with no use, odds ratios for those with <
  5200, >5200 - <15,600, >15,600 - <52,000, and > 52,000 applications were 1.2, 1.38, 1.34, and 1.99,
  respectively (ptrend = 0.0004).


  Moorman et al. (2009) (7) published data from a population-based case-control study in White and
  Black women. In total, 1114 cases and 1086 controls were interviewed. They found no association of
  genital talcum powder product use and risk for ovarian cancer in Whites (odds ratio 1.04, 95% CI 0.82-
  1.33), and a non-statistically significant increased risk in Blacks (odds ratio 1.19, 95% CI 0.68-2.09).
  Neither dose-response nor effects by histologic subtype were addressed.


  Merritt et al. (2008) (8) published results from an Australian-wide population-based case-control study
  on talcum powder products and risk of ovarian cancer. Included were 1,576 women with ovarian cancer
  and 1,509 population-based controls. Women provided information on self-administered
  questionnaires. They were asked if they had ever used powder or talc in the genital area, on underwear,
  or on sanitary pads or diaphragms. They were also asked about age at first use and years of talc use in

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  these areas. Duration of talcum powder use prior to and after surgical sterilization was calculated, and
  all analyses were limited to the time when the fallopian tubes would have been patent. Use of talc
  elsewhere was also collected. Ever use of talc in the perineal region was associated with a statistically
  significant 17% increased risk for ovarian cancer (odds ratio 1.17, 95% 1.01-1.36). The increase was
  strongest for serous (odds ratio 1.21, 95% CI 1.03-1.44), but was also seen for endometrioid (odds ratio
  1.18, 95% CI 0.81-1.70). A statistically significant dose-response trend for years of perineal talcum
  powder use prior to surgical sterilization was seen for all cases combined (p=0.021) and for serous
  ovarian cancer (p=0.022). While not statistically significant, increasing years of use was associated with
  increased risk of mucinous and endometrioid ovarian cancers.


  Mills et al. (2004) (9) reported on a population-based case-control study in 22 counties of Central
  California. A total of 256 cases were recruited from cancer registries and interviewed, and 1,122
  population-based controls were randomly selected and interviewed. Women were asked the following
  about use of talcum powder: use in the genital area, years of use, frequency of use, and total duration of
  use. Ever use of perineal talc statistically significantly increased risk for ovarian cancer by 37% (odds
  ratio 1.37, 95% CI 1.02-1.85). There was a statistically significant trend found in the dose-response
  analysis of frequency of use; women using talc 4-7 times per week had a 74% increased risk for ovarian
  cancer (p=0.015). There was an indication of trend with duration of use up to 4-12 years, although
  number of years beyond that did not increase risk further. A similar relationship was found for
  cumulative dose (frequency times duration). Risk of serous ovarian cancer was also statistically
  significantly elevated (odds ratio 1.77, 95% CI 1.12-2.81).


  Ness et al. (2000) (10) recruited women with ovarian cancer ascertained from 39 hospitals in Eastern
  Pennsylvania, Southern New Jersey, and Delaware. A total of 767 cases of ovarian cancer were
  interviewed, along with 1,367 population-based controls. Women were asked if they ever used talc,
  baby, or deodorizing powder at least once per month for 6 or more months in their genital or rectal
  area, on sanitary napkins, on underwear, on a diaphragm or cervical cap, or on non-genital areas. They
  also were asked about male partner use of talc to the genital area or underwear. Compared with never-
  users, women who used talc in genital/rectal areas had a statistically significant 50% increased risk for
  ovarian cancer (odds ratio 1.5, 95% CI 1.1-2.0). Those who used it on sanitary napkins had a statistically
  significant 60% increased risk for ovarian cancer (odds ratio 1.6, 95% CI 1.1-2.3). Use on underwear
  increased risk by a statistically significant 70% (odds ratio 1.7, 95% CI 1.2-2.4). Use on a

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  diaphragm/cervical cap or by a male partner did not increase risk. Among those who used in the
  genital/rectal or other body areas, there was no evidence of increasing risk with increasing numbers of
  years of use.


  Cramer et al. (1999) (11) published results of a population-based case-control study with 563 cases of
  ovarian cancer and 523 controls. Risk of ovarian cancer among women with perineal talcum powder
  product exposure was increased 60% compared with non-exposed (odds ratio 1.6, 95% CI 1.18-2.15).
  Risk of invasive serous ovarian cancer was significantly increased (odds ratio 1.7, 95% CI 1.22-2.39). No
  dose-response effect, as defined by duration, was seen.


  Wong et al. (1999)(12) conducted a hospital-based case-control study in Buffalo, NY, comparing 499
  patients with ovarian cancer and 755 patients with non-gynecological malignancies. No details were
  given on how talcum powder product use was ascertained, but women were queried on site of talc use
  (sanitary napkin vs. genital/thigh area) and duration of use. Compared with non-users, those who used
  on sanitary napkins or genital/thigh areas had no increase in risk for ovarian cancer. Furthermore, there
  was no apparent trend toward greater risk with longer duration of use. Finally, there was a non-
  statistically significant 20% increased risk of serous ovarian cancer with talcum powder product use
  (odds ratio 1.2, 95% CI 0.7-2.1).


  Godard et al. (1998)(13) studied risk of sporadic (101 cases) or familial (51 cases) ovarian cancer
  according to perineal talc use compared with 152 control in Montreal, Canada. Cases were diagnosed at
  one of two teaching hospitals; controls were randomly selected from the population. Talc use questions
  were not detailed in the paper, but the variable of “ever” versus “never” perineal use of talc was
  reported. Women who had ever used perineal talc had a 2.49 times greater risk of developing any
  ovarian cancer (relative risk 2.49, 95% CI 0.94-6.58, p=.066), which was marginally statistically
  significant. The relative risk for sporadic ovarian cancer was 2.45 (95% CI 0.85-7.07, p=0.098), and for
  familial ovarian cancer it was 3.25 (95% CI 0.85-12.4, p=.084).


  Green et al. (1997)(14) included 824 Australian women with ovarian cancer who were identified through
  cancer registries, as well as 855 population-based controls. No details were provided on the specific
  questions posed regarding talc use, but perineal use was ascertained, as well as duration and ages/years
  used. Women who had ever used talc in the perineal region had a statistically significant 30% increased

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  risk for ovarian cancer (relative risk 1.3, 95% CI 1.1-1.6). The authors investigated whether a history of
  surgical sterilization affected this relative risk (the rationale being that women who are surgically
  sterilized would have lower chance of talc migrating up to the ovaries). They found that compared with
  women who had neither used talc nor had surgical sterilization, risk was highest among talc users
  without surgery (relative risk 1.3, 95% CI 1.0-1.7) and lowest among women with a history or tubal
  sterilization or hysterectomy who had not applied talc to the perineum (relative risk 0.6, 95% CI 0.5-
  0.84). No dose-response relationship by duration of use was found.


  Cook et al. (1997) (15) reported on a population-based case-control study including 313 cases of ovarian
  cancer identified through a cancer registry and 422 population-based controls in Western Washington.
  Women were queried about storing diaphragms in powder, dusting perineal areas with powder after
  bathing, powdering sanitary napkins, and using genital deodorant sprays (which may contain aerosolized
  powder). Women were further asked about duration and frequency of powder application and about
  types of powder applied. There was a statistically significant 50% increase in risk of ovarian cancer
  associated with use of any of the genital powder applications (perineal application, sanitary napkins,
  genital deodorant sprays, diaphragms) (relative risk 1.5, 95% CI 1.1-2.0). The risk was highest, and
  statistically significant, in those women who dusted perineal areas with powder (relative risk 1.8, 95% CI
  1.2-2.9). Compared with never users of genital deodorant sprays, women who used these products for
  12 months or less had a relative risk for ovarian cancer of 1.5, while those who used them for more than
  12 months had a relative risk of 2.7. Compared with never users of genital deodorant sprays, women
  who used 500 lifetime applications or less of genital deodorant sprays had a relative risk for ovarian
  cancer of 1.7, while those who used more than 500 applications had a relative risk of 2.6. Both of these
  dose-response trends were statistically significant (p < 0.05). None of the other types of perineal talcum
  powder product use showed trends to greater risk with greater estimated duration used or applications.
  The authors then categorized powders into specific types: cornstarch, talcum powder, baby powder,
  deodorant powder, and scented body/bath powder (assuming talcum powder was likely a constituent of
  the latter three as well). Exclusive use of cornstarch, or of deodorizing powder, was not associated with
  increased risk for ovarian cancer, but the numbers of cases were very small (5 and 9, respectively).
  Exclusive use of other types of powder increased risk between 20 and 60 percent, but the results were
  not statistically significant. Risk for serous ovarian cancers was statistically significantly increased by 70%
  in women who ever used any genital powder (relative risk 1.7, 95% CI 1.1-2.5). The relative risk for



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  “other tumors” among ever users was 1.8 (95% CI 1.1-2.8), while risks for mucinous or endometrioid
  tumors were not increased in genital powder users.


  Chang et al. (1997)(16) reported on the association between talcum powder product use and risk of
  ovarian cancer in a population-based case-control study in Ontario, Canada. A total of 450 patients with
  borderline or invasive ovarian cancer and 564 population controls were interviewed. Women were
  asked about regular talc use and type of talc used, as well about duration and frequency of use. Women
  were queried about regular application of talc to the perineum and about use of talc on sanitary
  napkins. Use of cornstarch on the perineum and sanitary napkins was also ascertained. Women with any
  regular talc exposure had a statistically significant 42% increased risk of developing ovarian cancer (odds
  ratio 1.42, 95% CI 1.08-1.86). Use of cornstarch was not associated with increased risk, although this was
  a very uncommon exposure in this study. Use of talc on sanitary napkins increased risk to a lesser degree
  (odds ratio 1.26, 95% CI 0.81-1.96), as did use of talc only in the perineal area (odds ratio 1.31, 95% CI
  1.00-1.73). A dose-response trend was seen: per 10 years of use of talc to the perineal area, risk of
  ovarian cancer increased by 6% (odds ratio 1.06, 95% CI 0.99-1.14). Frequency of use per month,
  however, did not show a dose-response trend. Use before and after 1970 showed almost identical odds
  ratios. Risk was higher prior to tubal ligation/hysterectomy than after either procedure. Risk was
  increased for all types of ovarian cancer included (invasive, borderline, serous, mucinous, and
  endometrioid). Only for invasive cancer was the odds ratio statistically significant, likely due to the larger
  numbers of cases in that category.


  Shushan et al. (1996)(17) published results of a population-based case-control study in Israel, looking at
  the association between talcum powder product use and risk of invasive or borderline ovarian cancer. A
  total of 200 cases, identified through a cancer registry, were interviewed, as were 408 controls selected
  randomly from the same population. Details of the talcum powder product use on the standardized
  questionnaire were not provided. Women who reported using talc “moderate to a lot” versus “never or
  seldom” had twice the risk of developing ovarian cancer, and the result was statistically significant (odds
  ratio 2.0, p=0.04).


  Purdie et al. (1995)(19) studied the association between talcum powder product use and ovarian cancer
  risk in 3 Australian states. Cases were recruited from registries at three oncology treatment centers, and
  controls were chosen randomly from the general population. The details of the interview items on talc

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  were not provided. Women who used talc around the perineum or abdomen had a statistically
  significant 27% increased risk for ovarian cancer (odds ratio 1.27, 95% CI 1.04-1.54).


  Cramer et al. (1995)(18) published results of two case-control studies, in which a total of 450 women
  diagnosed with ovarian cancer in Boston, MA area hospitals, and 454 controls selected from the general
  population, were interviewed. Use of talc “in genital hygiene” was associated with a 60% increased risk
  for ovarian cancer (odds ratio 1.6, 95% CI 1.2-2.1).


  Tzonou et al. (1993)(28) conducted a hospital-based case-control study in Athens, which included 189
  women with ovarian cancer and 200 hospital visitor controls. No information was provided on how
  talcum powder product use was ascertained, other than that women were interviewed about whether
  or not they used of talc in the perineal area. There was little evidence of an association: the relative risk
  for ovarian cancer in those who said “yes” versus “no” to perineal talc use was 1.05 (95% CI 0.28-3.98).
  However, only 6 cases and 7 controls reported using talc in the perineal area.


  Rosenblatt et al. (1992)(20) published results of a hospital-based case-control from the Baltimore, MD
  area. A total of 77 cases of ovarian cancer and 46 controls, who were treated for non-gynecologic/non-
  malignant diseases, were included. Participants were interviewed about presence and length of genital
  fiber and respiratory fiber exposure. Fiber exposure was defined as exposure to asbestos, talc, and
  fiberglass. Dose of exposure was calculated as number of years of each type of genital or respiratory
  exposures from all sources, and only exposure prior to tubal ligation (for women who had that
  procedure) was counted. Use of genital talc was associated with a 70% increased risk (odds ratio 1.7,
  95% CI 0.7-3.9). Use of talc on sanitary napkins resulted in almost a 5-fold statistically significant
  increase in risk of ovarian cancer (odds ratio 4.8, 95% CI 1.3-17.8). Talc use on diaphragms tripled risk for
  ovarian cancer (odds ratio 3.0, 95% CI 0.8-10.8). The odds ratios for these latter two exposures were not
  statistically significant. Women who had exposure years above the median had more than double the
  risk of ovarian cancer compared with women with lower exposure years (odds ratio 2.4, 95% CI 1.0-5.8).


  Chen et al. (1992)(21) interviewed 112 women with ovarian cancer and 224 community controls in
  China. No information was provided about how women were asked about talcum powder product use
  prior to 3 years before diagnosis (for cases) and a comparable date in controls. Seven cases and 5



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  controls reported using “dusting powder” to the lower abdomen and perineum for 3 or more months,
  giving a relative risk of 3.9 (95% CI 0.9-10.6).


  Harlow et al. (1992) (22)published a case-control study with 235 cases of ovarian cancer and 239
  controls. The authors found a 50% increased risk of ovarian cancer in women who had ever versus never
  used talcum powder products in the perineal area with marginal statistical significance (odds ratio 1.5,
  95% CI 1.00-2.1). Risk of serous cancer was similarly increased (odds ratio 1.4, 95% CI 0.9-2.2). Risk by
  number of lifetime applications indicated a dose response effect. Compared with no use, odds ratios for
  those with < 1000, 1000 – 10,000, and > 10,000 were 1.3, 1.5, and 1.8, respectively (ptrend = 0.09).


  Booth et al. (1989) (23) reported on a hospital-based case-control study conducted in 15 hospitals in the
  UK. A total of 235 cases with ovarian cancer and 451 controls were interviewed and asked about
  monthly experiences from age 16 to 45 years. Frequency of exposure to perineal talc was ascertained.
  Compared with never-users, women who used genital talc rarely, monthly, weekly, and daily,
  respectively, had relative risks for ovarian cancer of 0.9, 0.7, 2.0, and 1.3, respectively, and the trend
  was statistically significant (p=0.05). Cases and controls did not differ by percentage who stored
  diaphragms in talc.


  Harlow et al. (1989)(24) interviewed 116 women with serous or mucinous borderline ovarian cancer
  identified through a Western Washington population-based cancer registry, as well a population-based
  sample of 158 control women. The authors used an open-ended question asking women to specify the
  types of powder they used for perineal application after bathing, on sanitary napkins, and on
  diaphragms. Powder was categorized as baby, deodorizing, other/unspecified talcum, or cornstarch.
  There was no association between perineal use in general and risk for borderline ovarian cancer, but
  women who reported using powder on sanitary napkins had a relative risk of 2.2 (95% CI 0.8-19.8)
  compared with nonusers. Women who used deodorizing powders had a statistically significant relative
  risk of 2.8 (95%CI 1.1-11.7). No data were presented on frequency or duration of use.


  Whittemore et al. (1988)(25) included 188 ovarian cancer cases (identified through 7 hospitals in the San
  Francisco, CA area, and 539 controls (of which approximately half were hospital controls and half were
  population-based controls). Women were asked whether they had ever use talcum powder on the
  perineum, on sanitary pads, or on diaphragms, and about frequency and duration of use. Women who

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  reported using talcum powder to the perineum had a non-statistically significant 45% increased risk for
  ovarian cancer (relative risk 1.45, 95% CI 0.81-2.60). Use on sanitary pads was associated with a non-
  statistically significant 38% reduced risk, and use on diaphragms was associated with a non-statistically
  significant 50% increased risk. The relative risk for ovarian cancer increased with increasing applications
  of talc per month; relative to nonusers, the relative risk for 1-20 times per month was 1.27, and the
  relative risk for 20 or more times per month was 1.45. None of these values was statistically significant.
  The increased relative risk was apparent for women who had never had tubal ligation or hysterectomy,
  but not for women who had had one of these procedures. Compared with non-users, women with 1-9
  years of use had a relative risk of 1.6 (95% CI 1.00-2.57), but women with greater years of use had only a
  relative risk of 1.11 (95% CI 0.74-1.65).


  Hartge et al. (1983)(26) provided a brief report on a small hospital based case-control study of ovarian
  cancer, which included 135 cases and 171 controls from the Washington, DC area. No information was
  provided on how the talc exposure was ascertained. The authors found that women who reported
  genital talc use had a relative risk of 2.5 compared with never users (95% CI 0.70-10.0), but this analysis
  was based on only 7 cases and 3 controls.


  Cramer et al. (1982) (27) published the first study to look at the association between talcum powder
  product use and risk of ovarian cancer. This population-based study found an odds ratio of 1.92 (95% CI
  1.27-2.89) for ever use of perineal talcum powder products in the perineal area. Dose-response was not
  addressed.


  Summary of Case-control Studies


  These 28 case-control studies included population-based and hospital-based studies from a diverse
  geographic area across the U.S., as well as Australia, Canada, the UK, Israel, Greece, and China. Sample
  sizes ranged from 77 to 2041 cases, with comparable numbers of controls. Of the 28 studies, 24 found
  odds ratio greater than 1.1 for ovarian cancer in women who had any perineal exposure to talcum
  powder products, compared with never users(1-6, 8-11, 13-23, 25-27). Of these 24 odds ratio estimates,
  16 were statistically significant (95% confidence intervals excluded 1.0 or p value < 0.05)(1-4, 6, 8-11, 14-
  19, 27). Among the 8 studies which were not statistically significant, 7 had a sample size lower than that
  estimated to be needed to have power to detect a statistically significant result(13, 20-23, 25, 26). It is

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  important to note that while the 8 studies did not have statistically significant results, they provide
  relevant data because their relative risk estimates were consistent with the 16 studies that showed
  statistically significant results.(50)


  Both population-based and hospital-based studies were represented in the literature on use of talcum
  powder products and risk of ovarian cancer, and odds ratios/relative risks were similar across the two
  classes of studies. Earlier studies were less likely to address dose-response relationships, or to
  investigate effects of talcum powder product use on specific histologic subtypes of ovarian cancer. Most
  studies were limited to white women; later studies included larger numbers of Black women as well as
  Asian and Latina women.


  The larger, and more recent studies, however, added important information on dose-response
  relationships and on risk of particular histologic subtypes of ovarian cancer. Many of the 28 studies
  found evidence of a dose-response effect(1-3, 6, 8, 11, 20, 22, 23, 25). Most often, this took the form of
  lifetime numbers of applications of talcum powder products or years of use. The later studies
  determined that some risk of some subtypes, particularly serous ovarian cancer, were more highly
  related to use of talcum powder products.


  Taken together, the case-control studies, conducted over 40 years, provide consistent and replicated
  evidence of increased risk of ovarian cancer with perineal exposure to talcum powder products, with
  evidence of a dose-response. They support the conclusion that talcum powder products can cause
  ovarian cancer.



  Prospective Cohort Studies

  The Sisters’ Study


  The Sisters’ Study cohort analysis included 135 cases of women with ovarian cancer, 7 cases of fallopian
  tube cancer, 4 cases of peritoneal cancer, and 8 cases with unknown primary site. (30) Of the total 154
  cases, only 96 were confirmed by medical records or death certificate. Women were recruited to the
  cohort from across the United States from 2003-2009. An analysis of talcum powder products use and
  ovarian cancer risk, published in 2016, included 41,654 women who reported having at least one ovary


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  and no history of ovarian cancer at study entry, from among 50,884 women aged 35-74 years at study
  enrollment with at least one sister who had been diagnosed with breast cancer.


  Talcum powder products use for the 12 months prior to study entry was ascertained by self-
  administered questionnaires. Questions included frequency of genital talcum powder products use in
  the form of powder or spray applied to a sanitary napkin, underwear, diaphragm, cervical cap, or vaginal
  area. Response categories were: did not use, used less than once a month, used 1-3 times/month, used
  1-5 times/week, or used more than 5 times/week. Only a dichotomous variable—use/nonuse—was
  used in the analysis. Ovarian cancer cases were identified by yearly follow-up questionnaires; no
  updates on talc use were included. The median follow-up of study participants was only 6.6 years.


  Contrary to all of the other epidemiologic studies, perineal talc use was associated with a non-
  statistically significant 27% decreased risk of developing ovarian cancer (hazard ratio 0.73, 95% CI 0.44 -
  1.2). Of note, the 95% CI’s included 1.2, so the true relative risk in this cohort could have been in the
  range of the other studies. Use of talcum powder products during ages 10-13 years showed a non-
  statistically significant 10% increase in risk (hazard ratio 1.1, 95% CI 0.74, 1.7). No data on risk by ovarian
  cancer subtype were presented.


  Women’s Health Initiative


  In 2014, a report on the use of perineal powder in relation to ovarian cancer risk was published, using a
  total of 429 cases of women with ovarian cancer from the Women’s Health Initiative cohort study.(29)
  Women were aged 50-79 years at study entry, and were recruited from 40 clinical centers across the
  United States between 1993-1998. While over 93,000 women were enrolled in the Women’s Health
  Initiative cohort, this analysis included only 61,576. The largest number, 20,960, were excluded because
  they reported previously having had both ovaries removed or did not know whether they had any
  ovaries at the time of enrollment. Also excluded were 10,622 women with a history of any invasive
  cancer at enrollment. A further 516 were missing follow-up information. At study entry, women
  reported use of perineal powder on self-administered standardized questionnaires, in which they were
  asked if they had ever used powder on their genital areas. Those who responded yes were then asked to
  indicate if they used them for less than 1 year, 1-4 years, 5-9 years, or 20 or more years. Women who
  reported ever using a diaphragm were asked if they used powder on the diaphragm, and for what

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  duration. Women were also asked if they used powder on a sanitary napkin/pad, again with questions
  about duration. Because of the relatively small number of ovarian cancer cases (429) that occurred
  during the study, the investigators combined the duration categories into never, 9 years or less, or 10
  years or more. The investigators then created one variable by combining the perineal use, diaphragm
  use, and sanitary napkin use, with duration as the maximum duration for any of the 3 application areas.
  Cases of ovarian cancer were identified by participants on annual follow-up questionnaires; no updates
  on talc use were included. Medical records and pathology reports were requested for each self-reported
  case and were adjudicated by clinic physicians and central cancer adjudicators. A total of 429 cases were
  included in the analysis.


  Ever use of perineal powder was associated with a non-statistically significant 6% increased risk of
  ovarian cancer compared with never use (hazard ratio 1.06, 95% confidence interval 0.87 - 1.28). Risk of
  serous invasive cancer was increased by a non-statistically significant 13% (hazard ratio 1.13, 95% CI
  0.84 - 1.51). Both of these results, while not statistically significant, are consistent with an association
  between talcum powder product use and risk of ovarian cancer overall and of serous ovarian cancer.


  Nurses’ Health Study


  The Nurses’ Health Study is a cohort established in 1976 that had 307 cases of ovarian cancer at its initial
  publication in 2000; further data with a total of 210 cases were published in 2008; and an unknown
  number of cases were analyzed for publication in 2010. The study initially enrolled 121,700 registered
  nurses between the ages of 30-55 years from across the United States. Use of talcum powder was
  ascertained on the self-administered 1982 questionnaire only, by asking women if they had ever
  commonly used talcum, baby powder, or deodorizing powder on their perineal areas. Possible
  responses were: no, daily, 1-6 times per week, or less than once per week. Women were also asked if
  they had applied these products to sanitary napkins. “Ever talc use” was classified as ever talc use on
  either the perineal area or sanitary napkins. Every two years, participants reported health updates; no
  updates on talc use were included, but self-reported cases of ovarian cancer were adjudicated through
  medical record reviews. Women were excluded from talcum powder products analyses if they did not
  complete the information on the 1982 questionnaire, if they reported having had both ovaries removed,
  if they had had a hysterectomy but did not report whether or not they had at least one ovary remaining,
  or if they had a history of radiation therapy.

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  There have been three publications from the Nurses’ Health Study on the relationship between talcum
  powder products and risk for ovarian cancer.(31-33) The first, published in 2000, included 78,630
  women, of whom 307 cases of ovarian cancer were diagnosed during a 14 year follow-up period. Ever
  use of talc was reported by 40.4% of the cohort; 14.5% ever used talc daily.(31)


  The risk of ovarian cancer was not statistically significantly associated with epithelial ovarian cancer
  overall (relative risk 1.09, 95% CI 0.86-1.37), and risk did not increase with increasing frequency of use.
  Risk of serous ovarian cancer, however, was statistically significantly increased by 40% in women who
  had ever used talc (relative risk 1.4, 95% CI 1.02-1.91).


  The second report from the Nurses' Health Study was in 2008.(32) In this study, 210 cases and a random
  sample of 600 controls from the Nurses’ Health Study were combined with cases and controls from
  other case-control studies. Among the Nurses’ Health Study cases and controls, the relative risk for
  ovarian cancer was 1.24 (95% CI 0.83-1.83).


  Daily use was associated with a 44% increase in risk (relative risk 1.44, 95% CI 0.88-2.37), although
  neither association was statistically significant. Given that only 210 Nurses’ Health Study cases were
  included, the lack of statistical significance is likely due to this insufficient sample size.


  The third Nurses’ Health Study report was published in 2010.(33) This report looked at multiple
  menstrual, hormonal, health habits, and familial risk factors for ovarian cancer; the variable on use of
  talc to the perineal area was limited to a dichotomous “greater than or equal to once per week vs. less
  than once per week)”.


  Use of talc one or more times per week compared with less use was not statistically significantly related
  to risk for epithelial ovarian cancer (relative risk 1.06, 95% CI 0.89-1.28), serous invasive (relative risk
  1.06, 95% CI 0.84-1.35), or for other subtypes including endometrioid, or mucinous ovarian cancer.


  It is difficult to compare the results of these three Nurses’ Health Study publications. The first and third
  used different categories of use as the referent (comparison) group. The first publication used “never
  use” as the comparison and found a statistically significant effect for risk of serous ovarian cancer with

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  any use of talcum powder products. The third publication combined “never use” and “less than once per
  week” into one referent category. If low frequency use increases risk of ovarian cancer, which is entirely
  plausible, combining such women with never users will seriously underestimate the true relative risk
  associated with use of talcum powder products. The second publication found increased risks of total
  and serous ovarian cancer with use of talcum powder products, but the numbers were small and
  therefore the results were not statistically significant.


  Cohort Studies Analysis


  Two of the three cohort studies found small increases in risk of ovarian cancer overall among women
  who used talcum powder products in the perineal areas. The results were not statistically significant for
  ovarian cancer overall, however, likely due to insufficient sample size or incomplete ascertainment of
  talc exposure. The first Nurses’ Health Study publication found a statistically significant association
  between ever versus never use and risk of serous ovarian cancer. The Sisters’ Study found a reduced risk
  of ovarian cancer but did not report data by histologic subtype of ovarian cancer. Similar to the Nurses’
  Health Study, the Women’s Health Initiative found an increase, albeit non-statistically significant, in risk
  of serous ovarian cancer in users versus nonusers of talcum powder products.


  There were serious limitations to these cohort study analyses. None of the studies were specifically
  designed to investigate the relationship of talcum powder product use and risk of ovarian cancer.
  Rather, the cohorts were designed to study a large number of outcomes and a wide variety of
  exposures. Thus, none of the studies obtained detailed lifetime histories of talcum powder product use,
  although two did ask about duration of use for current users. None, therefore, was able to accurately
  measure dose of exposure. The sample sizes (numbers of cases) of most of the cohort study publications
  were likely too small to be able to detect a relative risk in the order of 1.24 (the value found in the Terry
  pooled analysis(39)) with reasonable power, especially for different histologic subtypes.


  To assess likelihood of inadequate sample sizes in these cohort studies, I used an online calculator:
  http://www.openepi.com/SampleSize/SSCohort.htm. I used WHI data(29) to estimate the cohort sizes
  needed to determine a true relative risk of 1.24 (i.e. the relative risk from Terry et al pooled analysis(39))
  with 50% exposure to talcum powder products in non-cases, and an assumption of 0.5% occurrence of
  ovarian cancer in unexposed women(66) over 12 years’ follow-up (the mean number of years of follow-

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  up in the WHI publication). My calculations show that to have sufficient power to identify a statistically
  significant relative risk of 1.24, the necessary cohort size would be over 140,000. None of the 3 cohorts
  had this large a sample size for these publications. Sample size ultimately rests on the numbers of cases
  that occur, rather than the actual cohort size. While the third Nurses’ Health Study publication(33)—had
  a large sample size of cases, the authors’ choice to combine never users with less than once per week
  users could have significantly attenuated the relative risk estimates.


  Results of the cohort studies were overall attenuated compared with results of the case-control studies.
  However, the trend for 2 of the 3 studies was a positive relative risk of talcum powder product use and
  risk of ovarian cancer. In the Nurses’ Health Study, women who used these products had a statistically
  significant 40% increased risk of developing serous invasive ovarian cancer compared with non-
  users.(31) In that study, use in the perineal area directly or on sanitary napkins increased risk of ovarian
  cancer overall by a non-statistically significant 15%.


  In the Women’s Health Initiative, use of talcum powder products to the genital area (or on sanitary
  napkins or diaphragm) increased risk overall by a non-statistically significant 6%, and risk of serous
  invasive ovarian cancer by a non-statistically significant 13%.


  The Sisters Study asked only about use of talcum powder product use in the 12 months prior to
  enrollment; just 14% of the cohort used these products in that period. The cohort included only women
  at high risk for breast cancer recruited beginning in 2003—this may have been a group of women who
  were aware of the potential carcinogenic effect of talc, and therefore avoided use. This cohort study
  found a non-statistically significant 27% lower risk of developing ovarian cancer in users versus non-
  users. Given the likely 30-50-year latency of ovarian cancer development after exposure to a
  carcinogen(67), however, these results of the Sisters’ Study are not likely reflective of risk from exposure
  to talcum powder products.


  It is important to note that the effect sizes in the Nurses’ study and in the Women’s Health Initiative
  were in the same direction as seen in virtually all of the case-control studies.


  Therefore, the attenuated results from these cohort studies do not reduce my confidence in the
  observations from the 28 case-control studies described above.

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  In summary, while the cohort studies on average showed more attenuated relative risks of ovarian
  cancer in relation to use of talcum powder product use, their results as a group do not negate the
  significant case-control study findings and the significant results of the meta-analyses and the pooled
  analysis.



  Meta-Analyses and Pooled Analyses

  I reviewed 7 meta-analyses (11, 22, 34-38) and one pooled analysis (39). All of the meta-analyses, and
  the pooled analysis, found summary elevated risks for ovarian cancer associated with use of talcum
  powder products. These elevated relative risks were statistically significant. Although many of the
  source studies from which they performed their meta-analyses had elevated risks for ovarian cancer
  with use of talcum powder products, the relative risks or odds ratios were not all statistically significant.
  I interpret the lack of statistical significance in some source studies as being due to the small sample
  sizes of many of these studies. I calculated the sample size required for a study in which 40% of controls
  used talcum powder products, in which there is good power (80%) to detect a relative risk of 1.3, and
  that had low chance of estimated a particular relative risk by chance
  (http://www.openepi.com/SampleSize/SSCC.htm). The calculation showed that the minimum number of
  cases and controls would need to be 931 each, for a total sample size of 1862. Almost none of the case-
  control or cohort studies had sample sizes this large. Lack of statistical significance found in the various
  studies is likely due to their small sample sizes. For this reason, evaluation of the meta-analyses and
  pooled analysis, with their larger sample sizes, is critical to understanding the state of epidemiologic
  evidence linking use of talcum powder products to risk of ovarian cancer.


  Perineal Talc Use and Ovarian Cancer: A Systematic Review and Meta-analysis (R. Penninkilampi,
  Eslick GD, 2018)


  In this, most recent, meta-analysis and systematic review, the authors searched 6 electronic databases,
  and selected observational studies with at least 50 cases of ovarian cancer.(34) They analyzed the
  association between ovarian cancer, including specific sub-types, and the following variables regarding
  talcum powder products: any perineal talc use, long-term (> 10 years) use, total lifetime applications,
  and use on diaphragms or sanitary napkins. Included were 24 case-control studies, with 13,421 ovarian


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  cancer cases. Also included were three cohort studies, with 890 cases and a comparison of 181,860
  person-years [numbers of non-cases multiplied by the years of follow-up]).


  The authors found that any perineal talc use was associated with a statistically significant 31% increased
  risk for ovarian cancer (odds ratio 1.31, 95% CI 1.24-1.39).


  There was evidence of a dose-response effect by number of lifetime applications. Women whose
  lifetime applications totaled less than 3600 had a statistically significant 32% increased risk of
  developing ovarian cancer (odds ratio 1.32, 95% CI 1.15-1.50), while those whose lifetime applications
  totaled over 3600 had a statistically significant 42% increased risk for ovarian cancer (odds ratio 1.42,
  95% CI 1.25-1.61).


  Increased risks were seen for all types of ovarian cancer, as well as specific subtypes: all serous (odds
  ratio 1.32, 95% CI 1.22-1.43), serous invasive (odds ratio 1.32, 95% CI 1.13-1.54), serous borderline (odds
  ratio 1.39, 95% CI 1.09-1.78), and endometrioid (odds ratio 1.35, 95% CI 1.14-1.6). For all of these
  subtypes, the confidence intervals did not include 1.0, and therefore are considered statistically
  significant and unlikely to be due to chance findings. For other subtypes, the following non-statistically
  significant associations were seen: all mucinous (odds ratio 1.12), mucinous invasive (odds ratio 1.34),
  mucinous borderline (odds ratio 1.18), and clear cell (odds ratio 1.02).


  The association between ever use of talc and overall ovarian cancer risk was higher in case-control
  studies (odds ratio 1.35, 95% CI 1.27-1.43) than in cohort studies (odds ratio 1.06, 95% CI 0.90-1.25).
  However, the results for case-control and cohort studies were similar for serous ovarian cancer. In
  cohort studies, risk for serous invasive cancer was statistically significantly increased by 25% with any
  perineal talc use (odds ratio 1.25, 95% CI 1.01-1.55), and in case-control studies, it was statistically
  significantly increased by 36% (odds ratio 1.05-1.75). There was insufficient information from the cohort
  studies to calculate the dose-response variable (total lifetime applications).


  In my opinion, the results of this 2018 meta-analysis give strong support for an association between
  perineal talcum powder product use and risk for ovarian cancer. A significant number of the aspects of
  the causal relationship that Bradford Hill describes in his address are present in these data, including
  strength, consistency, temporality, and biologic gradient. Bradford Hill did not define his first aspect—

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  strength—other than to say that the likelihood of causality is greater if the agent causes a “several fold
  higher” increase in risk in exposed persons. However, for agents like perineal talcum powder products
  that have such high prevalence of use (over 50% in some populations), the odds ratio/relative
  risk/hazard ratio for perineal talc use is of great importance for both public health and clinical medicine
  because it means that perineal talc use causes a significant number of ovarian cancer cases every year.


  The corollary example of combined estrogen plus progesterone menopausal hormone therapy and
  breast cancer risk is helpful here. The Women’s Health Initiative clinical trial showed that this type of
  hormone therapy increases risk of breast cancer by 26% after an average 5 years of use. That level of
  risk was sufficient for clinical interest groups and governmental agencies to advise women to use
  hormone therapy for limited periods of time, if at all, because of risk for breast cancer and other adverse
  events with similar levels of increased risk (29% increase in coronary heart disease, and 41% increase in
  stroke).(55) Further examples of relative risks less than 1.5 that have significant public health impact
  because of high prevalence of exposure in the population or in specific subgroups are shown on pages
  26-27.


  Genital Use of Talc and Risk of Ovarian Cancer: A Meta-Analysis (Berge W, Mundt K, Luu H, Boffetta P,
  2017)


  The authors of this meta-analysis performed a systematic search of PubMed, Embase, and Scopus
  databases(35). After quality assurance and redundancy checks, they included in their analysis 24 case-
  control studies and 3 cohort studies that reported on the association between talcum powder products
  and risk of developing ovarian cancer. The main meta-analysis compared ever versus never use of
  genital talc. Additional analyses looked at use of powder on sanitary napkins and diaphragms. Stratified
  analyses were conducted for tumor types.


  From the meta-analysis, the authors observed a statistically significant 22% increased risk of developing
  ovarian cancer in women who had ever used genital talc versus never users (relative risk 1.22, 95% CI
  1.13-1.30).


  Significant results were found for dose-response relationships, both for number of years of use and for
  number of applications. Each 10-year increase in genital talc use was associated with a 16% increase in

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  risk for developing ovarian cancer (relative risk 1.16, 95% CI 1.07-1.26). Furthermore, each increase of
  one application per week was associated with a 5% increase in risk (relative risk 1.05, 95% CI 1.04-1.07).


  Risk of serous carcinoma was the only subtype of ovarian cancer for which risk was elevated, and it was
  statistically significant (relative risk 1.24, 95% CI 1.15-1.34). “Late” exposure, which the authors
  hypothesized could be less likely to include asbestos, conferred a higher risk (relative risk 1.31, 95% CI
  1.03-1.61) than did “early” exposure (relative risk 1.18, 95% 0.99-1.37). Neither specific use on a sanitary
  napkin nor on a diaphragm increased risk. Ever use of genital talc on a diaphragm was associated with
  decreased risk (relative risk 0.75, 95% CI 0.63-0.88).


  The association of talcum powder use with increased risk of ovarian cancer was seen in case-control
  studies (relative risk 1.26, 95% confidence interval 1.17-1.35) but not in cohort studies (relative risk 1.02,
  95% confidence interval 0.85-1.2). Furthermore, hospital-based case-control studies had a higher
  summary relative risk compared with population-based case-control studies (relative risks 1.34 and 1.24,
  respectively, both statistically significant).


  In my opinion, the results of this meta-analysis are very similar to those of the later one described
  above, and further support the causal effect on ovarian cancer of talcum powder products applied in the
  perineal area.


  Perineal Use of Talc and Risk of Ovarian Cancer (Langseth, Hankinson, Siemiatycki, Weiderpass, 2017)


  In a meta-analysis conducted by some of the researchers who had investigated the epidemiologic
  research on talc exposure and ovarian cancer risk for IARC, data from 20 case-control studies were
  combined into a meta-analysis.(36) The authors found an overall odds ratio of 1.35 (95% CI 1.26-1.46)
  for ever- versus never-use of talcum powder products. The authors did not perform dose-response
  analyses.




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  Perineal Application of Cosmetic Talc and Risk of Invasive Epithelial Ovarian Cancer: A Meta-analysis
  of 11,933 Subjects from Sixteen Observational Studies. (Huncharek, Geschwind, Kupelnick, 2003)


  This meta-analysis included fifteen case-control and two cohort studies that had been published
  between 1966 and early 2001, and that fit eligibility criteria, including documenting type of talc
  exposure (e.g. dusting perineum vs. sanitary napkins). The meta-analysis produced a statistically
  significant relative risk of 1.33 (95% confidence intervals 1.16-1.45) for ever versus never use of talc in
  the perineal area.(37)


  The investigators addressed dose-response in the seven studies with information on years of talc
  exposure or numbers of talc applications per month. However, the authors combined categories of dose
  (applications per month) and duration of use (years) into one variable, and treated the dose-response
  analysis as if dose and duration were measuring the same construct. Their statement of lack of dose-
  response effect, therefore, is misleading in my opinion. The authors suggest that perhaps talc use has a
  similar carcinogenic effect as asbestos, and cites research showing that asbestos does not show a clear
  dose-response effect on risk of mesothelioma.


  The authors also separated the results of hospital-based (e.g. both cases and controls from the same
  hospitals) from non-hospital-based (controls selected from the general population) and found a lower
  relative risk for ovarian cancer (1.19, not statistically significant) for the hospital-based studies and 1.38
  (statistically significant) for population-based studies. The authors state that the hospital-based studies
  would be more accurate because they eliminate bias from case referral patterns to particular hospitals.
  However, many of the non-hospital-based studies used population-based case ascertainment (e.g.
  cancer registries) and selected population-based controls, which also eliminates the potential bias of
  hospital referral patterns.


  Genital Talc Exposure and Risk of Ovarian Cancer (Cramer, Liberman, Titus-Ernstoff, Welch,
  Greenberg, Baron, Harlow, 1999)


  In a paper that presented data for a case-control study of genital talc exposure and risk of ovarian
  cancer, Cramer et al. presented results of a meta-analysis of previous publications on the relationship
  between talcum powder product use and risk of ovarian cancer.(11) The authors included results from

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  14 case-control studies, from which they found a statistically significant combined odds ratio of 1.36
  (95% confidence interval 1.24-1.49).


  A Meta-Analytical Approach Examining the Potential Relationship between Talc Exposure and Ovarian
  Cancer (Gross and Berg, 1995)


  In a meta-analysis sponsored by the Johnson and Johnson company, Gross and Berg included nine case-
  control and one cohort study in a meta-analysis, and found that the relative risk for women “exposed”
  versus “non-exposed” to talc was a statistically significant 1.27 (95% confidence interval 1.09-1.48).(38)
  Eliminating studies that included non-epithelial ovarian tumors, and studies that did not adjust for
  potential confounders, the relative risk remained statistically significant (relative risk 1.29, 95%
  confidence interval 1.02-1.63).


  Perineal Exposure to Talc and Ovarian Cancer Risk (Harlow, Cramer, Bell, Welch, 1992)


  Harlow and colleagues presented results of a meta-analysis of previous publications on the relationship
  between talcum powder product use and risk of ovarian cancer (in the same paper in which they
  presented data on a case-control study of ovarian cancer risk in relation to perineal talcum powder
  product exposure).(22) The authors included results from 6 case-control studies, from which they found
  a statistically significant combined odds ratio of 1.3 (95% confidence interval 1.1-1.6).




  Genital Powder Use and Risk of Ovarian Cancer: A Pooled Analysis of 8,525 Cases and 9,859 Controls
  (Terry KL et al., 2013)


  This pooled analysis used resources and data from the Ovarian Cancer Association Consortium, including
  8 population-based case-control studies with relevant data on talcum powder product use.(39) Six of the
  studies were conducted in the U.S.(5, 7, 11, 68-70), one in Australia(8), and one in Canada(16). The
  analysis included 8,525 cases of ovarian, fallopian tube, or peritoneal cancer and 9,859 controls selected
  from the general population. Five of the studies had previously reported on use of talcum powder
  product and risk for ovarian cancer (5, 7, 8, 11, 16). To harmonize data on genital powder use across the
  studies, Terry et al. defined genital powder use as any type of powder (talc, baby, deodorizing,

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  cornstarch, or unspecified/unknown) applied directly or indirectly (by application to sanitary pads,
  tampons, or underwear) to the genital, perineal, or rectal area. Study-specific powder questions varied
  in detail about type and method of application. However, the authors were able to classify women into
  those who “ever used” genital powders vs. those who “never used” powders in the genital area. The
  included studies also had extensive data on other suspected risk factors for ovarian cancer that were
  adjusted for in the analyses. To measure cumulative dose of genital powder use, the authors estimated
  lifetime number of powder applications by multiplying total months of use by frequency of use per
  month.


  Genital powder use was reported by 25% of controls and 31% of cases. In the pooled analysis, ever use
  of genital powder was associated with a statistically significant 24% increased risk of ovarian cancer
  (odds ratio 1.24, 95% CI 1.15-1.33) versus women who never used these products. In contrast, women
  who had used powders only in non-genital areas had no increase in risk for ovarian cancer. Risk for
  several subtypes of ovarian cancer was statistically significantly increased in women who had used
  genital powders. Risk for invasive serous cancer was increased by 24% (1,952 cases; odds ratio 1.24, 95%
  CI 1.13-1.35). Risk for endometroid cancer was increased by 20% (568 cases; odds ratio 1.2, 95% CI 1.03-
  1.4), and risk for clear cell cancer was increased by 26% (327 cases; odds ratio 1.26, 95% CI 1.04-1.52).
  Risk of serous borderline cancer was increased by 45% (odds ratio 1.45, 95% CI 1.24-1.69). Risk of
  mucinous cell invasive cancer and mucinous cell borderline cancer were not statistically significantly
  associated with use of genital powder products (206 cases; odds ratios 1.06, 95% CI 0.82-1.26; and 409
  cases; 1.19, 95% CI 0.98-1.43, respectively).


  There was a striking similarity in findings across studies, and the statistical test for heterogeneity was
  not significant (p > 0.61). All but one study showed odds ratios greater than 1.0, of which 5 were
  statistically significant (i.e., the confidence intervals did not contain 1.0).


  To assess dose-response effects, the authors categorized participants who had used genital powder into
  4 equal groups by lowest to highest level of use (quartiles), and compared their risk for ovarian cancer to
  that in non-users. A clear dose-response trend was evident. Compared with never users of genital
  powder, women in quartile 1 had a 14% increased risk for ovarian cancer (odds ratio 1.14, 95% CI 1.00-
  1.31), women in quartile 2 had a 23% increased risk for ovarian cancer (odds ratio 1.23, 95% CI 1.08-
  1.41), women in quartile 3 had a 22% increased risk for ovarian cancer (odds ratio 1.22, 95% CI 1.07-

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  1.40), and women in quartile 4 had a 32% increased risk for ovarian cancer (odds ratio 1.32, 95% CI 1.16-
  1.52). Slightly higher odds ratios were seen when the cancers were restricted to non-mucinous subtypes
  (i.e., serous invasive, endometroid invasive, clear cell invasive, and serous invasive): 1.18, 1.22, 1.22, and
  1.37, respectively, for increasing levels of use by quartiles. When all 5 categories were included, the
  trend was highly statistically significant (ptrend < 0.0001).


  The authors performed some additional analyses to make sure that the results were not biased. First,
  they excluded cases and controls who only began to use genital powders after undergoing tubal ligation
  or hysterectomy (after which powder likely would not migrate to the ovaries). This had no effect on the
  odds ratios—the increased risks for ovarian cancer remained virtually identical in each quartile. They
  then looked at effect of genital powder use and ovarian cancer risk by subgroups of women according to
  other ovarian cancer risk factors. They found no significant interactions between genital powder use and
  parity, reported history of endometriosis, tubal ligation/hysterectomy, or menopausal status. They did
  find that the effect of genital powder use was higher in normal/overweight women (odds ratio 1.28,
  95% CI 1.17-1.39) than it was in women with obesity (odds ratio 1.14, 95% CI 0.98-1.32).


  Finally, the authors looked at associations between genital powder use and ovarian cancer by years of
  beginning use. They found that the association between genital powder use and ovarian cancer risk was
  similar for women who started use between 1952 and 1961 (odds ratio 1.36, 95% CI 1.19–1.56),
  between 1962 and 1972 (odds ratio 1.27, 95% CI 1.11–1.46), and after 1972 (odds ratio 1.31 95% CI
  1.15–1.51). However, they observed an attenuated association for women who started genital powder
  use before 1952 (odds ratio 1.08, 95% CI 0.93–1.25).


  The Terry et al. pooled analysis provides strong evidence that perineal talcum powder product use
  causes ovarian cancer. “Strong” here does not pertain to size of the odds ratio/relative risk. Rather, it
  refers to the fact that the number of cases included was larger than any previous study, the 8 case-
  control studies included showed similar effect sizes for association of genital powder use and ovarian
  cancer risk (consistency), the dose-response effect was clear, and there were enough numbers of cases
  to determine effects on subtypes of ovarian cancer.




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  Summary of Meta-analyses/Pooled Analysis Results


  All of the meta-analyses and the pooled analysis demonstrate increased risk of ovarian cancer in women
  who used talcum powder products in the genital or perineal area compared with nonusers. The earlier
  meta-analyses included fewer studies, primarily case-control studies. The most recent meta-analyses
  included three cohort studies and 24 case-control studies.(34, 35) The summary relative risks were quite
  consistent across the meta-analyses and the pooled analysis, ranging from 1.22 to 1.4 for any versus no
  use of perineal talcum powder products. Furthermore, all of the summary results were statistically
  significant. Importantly, the later meta-analyses(34, 35) and the pooled analysis(39) assessed dose-
  response relationships, while earlier meta-analyses did not(11, 22, 36), or did so inaccurately(37). These
  findings of increased risk of ovarian cancer with perineal exposure to talcum powder products shows
  that the observed associations overall and those for dose-response are robust.


  One striking observation across the meta-analyses and pooled analysis is that the total sample sizes
  (numbers of cases) in all of the meta-analyses and the pooled analysis were sufficient to detect
  statistically significant relative risks of 1.3 for an overall “exposed” versus “non-exposed” variable with
  prevalence of 40 percent (see page 48 for a calculation of needed sample size). As shown in Tables 3 and
  4, the numbers of cases in the meta-analyses and pooled analysis ranged from 1106 to 14,311, with
  controls of equal or greater number. All of these, therefore exceed the sample size I estimated that is
  needed to have statistical power to determine relative risks of 1.3. In contrast, many of the individual
  case-control or cohort studies did not have large enough samples of cases to have statistical power to
  determine a relative risk of 1.3.




  Asbestos, Fibrous Talc, and Heavy Metals in Talcum Powder Products

  It is important to note that talc is not asbestos-free. Talcum powder products contain other, potentially
  carcinogenic substances; of greatest concern is the presence of asbestos in talc, and the presence of talc
  with asbestiform fibers (fibrous talc), in these products. The presence of any one of these constituents
  add to evidence of biologic plausibility that would support the consistent increased risk seen in the
  epidemiologic studies.




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  Asbestos can take several forms. Proven carcinogenic forms include serpentine (chrysotile) and
  amphibole (actinolite, amosite, anthophyllite, crocidolite, and tremolite) minerals.(40) Both serpentine
  and amphibole asbestos forms are classified by IARC as Class 1 carcinogens(40). In their 2012 report,
  IARC stated that talc deposits may include tremolite, anthophyllite, and actinolite forms of asbestos(40).


  Talc may form true mineral fibers that are asbestiform in habit. This form of talc is also referred to as
  fibrous talc and classified by IARC as a Class 1 human carcinogen(40). The IARC report also noted that
  “talc containing asbestiform fibers” is not the same as “talc contaminated by asbestos”(40). The
  conclusions reached in the 100c monograph about asbestos apply to fibrous talc (40). IARC has classified
  platy (non-fibrous) talc as a 2B “possible” carcinogen(42).


  The primary route of exposure to asbestos is respiratory in the general population, although exposure
  through drinking water and exposure to hair or clothing of asbestos workers has also occurred (40). For
  talc, the primary exposures listed by the IARC report are respiratory and perineal (40).


  Asbestos has been established as a cause of several types of cancer including epithelial ovarian cancer
  (40, 41). In order to assess the causal relationship between asbestos and ovarian cancer, I conducted a
  literature search. My search yielded a total of 26 studies that have investigated the epidemiology of
  asbestos exposure and risk of ovarian cancer. Two of these were meta-analyses, both published in
  2011.(71, 72) One was a pooled analysis of 43 Italian cohorts with high asbestos exposure. (73) In
  addition, IARC published monographs on the carcinogenic role of asbestos, and conducted a systematic
  review through 2009 of asbestos and risk of ovarian cancer. (40, 41, 74) IARC concluded that asbestos,
  fibrous talc, chromium, and nickel are Group 1 human carcinogens.(40) IARC also classified cobalt as a
  2B “possible” carcinogen.


  Published data as recently as 2014 have shown that present-day talcum powder products include
  several types of asbestos.(75, 76) Company documents and testimony also provide further evidence of
  the presence of asbestos, fibrous talc, and heavy metals in talcum powder products.(77, 78) Dr. William
  Longo tested historical samples provided in litigation. Test results reveal the presence of asbestos in
  approximately half of the samples tested. Additionally, fibrous talc was found at varying levels in all
  samples.(79-83)



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  Finally, I have reviewed the report of Dr. Michael Crowley that discusses the different chemicals added
  to the fragrance constituents contained in Johnson’s Baby Powder and Shower to Shower products
  (84)Based on his review, he has concluded that these chemicals may contribute to the potential
  carcinogenicity of talcum powder products.


  Therefore, based on the scientific literature and testing results, it is my opinion that the presence of
  asbestos, heavy metals, fibrous talc, and fragrances are all biologically plausible explanations for talcum
  powder products causing ovarian cancer.




  Biological Mechanisms

  Evidence of Migration of Talcum Powder Products (Talc, Asbestos, Other Minerals) to
  the Ovary and Fallopian Tubes

  Clinical and laboratory studies have shown that talcum powder products can migrate to the ovaries and
  fallopian tubes. An early surgical study in healthy premenopausal women found that inert particles
  placed in women’s vaginas moved to their fallopian tubes within 30 minutes in two of the three patients
  studied.(85) Henderson et al. found talc particles in 10 of 13 (75%) of ovarian tumors studied using an
  extraction-replication technique.(86) The findings were replicated 8 years later, with all surgeons
  removing the ovaries wearing gloves with no talc, to ensure that surgical contamination was not the
  cause of the observed talc within ovaries.(87) This replication study found talc in all 9 samples studied—
  3 normal ovaries, 3 cystic ovaries, and 3 adenocarcinomas.


  In another relevant clinical experiment regarding migration, the researchers placed 3 ml of 90mTc-
  labelled human albumin microspheres in women’s vaginas one day before pelvic surgery.(88) Of the 21
  women for whom the materials moved up from the cervical area, ovaries and fallopian tubes could be
  counted separate from the uterus in 14. Of these 14, 9 showed radioactivity in the fallopian tubes and
  ovaries, and 5 showed no radioactivity. In a pathological study as part of a case-control study of benign
  ovarian conditions, ovaries from 24 women were tested for presence of talc and asbestos by both
  electron microscopy and light microscopy.(64) All tested ovaries were found to have talc present. Only
  half of the 24 women reported a history of perineal talc exposure, which suggests additional routes of
  exposure to talc, such as inhaled powder. The presence of talc was not due to surgical gloves as all

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  surgeons wore talc-free gloves in this study. In another study employing microscopy (Raman), the study
  authors found talc particles in ovarian tissue samples from a woman with known perineal talc exposure
  that were not visible with other methods.(89)


  Another study demonstrated migration of talc evaluated powder on medical gloves used to perform
  pelvic examinations (with gloved hand inserted into the vagina).(90) This study detected powder in the
  peritoneal fluid, fallopian tubes, and ovaries the following day after the pelvic examination in women
  exposed to powdered gloves but almost none in women exposed to unpowdered gloves. The
  differences between the two groups were statistically significant.


  In 2007, Cramer described the presence of talc particles observed in a pelvic lymph node of a 68 year old
  woman with stage III serous ovarian carcinoma.(91) The authors used scanning electron microscopy to
  identify plate-like particulates in the 5-10 µm range within the lymph node, and energy dispersive X-ray
  spectroscopy revealed a magnesium and silicate signature compatible with talc. The authors also noted
  that talc could migrate through transport of the lymphatic system.


  The results of these studies demonstrate talcum powder products can migrate from the perineal area to
  the ovaries and fallopian tube through both genital tract migration and inhalation. In my opinion it is
  biologically plausible that talcum powder products can reach the ovaries via migration from the
  perineum and via inhalation into the lungs, blood stream, and lymphatic system.



  Inflammation in the Causal Pathway between Talcum Powder Product Use and Ovarian
  Cancer Development

  The literature suggests that a likely pathway through which use of talcum powder products increases
  risk of ovarian cancer is through talc-induced inflammatory response.(92) As described above, it is well
  supported that talc can migrate through the female genital tract and settle in the area of the ovaries,
  fallopian tubes, and peritoneum (64, 86-88, 91, 93). Increased blood levels of biomarkers of
  inflammation have been linked to increased risk for ovarian cancer. A recent meta-analysis of 8 cohort
  studies found that women with high blood levels of c-reactive protein (a marker of increased systemic
  inflammation) had almost double the risk of developing ovarian cancer compared with women with low
  levels.(94)


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  Further evidence of the inflammation mechanism comes from studies which evaluate anti-
  inflammatories, like aspirin and NSAIDs, and reduction of risk of ovarian cancer. A pooled analysis of
  case-control studies published in 2014 showed that long-term daily use of aspirin (which blocks
  inflammation) decreased risk of ovarian cancer (odds ratio = 0.91; 95% CI = 0.84-0.99) Similar, but not
  statistically significant, results were shown for use of other nonsteroidal anti-inflammatory
  medications.(95) A 2018 meta-analysis found an 11% reduced risk of ovarian cancer with aspirin use
  (relative risk 0.89, 95% CI 0.83-0.95).(96) Aspirin and other nonsteroidal anti-inflammatory medications
  inhibit the inflammation-mediating enzyme, COX-1(95); COX-1 is frequently overexpressed in ovarian
  cancer tissue.(97, 98)


  Chronic inflammation may result in cell proliferation, inhibition of apoptosis, and secretion of mediators,
  that may promote tumorigenesis.(92) Factors related to the inflammation of the ovarian surface and
  tubal epithelium, such as incessant ovulation, endometriosis, and pelvic inflammatory disease, provide
  further evidence of inflammation and ovarian carcinogenicity. (99-101)


  Talc exposure has also been linked to increased inflammation. It can induce granulomas and other
  inflammatory responses in vivo.(102, 103) Injected into the pleural cavity to treat pneumothorax, talc
  stimulates an intra-pleural inflammatory reaction that causes pleural fibrosis and scarring, leading to
  obliteration of the pleural space and prevention of recurrent pneumothoraces.(104) In humans,
  elevated interleukin 8 (a chemotactic cytokine) occurs after pleural injection of talc.(105) In a study of over
  227 patients treated with talc pleurodesis; about half received small particle talc, and half received
  large-particle talc. Patients who received small particle talc had significantly higher proinflammatory cytokines,
  particularly interleukin 8, in pleural fluid and serum after talc application.(106) In animal models, injection of

  talc into the pleura can cause local and systemic inflammatory responses(107) including elevated
  inflammation-related biomarkers c-reactive protein and interleukin 8(108) as well as VEGF, and TGF-
  beta.(109) This type of inflammation can induce neoplastic changes.(110)



  Additional Evidence of Biological Mechanisms

  Exposing human ovarian stromal and epithelial cells to talc resulted in increases reactive oxygen species
  (oxidative stress), cell proliferation and neoplastic transformation of cells.(110) Similarly, in a recent in


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  vitro study by Fletcher et al., talc was applied in different concentrations, for varying numbers of hours,
  to epithelial ovarian cancer cell lines and normal ovarian epithelial cells.(111) As early as 24 hours post-
  treatment, they found increases in mRNA (gene expression) of pro-oxidant enzymes iNOS and MPO in
  talc-treated epithelial ovarian cancer cells and normal ovarian cells, compared with non-treated
  controls. Marked decreases in several antioxidant enzymes in talc-treated cells were also seen. This
  study supports the role of talc in inducing oxidative stress, providing a molecular basis for epidemiologic
  studies demonstrating an increased risk of ovarian cancer with perineal talcum powder product
  exposure.(111-113) Another in vitro study found that talc induced a biological effect by enhancing CA-
  125 in ovarian cancer cells and in normal cells.(114)



  Talc application to human mesothelial cells in cell culture has also been shown to increase gene
  expression in 30 genes that are relevant to carcinogenesis, and asbestos application increased gene
  expression in over 200 genes.(115) In the same study, asbestos application to human ovarian epithelial
  cells increased gene expression in two genes at 8 hours and 16 genes at 24 hours. Many of the
  expressed genes are relevant to the carcinogenic process. Results from this experimental study show
  that talc causes a statistically significant increase in gene expression in mesothelial cells in several genes
  related to carcinogenesis, including activating transcription factor 3 (ATF3), which controls production of
  several markers of inflammation.(115)


  Asbestos, which has been found in talcum powder products, has been classified by IARC as a known
  ovarian carcinogen after a systematic review of the epidemiological and biological science.(40) Two
  meta-analyses and one pooled analysis have addressed the association between asbestos exposure and
  risk of ovarian cancer.(71-73) The studies of asbestos and ovarian cancer were typically studies of
  cohorts with high levels of occupational or home asbestos exposure, and comparisons were made to the
  general population as controls. The most recent meta-analysis found that women exposed to asbestos
  had a relative risk dying of ovarian cancer of 1.77 (95% CI 1.37-2.28) compared with unexposed
  populations(71). The other meta-analysis found that women exposed to asbestos had a relative risk of
  developing or dying of ovarian cancer of 1.75 (95% CI 1.45-2.10) compared with unexposed women(72).
  An additional four cohort studies (73, 116-119), which were published after the date of the most recent
  meta-analysis(71),as well as the pooled analysis(73) found similar elevated risks of ovarian cancer in
  women with asbestos exposure.


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  IARC also lists mechanisms through which asbestos can cause cancer including: impaired fiber clearance
  leading to macrophage activation, inflammation, generation of reactive oxygen and nitrogen species,
  tissue injury, genotoxicity, aneuploidy and polyploidy, epigenetic alteration, activation of signaling
  pathways, and resistance to apoptosis.(41) Asbestos is another biologically plausible explanation for
  talcum powder products causing ovarian cancer.


  It is my opinion, based on these studies, that talc and asbestos induce inflammation which results in cell
  proliferation, inhibition of apoptosis, and secretion of mediators, that may promote tumorigenesis. This
  adds to the weight of evidence and provides a plausible biological explanation for the association
  between genital talcum powder product use and ovarian cancer.


  Another line of experiments in support of the biologically plausible mechanism for talcum powder
  products causing ovarian cancer were conducted in animals. A study with female rats showed that talc is
  absorbed through the pleural surface and rapidly disseminated throughout internal organs and lymph
  nodes.(120) Henderson et al found that talc placed in the uteruses or vaginas of female rats moved to
  the animals’ ovaries by four days post-administration.(121)


  In another study, exposure of rat ovaries to talc led to cyst formation and epithelial changes.(122) A
  methodology study discovered that talc caused superoxide anion generation and release from mouse
  macrophages.(123)


  Animal experiments conducted by the National Toxicology Program (NTP) of the U.S. Department of
  Health and Human Services are highly relevant to the role of talc in carcinogenesis. An NTP rat
  study provided important “signal “ information of talc toxicity relevant to talc and development of
  ovarian cancer.(124) In an inhalation study, male and female F344/N rats were exposed to daily talc
  aerosols of non-asbestiform talc, with appropriate controls. NTP concluded that there was clear
  evidence of carcinogenic activity of talc in female F344/N rats based on increased incidences of
  alveolar/bronchiolar adenomas and carcinomas of the lung, and benign and malignant
  pheochromocytoma of the adrenal gland. The NTP also concluded that there was some evidence of
  carcinogenic activity of talc in male F344 /N rats based on an increased incidence of benign and
  malignant pheochromocytoma of the adrenal gland.

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  In my opinion, these animal studies further demonstrate that talcum powder products and its attendant
  inflammation can induce carcinogenesis. This provides further evidence of a biologically plausible
  mechanism supporting causation of ovarian cancer from the use of talcum powder products.




  Summary of Findings: Weight of the Evidence/Bradford Hill Analysis

  The summary relative risk estimates from the most recent meta-analyses(34, 35) and the pooled
  analysis(39) indicate that women who have ever used talcum powder products in the perineal/genital
  areas (including use of sanitary napkins, diaphragms, underwear, and direct application) have
  approximately 22-31% increased risk of developing ovarian cancer compared with never-users.


  This review of the association between talcum powder products in the perineal/genital area produced
  several clear findings. Below, they are outlined according to the aspects of causality as described by
  Bradford Hill.(43) The epidemiologic evidence in total, along with the biological and pathological
  evidence, fits virtually all of the Bradford Hill aspects for causation, namely: the strength of the
  association, consistency across populations, specificity, temporality, experiment, biologic gradient
  (dose-response), plausibility, coherence, and analogy.


  Strength of the association and statistical significance: The meta-analyses and pooled analysis showed
  that risk of ovarian cancer among ever users of talcum powder products is 22-31% higher than in
  women who never used these products. A total of 28 case-control studies, 3 prospective cohort studies,
  2 meta-analyses, and one pooled analysis were reviewed in depth. The meta-analyses found a
  statistically significant 24 – 25% increased risk of developing serous ovarian cancer—representing 52%
  of epithelial ovarian cancer cases(125) —in women who had ever used talcum powder products
  compared with never-users. The pooled analysis, which included data from 5 previously published and 3
  unpublished case-control studies, found similar statistically significant increased risks for overall
  epithelial ovarian cancer and serous ovarian cancer (24% and 20%, respectively). Thus, when combining
  these studies through meta-analyses, the totality of the evidence shows a statistically significant
  increased risk of ovarian cancer with use of perineal talcum powder products. Viewed in the context of
  the high consistency of the study results across time, diverse study populations, and strong study


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  designs, bias and chance as explanation for the increased risk are unlikely. Further, my confidence in the
  reliability of the data on magnitude of the risk is enhanced. Therefore, my analysis of these studies
  strongly supports a causal association and, given the high prevalence of use of talcum powder products
  in this population, these levels of risk present a clinically significant public health concern. I placed high
  weight on this aspect of determination of causality.


  Consistency of the association: Across the case-control and cohort studies, the association between use
  of talcum powder products and risk of ovarian cancer was highly consistent. As indicated above, the
  case-control studies included population-based and hospital-based studies from a diverse geographic
  area across the U.S., as well as Australia, Canada, the UK, Israel, Greece, and China. Of the 28 studies, 24
  found odds ratio greater than 1.1 for ovarian cancer in women who had any perineal exposure to talcum
  powder products, compared with never users (1-6, 8-11, 13-23, 25-27). Of these 24 odds ratio estimates,
  16 were statistically significant (95% confidence intervals excluded 1.0 or p value < 0.05). Among the 8
  studies which were not statistically significant, 7 had a sample size lower than that estimated to be
  needed to have power to detect a statistically significant result. Furthermore, the increased risk of
  ovarian cancer with use of talcum powder products has been seen in various race/ethnic groups as well
  as in diverse geographic areas around the world. While the cohort studies on average showed more
  attenuated relative risks of ovarian cancer in relation to use of talcum powder product use, these
  studies were not well designed to determine true risk for ovarian cancer and perineal talc use.
  Therefore, their results as a group do not negate the significant case-control study findings and the
  significant results of the meta-analyses and the pooled analysis.


  The most recent and comprehensive meta-analysis by Penninkilampi et al., assessed consistency across
  the studies included in their analysis by measuring heterogeneity with Cochran’s Q statistic, with P <

  0.10 indicating heterogeneity.(34) They then quantified the degree of heterogeneity using the I2

  statistic. The I2 statistic represents the fraction of the total variability across studies that is due to

  heterogeneity. The authors categorized I2 values of 25%, 50%, and 75% as corresponding to low,
  moderate, and high degrees of heterogeneity, respectively, which is typical for meta-analyses.(126) The
  authors found that there was no heterogeneity in the relative risk estimates for exposure to talcum powder
  products in the perineal area, or on diaphragms or sanitary napkins. Even though the 95% confidence
  intervals contained 1.0 in the cohort studies, given the clearly increased relative risk across the case-control


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  studies, the trend toward increased risk in two of the three cohort studies, and the results from the
  Penninkilampi et al. meta-analysis, it is my opinion that this did not occur by chance but is, in fact, a true
  causal relationship.


  The consistency across studies, led by many investigators, using different study designs, and in diverse
  ethnic, racial, and geographic populations over a period of nearly 35 years weighs heavily as to the
  consistency and reliability of the data in favor of a causal risk. Accordingly, I placed significant weight on this
  factor in my causation analysis.


  Specificity of the association: Use of talcum powder products is strongly associated with epithelial
  ovarian cancer. Analyses by histologic subtype of epithelial ovarian cancer found that serous ovarian
  cancer appeared to be most strongly and consistently related to talc exposure, although the pooled
  case-control project found associations some other subtypes of ovarian cancer. Mucinous cancers have
  been consistently found to be unrelated to use of these products. Therefore, the specificity aspect is
  present for epithelial ovarian cancer and certain subtypes. However, because many carcinogens have
  been shown to cause diverse and nonspecific morbidities, such as smoking, I weighed this aspect
  moderately in my causal analysis as compared to other Bradford Hill factors.


  Temporality: The epidemiologic studies that looked at lifetime talcum powder product use supported
  that exposure to these products predated the diagnosis of ovarian cancer. I did not find any evidence of
  ‘reverse causation’, e.g., using talcum powder products to alleviate symptoms associated with ovarian
  cancer, nor do any investigators report finding reverse causation. Importantly, symptoms related to
  ovarian cancer (bloating, increased abdominal size, abdominal pain, pelvic pain, difficulty eating, feeling
  full quickly)(127) are not vaginal or perineal in origin, and would be unlikely to induce women to
  increase use of talcum powder products. The finding of temporality is an important component in the
  causal analysis and, as such, I place great weight in its applicability to the determination of causality.


  Biologic gradient/ dose-response: The earlier studies were less likely to address dose-response
  associations. The larger, and more recent studies, however, collected important data that inform dose-
  response relationships. Many of the 28 case control studies found evidence of a dose-response effect.
  Most often, this took the form of lifetime numbers of applications of talcum powder products or years
  of use. Thus, while there were studies that did not look for or find a dose-response, the body of

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  literature when taken as a whole does indicate a dose-response effect. Some studies did not gather
  detailed dose data such as frequency of use or length of use. Others gathered either frequency of the
  use or duration of use, but not both. As with smoking, ascertainment of frequency x duration of
  exposure (cumulative exposure) is an optimal metric to determine true dose-response effects. The
  meta-analyses and the pooled analysis also found evidence of relationships between increasing amount
  of exposure to talcum powder products in the perineal/genital area (including frequency, years of use,
  and estimates of lifetime applications) and increased risk of developing epithelial ovarian cancer (i.e.,
  dose-response relationships). Thus, the studies that accurately determined use of talcum powder
  products revealed evidence of dose-response effects. When present, the finding of a biologic
  gradient/dose-response is helpful in determining causation. The findings within the study data,
  particularly meta-analyses and the pooled analysis, thus, supports my causal analysis and I placed
  significant weight on this factor.


  Plausibility: In my consideration of whether talcum powder products can cause cancer, I considered the
  data for biologically plausible mechanisms by which exposure to talc could result in ovarian cancer. In
  that regard, I assessed data and determined that talcum powder products can migrate from the
  perineum through the female genital tract to the ovaries; talcum powder products are found in ovarian
  and fallopian tube tissues; talcum powder products can induce an inflammatory response; and because
  of the inflammatory response, malignant transformation can occur. Support for these finding comes
  from reliable, peer-reviewed scientific literature which indicates that talcum powder products can
  migrate from the perineum up the genital tract to the fallopian tubes and ovaries and become
  imbedded in the ovarian tissue. Thus, it is biologically plausible that genital exposure to talcum powder
  products can result in exposure to the ovaries.


  Data also plausibly indicates that inhalation of talcum powder products can result in exposure leading to
  cancer, including mesothelioma. Studies also show that talcum powder products can be absorbed and
  transported via the lymphatic system or blood stream. Therefore, inhalation of talcum powder products
  could result in similar ovarian exposure. Published scientific data shows that talc reaches the ovary and
  becomes imbedded in the ovarian tissue. There are reliable data to support that talc induces an
  inflammatory response which mediates oxidative stress, release of cytokines and resulting genotoxicity
  which can induce malignant transformation. Further, the presence of asbestos and other constituents in



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  the talcum powder products such as asbestos, heavy metals, and fragrance have been shown to induce
  cancer by similar mechanisms.


  While I have considered the data that do not support the plausibility of talcum powder products’
  carcinogenicity, otherwise overwhelming and reliable evidence indicates that there are biologically
  plausible mechanisms by which talcum powder products can induce ovarian carcinogenicity. Talc and its
  constituents can reach the ovaries, induce an inflammatory response that leads to genotoxicity and to
  development of ovarian cancer. While this mechanism of carcinogenicity is not proven, it is highly
  biologically plausible based on the present scientific information and understanding. Therefore, I place
  significant weight on this aspect of determination of causality.


  Coherence: The cause-and-effect interpretation of the data on talcum powder product use and risk of
  ovarian cancer clearly do not significantly conflict with the known facts about the natural history and
  biology of the disease. Increased inflammation has been linked to risk of ovarian cancer, and talc and
  other contents of talcum powder products elicit inflammatory responses within areas of the body in
  which they have been found (i.e. ovary, peritoneum, lymph nodes, etc.). By analogy, a similar
  mechanism has been reported by which asbestos causes ovarian cancer. These mechanisms are
  consistent with one another and the accepted understanding of the role of inflammation in
  carcinogenesis. While these factors support a causal association and my opinions in this regard, I do not
  weigh them quite as heavily as the strength and consistency of the association.


  Experiment: As discussed above, the evidence from randomized controlled trials can provide strong
  support to observational evidence. However, here, randomized controlled trials are neither feasible nor
  ethical, similar to smoking and lung cancer. This is because ovarian cancer is a rare disease and typically
  takes decades to develop to be clinically diagnosable. In addition, because the effects of genital talcum
  powder product use could be harmful, it would be unethical to conduct a trial of this type. Furthermore,
  the studies involving migration of talc, the inflammatory process and its association with carcinogenesis
  all contribute in a compelling manner to the causal analysis. While there are experimental data
  supporting causation from cell studies and animal models, given the inability to conduct experimental
  studies in humans to test effects of talcum powder products on ovarian cancer development, there are
  no human experimental data. Despite this, data from reliable observational studies as described in this



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  report strongly support causation. Therefore, I placed slight weight to this aspect of determination of
  causality.




  CONCLUSION

  In conclusion, it is my professional opinion, stated to a medical and scientific degree of certainty, that
  based on the totality of the evidence, which includes epidemiological, biological, pathological and
  mechanistic data, perineal use of talcum powder products can cause ovarian cancer.




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  Tables: Epidemiological Studies of Talcum Powder Product Use and Risk
  of Ovarian Cancer
  Table 1: Case-Control Studies
   Study          Country   No.     No.     Source of        Odds      Odds Ratio       Dose-
                            Cases   Non-    participants   Ratio All      Serous      response?
                                    cases                  Ovarian     Ovarian Ca,
                                                            Ca, Any        Any
                                                           Perineal      Perineal
                                                           Talc Use     Talc Use
                                                           (95% CI)     (95% CI)
   /Schildkraut   U.S.      584     745     Population        1.44         1.38        Yes, OR’s:
   2016 (1)                                                  (1.11-    (1.03-1.85)   < 3600 apps
                                                              1.86)                        1.16
                                                                                     > 3600 apps
                                                                                           1.67
                                                                                      ptrend < 0.01
   Cramer         U.S.      2041    2100    Population       1.33        1.42 (a)    Yes
   2016 (2)                                                 (1.16-     (1.19-1.69)   > 24 talc-
                                                             1.52)                   years: OR
                                                                                     1.49
                                                                                     ptrend = 0.02
   Wu             U.S.      1701    2391    Population       1.46         Not         Yes, per 5-
   2015 (3)                                                 (1.27-     addressed       years talc:
                                                             1.69)                      OR 1.14
                                                                                         (95% CI
                                                                                       1.09-1.20)
   Kurta          U.S.      902     1802    Population        1.4         Not              Not
   2012 (4)                                                 (1.16–     addressed      addressed
                                                             1.69)
   Rosenblatt     U.S.      812     1313    Population       1.27           1.47     No (lifetime
   2011 (5)                                                 (0.97-     (borderline) number of
                                                             1.66)      (0.84-2.56)  apps, years
                                                                            1.01       of use)
                                                                         (invasive)
                                                                        (0.69-1.47)
   Wu             U.S.      609     688     Population       1.53           1.70    Yes, lifetime
   2009 (6)                                                 (1.13-      (1.27-2.28) apps OR:
                                                             2.09)                  <=5200:
                                                                                    1.20
                                                                                     >5200 to
                                                                                    <=15600:
                                                                                    1.38 >15,600
                                                                                    to <=52000:
                                                                                    1.34
                                                                                    >52000:
                                                                                    1.99

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                                                                                   ptrend =
                                                                                   0.0004
   Moorman     U.S.     1114    1086      Population    Whites:        Not               Not
   2009 (7)                                              1.04       addressed       addressed
                                                        (0.82-
                                                         1.33)
                                                        Blacks:
                                                         1.19
                                                        (0.68-
                                                         2.09)
   Merritt     Australia 1576   1509      Population     1.17           1.21          Yes, OR:
   2008 (8)                                             (1.01-      (1.03-1.44)      None 1.0
                                                         1.36)                       > 0-10 yrs
                                                                                        1.13
                                                                                    > 10-25 yrs
                                                                                        1.08
                                                                                   > 25 yrs 1.29
                                                                                   ptrend = 0.02
                                                                                   (similar stat
                                                                                    sign trend
                                                                                    for serous)
   Mills       U.S.     256     1122      Population     1.37           1.77        No (freq X
   2004 (9)                                             (1.02-       (1.12-2.8)       dur), OR
                                                         1.85)                       Never 1.0
                                                                                      Q1 1.03
                                                                                      Q2 1.81
                                                                                      Q3 1.74
                                                                                      Q4 1.06
                                                                                   ptrend = 0.05

   Ness        U.S.     767     1367      Population      1.5           Not        No (duration
   2000 (10)                                           (1.1-2.0)     addressed         only)
   Cramer      U.S.     563     523       Population     1.60           1.38       Yes, lifetime
   1999 (11)                                            (1.18 -     (borderline)    apps when
                                                         2.15)      (0.82, 2.31)     fallopian
                                                                                       tubes
                                                                        1.70        patent: OR
                                                                     (invasive)    < 3000: 1.54
                                                                    (1.22, 2.39)       3000-
                                                                                   10,000: 1.72
                                                                                     >10,000:
                                                                                        1.80
   Wong        U.S.     499     755       Hospital        0.92          1.2        No (duration
   1999 (12)                    (non-                  (.24-3.62)    (0.7-2.1)         only)
                                GYN
                                cancer
                                patients)


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   Godard       Canada   170    170   Population     2.49         Not            Not
   1998 (13)                                        (0.94-     addressed      addressed
                                                     6.58)
   Green        Australia 824   855   Population      1.3         Not        No (duration
   1997 (14)                                       (1.1-1.6)   addressed      only, data
                                                                             not shown)
   Cook         U.S.     313    422   Population      1.5         1.70            No
   1997 (15)                                       (1.1-2.3)   (1.1-2.50)    (cumulative
                                                                               lifetime
                                                                                 days)

   Chang        Canada   450    564   Population      1.42         1.34          No
   1997 (16)                                        (1.08-     (0.96-1.85)   (frequency
                                                     1.86)                   or duration)
   Shushan      Israel   200    408   Population      2.0         Not            Not
   1996 (17)                                       (p=0.04)    addressed      addressed
   Cramer       U.S.     450    454   Population      1.6         Not            Not
   1995 (18)                                       (1.2-2.1)   addressed      addressed
   Purdie       Australia 824   860   Population      1.27        Not            Not
   1995 (19)                                        (1.04-     addressed      addressed
                                                     1.54)
   Tzonou       Greece   189    200   Hospital        1.05        Not            Not
   1993 (28)                                         (0.28-    addressed      addressed
                                                     3.98)
   Rosenblatt   U.S.     77     46    Hospital        1.7         Not        Yes: >= 37.4
   1992 (20)                                       (0.7-3.9)   addressed      years vs. <
                                                                             37.4 years:
                                                                                OR 2.4
   Chen         China    112    224   Population      3.9         Not            Not
   1992 (21)                                         (0.9-     addressed      addressed
                                                    10.63)
   Harlow       U.S.     235    239   Population      1.5          1.4       Yes, lifetime
   1992 (22)                                       (1.0-2.1)    (.9-2.2)     applications,
                                                                                   OR:
                                                                             < 1000: 1.3
                                                                             1000-
                                                                             10,000: 1.5
                                                                             > 10,000:
                                                                             1.8
                                                                             ptrend = 0.09
   Booth        U.K.     235    451   Hospital     Daily 1.3      Not           Yes, RR:
   1989 (23)                                       (0.8-1.0)   addressed       Never 1.0
                                                    Weekly                     Rarely 0.9
                                                   2.0 (1.3-                 Monthly 0.7
                                                     3.4)                     Weekly 2.0
                                                                                Daily 1.3
                                                                              ptrend = 0.05


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   Harlow      U.S.   116     158    Population      1.1          Not          Not
   1989 (24)          border-                     (0.7-2.1)    addressed    addressed
                      line
                      only
   Whittemore U.S.    188     539    Hospital +     1.45          Not      1-20
   1988 (25)                         population   (p=0.06)     addressed   applications/
                                                                           mo RR 1.27
                                                                           (0.82-1.96)
                                                                           > 20
                                                                           apps/mo
                                                                           RR 1.45
                                                                           (0.94-2.22)
                                                                           No ptrend
                                                                           provided
   Hartge      U.S.   135     171    Hospital         2.5         Not           Not
   1983 (26)                                      (0.7-10.0)   addressed    addressed
   Cramer      U.S.   215     215    Population      1.92         Not           Not
   1982 (27)                                        (1.27-     addressed    addressed
                                                     2.89)




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  Table 2: Prospective Cohort Studies
   Study          Country No.   No. Non-   Baseline   Years of   RR All     RR Serous   Dose-
   Year                   Cases cases      Age        Follow-    Ovarian    Invasive    response
   Published                                          up         Ca, Any    Ovarian
                                                                 Perineal   Ca, Any
                                                                 Talc       Perineal
                                                                 Use        Talc Use
                                                                 (95%
                                                                 CI)

   Sister Study   U.S.    154   41,500     54.8       Median     0.73       Not       Not
   Gonzalez,                                          6.6        (0.44-     addressed addressed
   2016 (30)                                          years      1.21)

   Women’s        U.S.    429   61,147     63.3       Mean       1.06       1.13        No (< 9
   Health                                             12.4       (0.87-     (0.84-      vs. 10+
   Initiative                                         years      1.28)      1.51)       years); no
   Houghton,                                                                            frequency
   2014 (29)                                                                            data
                                                                                        collected

   Nurses         U.S.    307   78,323   36-61        Not      1.09         1.40        No (only
   Health                                years in     provided (0.86-       (1.02-      frequency
   Study                                 1982                  1.37)        1.91)       data
   Gertig, 2000                          (year of              (ever                    collected,
   (31)                                  talcum                use                      no
                                         powder                perineal                 duration
                                         product               talc vs.                 data)
                                         use data              never
                                         collected)            use)
   Nurses         U.S.    210   600      36-61        Not      1.24         1.48        Yes: RR’s
   Health                                years in     provided (0.83-       (0.82-      < 1/wk
   Study                                 1982                  1.83)        2.68)       0.98
   Gates, 2008                           (year of              (>1/wk       (>1/wk      1-6/wk
   (32)                                  talcum                vs. <        vs. <       1.01
                                         powder                1/wk)        1/wk)       > 6/wk
                                         product                                        1.44
                                         use data
                                         collected)
   Nurses         U.S.    797   78,323?? 6-61         Not      1.06         1.06        Not
   Health                                years in     provided (0.89-       (0.84-      addressed
   Study                                 1982                  1.28)        1.35)
   Gates, 2010                           (year of              (>1/wk
   (33)                                  talcum                vs. <
                                         powder                1/wk)
                                         product



                                                                                                    73
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                                   use data
                                   collected)




                                                                           74
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  Table 3: Meta-analyses

   Study                     Number of    Number of         Relative    Relative Risk     Dose-
                             Studies      Cases             Risk All       Serous        Response
                                                          Ovarian Ca,   Ovarian Ca,
                                                              Any       Any Perineal
                                                            Perineal      Talc Use
                                                            Talc Use      (95% CI)
                                                            (95% CI)
   Penninkilampi 2018 (34)      27           14,311       1.31          1.32            Yes: OR 1.32
                                                          (1.24-1.39)   (1.22-1.43)     for < 3600
                                                                                        applications;
                                                                                        OR 1.42 for >
                                                                                        3600
                                                                                        applications
   Berge 2017 (35)              27        Not provided,   1.22          1.24            Yes for
                                           should be      (1.13–1.30)   (1.15–1.34)     duration and
                                            same as                                     frequency: 1)
                                          Penninkilami                                  RR per 10-
                                             above                                      year use 1.16
                                                                                        (95% CI 1.07-
                                                                                        1.26); 2) RR
                                                                                        per weekly
                                                                                        use 1.05
                                                                                        (95% CI
                                                                                        1.04-1.07)
   Langseth 2008 (36)           20        Not provided    1.35          Not             Not
                                                          (1.26-1.46)   addressed       addressed
   Huncharek 2003 (37)          16            5260        1.33          Not             No summary
                                                          (1.16-1.45)   addressed       estimates
                                                                                        calculated.
                                                                                        Dose
                                                                                        response
                                                                                        addressed in
                                                                                        9/16 source
                                                                                        studies: no
                                                                                        dose-
                                                                                        response
                                                                                        apparent
   Cramer 1999 (11)             14            3834        1.4           Not             Not
                                                          (1.2-1.5)     addressed       addressed
   Gross 1995 (38)             10 (N=5        1509        1.29          Not             Not
                               studies                    (1.02-1.63)   addressed       addressed
                                with
                              adjusted
                              data and
                             limited to

                                                                                                    75
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                        epithelial
                         ovarian
                        cancers)
   Harlow 1992 (22)         6        1106    1.3 (1.1-1.6)   Not         Not
                                                             addressed   addressed




                                                                                     76
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  Table 4: Pooled Analysis
                     Number       Number of   Odds Ratio     Odds Ratio        Dose-Response
                     of Studies   Cases       All Ovarian       Serous        All Ovarian Cancer
                                                Ca, Any      Ovarian Ca,
                                               Perineal          Any
                                               Talc Use        Perineal
                                               (95% CI)        Talc Use
                                                               (95% CI)
   Terry                 8          8,525     1.24          1.24           Yes. OR (95% CI) by
   2013 (39)                                  (1.15–        (invasive)     quartiles of lifetime
                                              1.33)         (1.13–1.35)    applications vs. never
                                                                           use, non-mucinous
                                                                           cases only:
                                                                           Q1 1.18 (1.02-1.36)
                                                                           Q2 1.22 (1.06-1.41)
                                                                           Q3 1.22 (1.06-1.40)
                                                                           Q4 1.37 (1.19-1.58)




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  11.     Deposition Transcript & Exhibits - John Hopkins (8/16/18, 8/17/18, 10/26/18, 11/5/18)
  12.     Deposition Transcript & Exhibits - Joshua Muscat (9/25/18)
  13.     Deposition Transcript & Exhibits - Julie Pier (9/12/18, 9/13/18)
  14.     Deposition Transcript & Exhibits - Linda Loretz (7/17/18, 10/1/18, 10/2/18)
  15.     Deposition Transcript of Alice Blount, April 2018
  16.     Deposition Transcript of Patricia Moorman (Ingham)
  17.     Expert Report of Jack Siemiatycki
  18.     Fair warning TalcDoc 15
  19.     Fair warning TalcDoc 5 - Exhibit 113 (JNJNL91_000022019)
  20.     Fiber exposure during use of baby powders - Dement, Shuler, Zumwalde - NIOSH
  21.     First Amended Master Long Form Complaint & Exhbits

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  chemoresistance in epithelial ovarian cancer
  25.     Fletcher, Memaj, Saed. Talcum powder enhances oxidative stress in ovarian cancer cells -
  Abstract
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  Abstract
  27.     Folkins, Ann K., Elke A., Jarboe, Jonathan L. Hecht, Michael G. Muto, and Christopher P. Crum.
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  30.     Harper A, G Saed. Talc induces a pro-oxidant state in normal and ovarian cancer cells through
  gene point mutations in key redox enzymes - Abstract, Society of Gynecologic Oncology, 2018, in press.
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  32.     Heller et al. The relationship between perineal cosmetic talc usage and ovarian talc particle
  burden
  33.     Henderson et al. Talc and Carcinoma of the Ovary and Cervix
  34.     Henderson et al. Talc in normal and malignant ovarian tissue
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  observational data
  36.     Hopkins Chart - Exhibit 24
  37.     Huncharek et al. Use of cosmetic talc on contraceptive diaphragms and risk of ovarian cancer: a
  meta-analysis of nine observational studies
  38.     IARC - Monograph Vol. 93 - Carbon black, titanium dioxide, and talc, 2010
  39.     IOM (National Academies of Sciences, Engineering and Medicine). Ovarian Cancers: Evolving
  paradigms in research and care
  40.     IMERYS210236-IMERYS210137
  41.     IMERYS241039
  42.     IMERYS241994-IMERYS242004
  43.     IMERYS242050
  44.     IMERYS322241-IMERYS322242
  45.     IMERYS422289-IMERYS422290
  46.     IMERYS422289-IMERYS422290
  47.     JNJ000087166-JNJ000087230
  48.     JNJ000251888-JNJ000251890
  49.     JNJ000261010-JNJ000261027
  50.     JNJ000526231-JNJ000526676
  51.     JNJ000637879-JNJ000637881
  52.     JNJAZ55_000000577-JNJAZ55_000000596
  53.     JNJAZ55_000003357
  54.     JNJAZ55_000012423-JNJAZ55_000012430
  55.     JNJAZ55_000012423-JNJAZ55_000012430

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  59.      JNJNL61_000001534-JNJNL61_000001535
  60.      JNJNL61_000006431-JNJNL61_000006432
  61.      JNJNL61_000020359
  62.      JNJNL61_000052427
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  64.      JNJNL61_000061857
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  cosmetics talc products, May 13, 2008
  69.      Letter From Cancer Prevention Coalition to FDA re: Citizen's petition seeeking cancer warning on
  cosmetics talc products, November 17, 1994
  70.      Letter from Personal Care Products Council to FDA re: Commnets on citizen's petition to the
  Commissioner of the Food and Drug Administration seeking a cancer warning on Talc products
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  73.      Lockey. Nonasbestos fibrous minerals
  74.      Longo, Young. Cosmetic talc and ovarian cancer
  75.      Loretz Exhibit 105
  76.      Loretz Exhibit 106
  77.      Loretz Exhibit 107
  78.      Loretz Exhibit 108
  79.      Lundin, Dossus, Clendenen et al. C-reactive protein and ovarian cancer: a prospective study
  nested in three cohorts (Sweden, USA, Italy)
  80.      Mallen, Townsend, Tworoger. Risk factors for ovarian carcinoma
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  doi:10.1001/jama.1995.03530160021025
  83.      Medscape - Chustecka, Zosia "Talc use in genital area linked to increased risk of ovarian cancer"
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  85.      Moller, Jacobsen et al. Role of oxidative damage in toxicity of particulates, Free Radical
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  86.      Moon, Park, Choi,et al. Risk assessment of baby powder exposure through inhalation
  87.      Moorman et al. Ovarian cancer risk factors in African-American and White Women
  88.      Narod, Steven A. 2016. "Talc and Ovarian Cancer." Gynecologic Oncology 141(3):410-12.
  https://doi.org/10.1016/j.ygyno.2016.04.011.
  89.      Ness, Cottreau. Possible role of ovarian epthelial inflammation in ovarian cancer
  90.      Ness. Does talc exposure cause ovarian cancer?
  91.      New York Times - Lawsuits over baby powder raise questions about cancer risk
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  Contamination in industrial, cosmetic, and pharmaceutical talcs
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  African-American women: a case-control study
  95.      Reference Manual on Scientific Evidence (rev 2011)
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  97.      Rohl, Langer, Selikoff, et al. Consumer talcums and powders: mineral and chemical
  characterization
  98.      Rohl. Asbestos in Talc
  99.      Ross. Geology, asbestos and health
  100. Rothman, Greenland, Lash. Modern Epidemiology, 3rd Edition
  101. Rothman, Pastides, Samet. Interpretation of epidemiologic studies of talc and ovarian cancer
  102. Sjoesten, A.C.E., J.Ellis, and G.a.B. Edelstam. 2004. "Retrograde Migration of Glove Powder in the
  human female genital tract." Human Reproduction 19 (4):991-95.
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  Anderson, Theodore M. Brasky, et al. 2019."Analgesic use and ovarian cancer risk: an analysis in the
  ovarian cancer cohort consortium." Journal of the National Cancer Institute 111(2).
  Https//doi.org/10.1093/jnci/djy100
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  Disease Registry - "Toxicological profile for asbestos"
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  asbestos content
  107. Virta. The phase relationship of talc and amphiboles in a fibrous talc sample
  108. WCD000254-WCD000255
  109. Wehner, Hall et al. Do particles translocate from the vagina to the oviducts and beyond?
  110. Werner. Presence of asbestos in talc samples
  111. Whysner, J., and M. Mohan. 2000. "Perineal application of talc and cornstarch powders:
  evaluation of ovarian cancer risk." American Journal of Obstetrics and Gynecology 182 (3):720-24
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  intrinsic cancer risk factors." Nature Communications 9(1):3490. Https://doi.org/10.1038/s41467-078-
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  113. Zuckerman D, D Shapiro. Talcum powder and ovarian cancer, National Center for Health
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                                  EXHIBIT A
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                                                                                                         Anne McTiernan



                                                 Curriculum Vitae


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Seattle, WA 98109-1024
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EDUCATIONAL BACKGROUND
Residency, Primary Care Internal Medicine, 6/92, University of Washington School of Medicine, Seattle, WA
M.D., 6/89, New York Medical College, Valhalla, NY
Ph.D. in Epidemiology, 12/82, University of Washington, Seattle, WA
M.A. in Medical Sociology, 6/76, State University of New York at Buffalo,
B.A. in Sociology, 1/74, Boston University, Boston, MA

PROFESSIONAL POSITIONS
Division of Public Health Sciences, Fred Hutchinson Cancer Research Center, Seattle, WA
        Director, FHCRC Prevention Center (2002 - 2012)
        Full Member (2001 - present)
        Associate Member (1997 – 2001)
        Assistant Member (1996 - 1997)
        Senior Staff Scientist, Associate in (1983 – 1985; 1992 - 1996)
Department of Epidemiology, University of Washington School of Public Health, Seattle, WA
        Research Professor (2003 - )
        Research Associate Professor (1999 – 2003)
        Research Assistant Professor (1996 - 1999)
        Clinical Instructor (1992 - 1996)
Department of Medicine, Division of Geriatrics
        Adjunct Research Professor (2003 - )
        Adjunct Research Associate Professor (1999 - 2003)
Department of Medicine, Division of General Internal Medicine
        Clinical Instructor (1992 – 1996)
Clinical Nutrition Research Unit, University of Washington, Seattle WA
        Affiliate Investigator (1996 – present)
Harborview Medical Center, Adult Medicine Clinic, Seattle, WA
        Attending Physician (1992 - 1995)
University of Washington, Women’s Primary Care Clinic, Seattle, WA
        Attending Physician (1996)

HONORS and TRAINEESHIPS
• American College of Sports Medicine Citation Award, 2012
• McDougall Mentoring Award, Fred Hutchinson Cancer Research Center, 2011
• Komen for the Cure Scientific Advisory Council/Komen Scholars, 2010-2012
• University of Washington Roger E. Moe Award for Translational Research 2009
• The Joan P. Liman MD Award, Recipient, New York Medical College, 1989
• National Institute for Dental Research, Fellowship Award in Behavioral Dental Research, 1983
• National Cancer Institute Traineeship, 1980-1982
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                                                                                                            Anne McTiernan

•   University of Washington Public Health Traineeship, 1978-1979

PROFESSIONAL ACTIVITIES
Committee Memberships and Academic Consulting

    •   2018 U.S. Dept. Health and Human Services Physical Activity Guidelines Advisory Committee, 2016-2018
    •   Member, External Advisory Board, Pennington Biomedical Research Center, Louisiana, 2018
    •   Reviewer, NIEHS Sisters Study, 2018
    •   Patient-Centered Outcomes Research Institute Advisory Panel on Clinical Trials, 2014-2016
    •   University of Alabama, Center for Exercise Medicine External Advisory Committee, 2016
    •   Program Committee Member, American Institute for Cancer Research 2016 Conference on Nutrition, Physical
        Activity, Obesity and Cancer
    •   Consortium Member: NCI Randomized Controlled Trials of Lifestyle Weight Loss Interventions for Genome-
        Wide Association Studies, 2016-
    •   AACR Cancer Prevention Committee, 2010-
    •   World Cancer Research Fund (WCRF) Continuous Update Project Panel, 2010-
    •   2008 U.S. Dept. Health and Human Services Physical Activity Guidelines Advisory Committee, 2007- 2008
        (Chair, Cancer Working Group)
    •   Cancer Prevention Research Institute of Texas, Prevention Review Committee, 2009-2015
    •   Chair, Transdisciplinary Research on Energetics and Cancer (TREC) Steering Committee 2006-7
    •   Chair, Cancer Interest group, the Obesity Society, 2006-7
    •   Steering Committee for International Position Paper and Consensus Conference on Women’s Health and the
        Menopause, NHLBI-Lorenzi Foundation sponsors, 1998 – 2002
    •   International Advisory Board to the 4th International Symposium on Women’s Health and Menopause, 2000 –
        2001 and 2004
    •   Professional Advisory Committee, Breastcancer.org, 2003 –
    •   Women's Health Research Coalition, 2002
    •   Women’s Health Initiative Committee Membership: Morbidity and Mortality (Co-Chair); Performance
        Monitoring Outcomes Committee (Chair); Coordinating Center Outcomes Scientific Committee (Chair);
        Coordinating Center Representative to WHI Program Advisory Committee, 1994-1995; Genetics Working
        Group; Cancer Biomarkers Working Group
    •   Consultant, Moving Forward Study, University of Illinois, Chicago (PI, Melinda Stolley), 2013-
    •   Consultant, The Energy Balance and Breast Cancer Aspects studies: EBBA-I and EBBA-II, Oslo University
        Hospital, Oslo, Norway (PI, Inger Thune), 2013-
    •   American Institute of Cancer Research Meeting Program Committee member, 2010, 2016
    •   Cancer Prevention Expert Panel, Pennington Biomedical Research Center (Baton Rouge, LA), 2010
    •   External Advisory Committee, Cooper Clinic, Dallas, Tx, April 2006
    •   Steering Committee, LISA Trial of Weight Loss for Breast Cancer Patients, Novartis Canada 2005 – 2007
    •   Chair, Breast Clinical Endpoints Committee, DANCE trial of testosterone patch safety, Proctor & Gamble, 2006-7
    •   External Reviewer for NCI Nutritional Epidemiology Program, 2005, 2013
    •   Data and Safety Monitoring Board, “Project Alive”, Kaiser Oakland (B. Sternfeld, PI)
    •   Member, NCI Transdisciplinary Research Working Group, co-Chair section on Lifestyle, 2006
    •   Panels for American Cancer Society Guidelines on Diet, Nutrition and Cancer Prevention and Guidelines for
        Cancer Patients and Survivors (2001, 2003, 2005)
    •   Working Group for International Agency for Research on Cancer Handbook of Cancer Prevention: Volume 6 –
        Weight control and physical activity, 2000 – 2001
    •   Advisory Board for the Tomorrow Study (Alberta, Canada, Cancer Cohort Study), 1999 - 2001
    •   Advisor to The effects of weight loss and exercise on biomarkers of breast cancer risk- a randomized pilot trial
        (M. Harvie, A. Howell, Manchester, England)
    •   Participant, “Workshop on Physical Activity and Breast Cancer”, National Action Plan on Breast Cancer, Nov. 1997

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   •   Invitee, “Beyond Hunt Valley: Research on Women’s Health for the 21st Century”, Nov. 1997
   •   Participant, “Breast Cancer in Minorities”, National Action Plan on Breast Cancer, March 1999
   •   2005 ASPO Annual Meeting Program Committee
   •   Member, Steering Committee for International Position Paper and Consensus Conference on Women’s Health
       and the Menopause, NHLBI-Lorenzi Foundation sponsors, 1998

Editorial Boards
    • Cancer Prevention Research, 2008 - 2014
    • Journal of Women’s Health, 1998 –
    • Medscape Women's Health and Ob/Gyn & Women's Health, 2001 – 2002

Grant Reviewing
   • Chair, Department of Defense (DOD) United States Army Medical Research and Materiel Command
       (USAMRMC) Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research
       Program - Prevention, January 2017
   • Member, Department of Defense (DOD) United States Army Medical Research and Materiel Command
       (USAMRMC) Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research
       Program - Prevention, January 2018
   • Florida Department of Health Research Program Peer Review, 2017
   • Department of Defense (DOD) United States Army Medical Research and Materiel Command (USAMRMC)
       Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research Program -
       Epidemiology, February, 2016
   • NCI Omnibus: Biomarkers R03 & R21 SEP-12 Review Committee 2015
   • NCI Omnibus: Cancer Management & Behavior 2014
   • MD Anderson NCI CCSG Review 2013
   • Department of Defense (DOD) United States Army Medical Research and Materiel Command (USAMRMC)
       Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research Program Breakthrough
       Award, Epidemiology/Prevention 2013
   • Department of Defense (DOD) United States Army Medical Research and Materiel Command (USAMRMC)
       Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research Program Training-
       Epidemiology - Prevention (2 cycles) 2013
   • NIH Special Emphasis Panel Member September 2012
   • NIH PRDP Study Section Member 2008-2012 (ad hoc 2006-2008)
   • Susan G. Komen for the Cure 2009 - 2013
   • Cancer Prevention & Research Institute of Texas 2009 – 2015
   • Qatar National Priorities Research Program 2010-2013
   • Catalan TV3 Marató Call 2005, 2013
   • San Diego State/UC San Diego Pilot Grant Reviewer 2012
   • FHCRC and UW Pilot Grant Reviews yearly
   • NCI Cancer Centers Review Group Ad Hoc Member May 2007
   • Pennsylvania Interim Performance Review 2007, 2008, 2010, 2012
   • Marsha Rivkin Center for Ovarian Cancer Research Grants 2012
   • Memorial Sloan Kettering Cancer Center NCI CCSG Review 2007
   • Department of Defense Breast Cancer Program Predoctoral Fellowship Grants, 2006
   • Chair, NIH Special Study Section “Mechanisms of Physical Activity Behavior Change” 3/04
   • NIH EDC-2 Special Study Section, Sept. 9-10, 1997
   • Alberta Cancer Board Grants, 1998-2002 and other Canadian agencies, and for Spanish and Italian Foundations
   • NCI Administrative Supplements for Disseminating Evidence-based Research Products 8/04
   • Member, ACSM Research Review Committee 2004 – 2006

Journal Reviewing
                                                 3                                      11/13/2018
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                                                                                                           Anne McTiernan

    •   JAMA, Archives of Internal Medicine, American Journal of Epidemiology, Journal of the National Cancer
        Institute, Annals of Internal Medicine, European Journal of Cancer, British Journal of Cancer, Cancer Causes &
        Control, Cancer Epidemiology Biomarkers & Prevention, Annals of Epidemiology, Epidemiology, and Nutrition

College Fellowship and Membership
    • The Obesity Society (Fellow 2003 -)
    • American College of Sports Medicine (Fellow 2003 -)
    • American College of Epidemiology (Fellow 1999 -)

Professional Licenses and Certification
   • Board Certified, American Board of Internal Medicine, 1992
   • Physician & Surgeon License, State of Washington, 7/21/91-2/18/18
   • DEA License, Expires 2017, Schedules 2, 2N, 3, 3N, 4, 5

LEADERSHIP
• Director, FHCRC Prevention Center, 2002-2012
• Chair, TREC Steering Committee 2006-7
• Chair, Cancer Interest Group, Obesity Society 2007-8
• Chair, Cancer Subcommittee, DHHS Physical Activity Guidelines Advisory Committee 2016-18
• Member, Leadership Group, DHHS Physical Activity Guidelines Advisory Committee 2016-18
• Chair, Cancer Working Group, DHHS Physical Activity Guidelines Advisory Committee 2007-8
• Chair, Section on Mechanisms, IARC Handbook of Cancer Prevention 2002: Physical Activity and Weight Control,
  2000-1
• Organized and Chaired Symposium on Physical Activity and Cancer, American College of Sports Medicine, St.
  Louis, June 2002

REFEREED PUBLICATIONS
(** refers to student papers under my supervision; ^ denotes papers from studies on which I was PI)

1983
1. Shy K, McTiernan A, Daling J, and Weiss N: Oral contraceptive use and the occurrence of pituitary prolactinoma.
     Journal of the American Medical Association 249:2204-2207, 1983.
1984
2. ^McTiernan A, Weiss N, and Daling J: Incidence of thyroid carcinoma in women in relation to reproductive and
     hormonal factors. American Journal of Epidemiology 120:423-435, 1984.
3. ^McTiernan A, Weiss N, and Daling J: Incidence of thyroid carcinoma in women in relation to radiation exposure
     and history of thyroid disease. Journal of the National Cancer Institute 73:575-581, 1984.
1985
4. McTiernan A, Chu J, and Thomas D: Cancer in whites in the Pacific Basin. In Fourth Symposium on Epidemiology
     and Cancer Registries in the Pacific Basin. National Cancer Institute Monograph 69:65-72, 1985.
1986
5. ^McTiernan A, Weiss N, and Daling J: Bias resulting from using the card-back system to contact patients in
     epidemiologic studies. American Journal of Public Health 76:71-73, 1986.
6. McTiernan A, Whitehead A, Thomas D, and Noonan E: Efficient selection of controls for multi-centered
     collaborative studies of rare diseases. American Journal of Epidemiology 123:901-904, 1986.
7. McTiernan A, Thomas D, Johnson L, and Roseman D: Risk factors for estrogen receptor-rich and estrogen
     receptor-poor breast cancers. Journal of the National Cancer Institute 77:849-854, 1986.
8. McTiernan A and Thomas D: Evidence for a protective effect of long-term lactation on risk of breast cancer: results
     from a case-control study. American Journal of Epidemiology 124:353-358, 1986.
9. ^Mueller B, McTiernan A, and Daling J: Level of response in epidemiologic studies using the card-back system to
     contact patients. American Journal of Public Health 76:1331-1332, 1986.

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                                                                                                               Anne McTiernan

1987
10. ^McTiernan A, Weiss N, and Daling J: Incidence of thyroid cancer in women in relation to known or suspected risk
      factors for breast cancer. Cancer Research 47:292-295, 1987.
1991
11. Rosenblatt KA, Thomas DB, McTiernan A, et al: Breast cancer in men: aspects of familial aggregation. Journal of
      the National Cancer Institute 83:849-54, 1991.
12. Demers PA, Thomas DB, Rosenblatt KA, McTiernan A, et al: Occupational exposure to electromagnetic fields and
      breast cancer in men. American Journal of Epidemiology 134:340-47, 1991.
1992
13. Thomas DB, Jiminez LM, McTiernan A, et al: Breast cancer in men: risk factors with hormonal implications.
      American Journal of Epidemiology 135:734-48, 1992.
1993
14. Stalsberg H, Thomas DB, Rosenblatt KA, Jiminez LM, McTiernan A, et al: Histologic types and hormone receptors
      in breast cancer in men--a population-based study in 282 North American men. Cancer Causes and Control 4:143-
      51, 1993.
1994
15. Thomas DB, Rosenblatt K, Jiminez LM, McTiernan A, et al: Ionizing radiation and breast cancer in men. Cancer
      Causes and Control 5:9-14, 1994.
1995
16. Bowen D, Green P, Kestin M, McTiernan A, Carroll D: Effects of decreasing dietary fat on psychological well-
      being. Cancer Epidemiology, Biomarkers, and Prevention 4:555-59, 1995.
17. McTiernan A, Rossouw J, Manson J, et al: Informed consent in the Women's Health Initiative. Journal of Women’s
      Health 5:519-529, 1995.
1996
18. Prentice R, Rossouw JR, Johnson, SR, Freedman LS, McTiernan A. The role of randomized controlled trial in
      assessing the benefits and risks of long-term hormone replacement therapy: example of the Women’s Health
      Initiative. Menopause, 1996;3:71-76.
19. McTiernan A, Stanford JL, Weiss NS, Daling JR, Voigt LF: Occurrence of breast cancer in relation to recreational
      exercise in women age 50-64 years. Epidemiology 1996;7:598-604.
1997
20. Burke W, Peterson G, Lynch P, Botkin J, Daly M, Garber J, Kahn MJE, McTiernan A, Offitt K, Thomson E,
      Varricchio C, for the Cancer Genetics Studies Consortium. Recommendations for follow-up care of individuals
      with an inherited predisposition to cancer. 1. Hereditary nonpolyposis colon cancer. JAMA 1997;277:915-919.
21. Burke W, Daly M, Garber J, Botkin J, Kahn MJE, Lynch P, McTiernan A, Offitt K, Perlman J, Petersen G,
      Thomson E, Varricchio C, for the Cancer Genetics Studies Consortium. Recommendations for follow-up care of
      individuals with an inherited predisposition to cancer. 2. BRCA1 and BRCA2. JAMA 1997;277:997-1003.
22. McTiernan A, Gilligan M, Redmond C: Assessing individual risk for breast cancer: risky business. J Clinical
      Epidemiology 1997;50:547-556.
1998
23. Women’s Health Initiative Study Group. Design of the Women’s Health Initiative Clinical Trial and Observational
      Study. Controlled Clinical Trials 1998;19:61-109.
24. McTiernan A, Stanford J, Daling J, Voigt L: Prevalence and correlates of physical activity in women aged 50-64
      years. Menopause 1998;5:95-101.
25. ^McTiernan A, Kumai C, Bean D, Hastings R, Schwartz R, Ulrich N, Gralow J, Potter J. Anthropometric and
      hormone effects of an 8-week exercise-diet intervention in breast cancer patients: results of a feasibility pilot study.
      Cancer Epidemiology Biomarkers Prevention 1998;7:477-81.
26. Hoffman-Goetz L, Apter D, Demark-Wahnefried W, Goran M, McTiernan A, Reichman M. Mechanisms for an
      association between physical activity and breast cancer. Cancer (supplement) 1998;83:621-628.
27. McTiernan A, Ulrich N, Slate S, Potter J. Physical activity and cancer etiology: associations and mechanisms.
      Cancer Causes and Control 1998;9(5)487-509.



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MANUSCRIPTS SUBMITTED FOR PUBLICATION
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3. Mason C, deDieu Tapsoba J, Duggan C, Wang CY, Alfano CM, McTiernan A. Disordered eating behaviors and
   weight loss outcomes in a 12-month randomized trial of diet and/or exercise intervention in postmenopausal women.
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4. Chan DS, Abar L, Cariolou M, Nanu N, Greenwood DC, Bandura EV, McTiernan A, Norat T. World Cancer
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INVITED SCIENTIFIC PRESENTATIONS (does not include conference abstracts)
1. "Women's Health and the Women's Health Initiative." Fred Hutchinson Cancer Research Center, WHI Clinical
    Center Staff Trainings, 1993-1997.
2. "The Women's Health Initiative: An Overview." University of Washington, Department of Epidemiology Seminars,
    February 8, 1994.
3. "Risk Assessment for Breast Cancer." University of Washington, Department of Surgery Breast Cancer Conference,
    April 26, 1994.
4. “Risk Assessment for Breast Cancer.” Breast Cancer in Young Women, University of Washington Continuing
    Education Conference, August 6, 1994.
5. “Assessing Individual Risk for Breast Cancer.” Cancer in Lesbians Symposium, Fred Hutchinson Cancer Research
    Center, December 2, 1994.
6. “Breast Cancer in High Risk Populations: Women’s Health Initiative.” Fred Hutchinson Cancer Research Center
    Scientific Retreat, December 7, 1994.
7. “The Women’s Health Initiative.” Invited presentation at American Society for Preventive Oncology, Women’s
    Cancers Study Group Meeting, March 11, 1995.
8. “Prevention in Practice and Trials.” Current Concepts in the Early Detection of Breast Cancer, Multicare, Madigan
    Army Medical Center, and American Cancer Society 3rd Annual Oncology Conference, April 11, 1995.
9. “Exercise and Breast Cancer.” Beating Breast Cancer in the ‘90’s: What Everyone Needs to Know about Breast
    Cancer, University of Washington/Fred Hutchinson Cancer Research Center, April 23, 1996.
10. “Women’s Health Initiative.” Women’s Health Grand Rounds, University of Washington Medical Center-Roosevelt,
    January 6, 1996.
11. “Exercise and Cancer.” Interdisciplinary Cancer Course, Fred Hutchinson Cancer Research Center, March 26, 1997.
12. “Exercise and Breast Cancer.” Nutrition Seminar, Department of Nutrition, University of Washington School of
    Public Health, April 10, 1997.
13. Panel Discussant, “Epidemiologic Issues”, NAPBC Workshop on Physical Activity and Breast Cancer, Nov 13-14,
    1997.
14. “Diet and Exercise” Breast Cancer Forum: Clinical Implications of Current Research, FHCRC, October 7, 1998.
15. “Exercise and Breast Cancer” American College of Sports Medicine, Seattle, WA, June 2, 1999.
16. “Physical Activity and Reproductive Hormones” Cooper Institute Conference on Physical Activity and Cancer,
    Dallas, Texas, November 5-7, 2000
17. “Weight Matters in Breast Cancer Prevention and Rehabilitation” Oncology Grand Rounds. Southwest Cancer Center
    at University Medical Center, Lubbock, Texas, March 2001
18. “Body mass, physical activity, and sex hormones in postmenopausal breast cancer patients”. American Cancer
    Society Science Writers Conference, April 2001

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19. "Obesity and Women's Cancer" Keynote Lecture, North American Association for the Study of Obesity, October
    2001.
20. “Physical Activity and Breast Cancer “, Women’s Sports International, St. Louis, June 2002.
21. “Exercise and Breast Cancer”, FHCRC Oncology Grand Rounds, October 2002.
22. “Physical Activity after Cancer: Physiologic Outcomes” in Exercise and the Cancer Survivor: What Should we
    Recommend?, American Dietetic Association Food and Nutrition Conference and Exhibition, Philadephia, October
    2002.
23. ** “Exercise and the Prevention of Colorectal Cancer” European School of Oncology Second Colorectal Cancer
    Conference, Rome, Italy, October 2002.
24. “Energy Balance – an Etiologic Factor in Human Cancer: Randomized Trial of Exercise Effect on Breast Cancer
    Biomarkers.” Oslo Norway, July 2002.
25. “Exercise and Breast Cancer: Impact on Prevention and Recurrence” The Gibson Lecture in Cancer Prevention
    Endowed Lectureship, University of Virginia School of Medicine, February 26, 2003
26. “Exercise, Body Fat, and Breast Cancer” Florence Ettelson Memorial Lectureship Medicine Grand Rounds,
    Providence St. Vincent Medical Center, Portland, OR October 2003
27. “Exercise and Breast Cancer” U. Washington Geriatrics Grand Rounds October 2003
28. “Body Mass Index & Breast Cancer Risk” Challenges & Controversies in Breast Cancer, U Washington School of
    Medicine CME, October 2003
29. “Diet and Physical Activity” 2nd Emerging Trends in Adjuvant Therapy of Breast Cancer Conference, New York
    City, October 2003.
30. “Exercise in the Prevention of Breast and Colon Cancer” New England American College of Sports Medicine,
    November, 2003.
31. “Managing Toxicities of Therapy: Weight Loss and Exercise” School of Breast Oncology, November 2003
32. “Exercise and Breast Cancer Prevention” U. Hawaii, January 2004
33. ** “Obesity and Cancer” 2nd International Conference on the Future of Supportive Therapy in Oncology, St. Kitts,
    Carribean, February 2004
34. “Exercise and Breast Cancer” University of Alabama at Birmingham, CNRC/Nutrition Sciences Seminar Series,
    March 2004
35. “WHI Estrogen plus Progestin and Breast Cancer Results” FHCRC Gynecologic Cancer Research Program, March
    2004
36. ** “Exercise Effects on Total Body Fat, Intra-Abdominal Fat, Insulin, Leptin, and the Metabolic Syndrome in
    Menopause” Plenary Session, 5th International Symposium on Women's Health and Menopause, Florence, Italy,
    April 2005
37. “Exercise and Women’s Health” University of Virginia, May 2004
38. “Colon ca, biomarkers, and exercise” American College of Sports Medicine, 2004
39. “Obesity Management in Cancer Patients” ASCO, June 2004
40. ** “Effect of Physical Activity on Breast and Colon Cancer Biomarkers” Ireland/Northern Ireland/NCI Cancer
    Consortium Seminar on Obesity and Cancer, Dublin, Ireland, September 2004
41. “Exercise Trials in Cancer Prevention” AACR Frontiers in Cancer Prevention, Seattle, WA October 2004
42. “Physical Activity, Endogenous Hormones, and Cancer Etiology” Plenary Session AACR Frontiers in Cancer
    Prevention, Seattle, WA October 2004
43. “Obesity in Breast Cancer Patients” School of Breast Oncology, Atlanta, Georgia, November 2004
44. “Nutrition, Physical Fitness, and Cancer “ Aultman Cancer Center, Canton, Ohio, November 2004
45. "Effects of Menopausal Hormone Therapy and Tamoxifen on Mammographic Density" University of Virginia,
    Department of Radiology, Februrary 2005.
46. “Optimizing Health Outcomes” in Oncology Care in the 21st Century: Integrating Care along the Health Care
    Continuum, Arthur G. James Cancer Hospital Ohio State University, February 2005
47. “Obesity, Exercise, and Breast Cancer”, Tyler, Texas Breast Cancer Conference (talks to oncologists and lay
    audiences) March 2005
48. “Breast Fitness” talk to women’s health providers, Anchorage, Alaska, May 2005
49. “Low Carb Diets: Will They Be Effective in Reducing Breast Cancer Risk?” ASCO, Orlando 2005.
50. ** “Biologic mechanisms involved in the association between physical activity and cancer: results from recent

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    randomized controlled intervention trials” Eurocancer, Paris, June 2005.
51. ** “Exploring Mechanisms Relating Energy Balance and Cancer” IARC, Lyon, France, June 2005.
52. “Prevention of New and Recurrent Cancers: Lifestyle and Chemoprevention” and “Cancer Screening and
    Management: The PCP's Role” Issues in Aging Conference, New Orleans, July 2005
53. "Exercise and Cancer Prevention" Rockefeller, NYC, September 2005
54. ** “Open Forum of Breast Health”, Mexico City, Mexico, October 2005
55. “Breast Fitness: Exercise for Breast Cancer Patients and Survivors”, Cancer Wellness Center Northbrook,IL,
    November 2005
56. “Obesity in Breast Cancer Patients”, School of Breast Oncology, Atlanta GA, November 2005
57. "Insulin Resistance Syndrome and Cancer Risk", International Conference on Metabolic Syndrome, San Francisco,
    November 2005
58. “Selected Major Findings from the OS Results: Breast Cancer”, WHI Conference, Bethesda, February 2006.
59. “Intermediate Endpoints in Energy Balance and Physical Activity Trials” NCI Workshop on State of the Evidence for
    a Weight Control Trial to Prevent Breast Cancer, Bethesda, March 2006.
60. “Physical Activity and Cancer Recurrence and Survival”, Symposium: "Physical Activity across the Cancer
    Continuum" for the CDC International Congress on Physical Activity and Public Health, Atlanta, April 2006
61. “Exercise, Estrogens, and Breast Cancer: Physical Activity Trials” American College of Sports Medicine, May 2006.
62. “Exercise and Nutrition in Chemoprevention” WCRF/AICR International Research Conference, Washington DC,
    July 2006.
63. ** “Exercise and Cancer Prevention”. National University of Singapore, Singapore, July 2006.
64. ** “Breast Cancer Prevention”, “Lifestyle, Diet, and Breast Cancer ”, “Lifestyle changes may reduce the risk of
    recurrence” Mexican Association of Breast Diseases 5th Annual Meeting, Leon, Mexico, August 2006.
65. “WHI and Breast Cancer” Seattle Gynecological Society, Seattle, September, 2006
66. "Physical Activity, Weight Control, and Cancer Prevention” Dana Farber Cancer Center Channing Laboratory and
    Harvard School of Public Health Seminar Series Speaker, October 2006.
67. “Obesity in Breast Cancer Patients”, School of Breast Oncology, Atlanta GA, November 2006
68. “Energy Balance and Cancer: Human Intervention Studies” NCI Energy Balance Working Group, Bethesda, MD,
    January 2007
69. “Overweight, Obesity, and Sedentary Lifestyle in Breast Cancer Prognosis”. Interdisciplinary Science, Health
    Promotion, and Disease Prevention. Pasadena, CA. May 2, 2007.
70. “Transdisciplinary Research to Elucidate the Pathways Linking Components of Energy Balance to the Cancer
    Process” Transatlantic Research and Innovation Symposium. Research Triangle Park, North Carolina, May 3, 2007.
71. “Obesity, Physical Activity, & Breast Cancer” University of Washington CNRU May 11, 2007
72. “Women’s Health Initiative Clinical Trials” Northwestern University Clinical Research Educational Conference,
    Chicago, May 18, 2007.
73. “Exercise and Weight Loss in Women and Men” Northwestern University Dept of Preventive Medicine, May 18,
    2007.
74. FASEB Energy Balance, Body Fat & Disease, “Exercise and Cancer Prevention”, and chair of session “Exercise and
    Cancer Prevention & Prognosis” Indian Wells, CA, August 2007
75. MD Anderson Cancer Prevention Grand Rounds, “Overweight, Obesity, Physical Activity, and Breast Cancer
    Prevention” Houston, Sept 2007
76. MD Anderson Integrative Medicine Program Lecture Series talk “Obesity, Weight Loss, and Physical Activity for
    Cancer Patients and Survivors” Houston, Sept 2007
77. **Breast Health Global Initiative “Primary prevention of breast cancer: lifestyle changes, diet, western lifestyle”,
    Budapest, Hungary, October 2007
78. “Obesity in Breast Cancer Patients”, School of Breast Oncology, Atlanta GA, November 2007
79. “Breast Cancer: Women at Risk and New Strategies for Prevention”, Practicing Clinicians Exchange, San Francisco,
    CA November 2007
80. “Exercise Effect on Inflammation and Other Cancer Biomarkers”, Southeast ACSM, Birmingham, AL, February
    2008
81. “Professional Development for Women”, Southeast ACSM, Birmingham, AL, February 2008
82. “Exercise and Body Composition Change Effects on Sex Hormones in Postmenopausal Women”, AACR – TREC

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    Markers & Mediators, Virginia, February 2008
83. “Obesity in Breast Cancer Risk and Prognosis”, Case Western University, Cleveland, OH, March 2008
84. “Exercise Interventions in Breast Cancer Prevention and Outcomes”, Cleveland, OH, March 2008
85. “TREC Talk”, Cancer Prevention and Research Center Retreat, Coeur d’ Alene, ID, March 2008
86. ** “Fitness vs. Fatness: Evidence from Epidemiologic and Intervention Studies on the Separate and Combined
    Effects of Physical Activity and Obesity on Cancer Risk”, International Physical Activity Meeting, Amsterdam, April
    2008
87. “Influence of Exercise on Immune Function: Possible Link to Breast Cancer”, ACSM, Indianapolis, May 2008
88. “Breast Cancer Prevention and Survivorship through Lifestyle and Chemoprevention”, Memorial Sloan Kettering
    Cancer Center, New York City, NY, September 2008
89. ** “Early Detection, Diet, Physical Activity, and Cancer”, Women in High Places meeting, Riyadh, Saudia Arabia,
    October 2008
90. **“Diet and Breast Cancer”, Saudi Arabian Cancer Conference, Riyadh, Saudia Arabia, October 2008
91. “Physical Activity & Weight Control in Breast Cancer Prevention & Prognosis”, Alaska Conference: “Reducing the
    Risk, Advancing the Cure: New Recommendations, New Options for Primary Care Providers and Survivors.”
    Televised from Seattle, October 2008
92. “Lessons Learned from Real-Life Lifestyle Interventions”, The Obesity Society, Phoenix, AZ, October 2008
93. “Breast Cancer: Weight Loss and Exercise”, School of Breast Oncology, Atlanta, GA, November 2008
94. “Fitness vs. Fatness in Breast Cancer Risk and Prognosis”, Frontiers of Cancer Prevention, Washington, DC,
    November 2008
95. "Effects of Exercise and Obesity on Inflammation and Cancer Risk", University of Washington, DERC Seminar
    Series, February 2009
96. “Does Weight Loss Reduce Cancer Risk?” The Obesity Society, October 2009.
97. Roger E. Moe Award for Translational Research Lecture “Effects of Weight and Physical Activity on Breast Cancer
    Prognosis” University of Washington Current Concepts and Challenges in Breast Cancer October 2009
98. “Lessons learned from physical activity (exercise) interventions” AICR Annual Research Conference on Food,
    Nutrition, Physical Activity and Cancer, Washington, DC, November 2010
99. “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2010
100.    “Transdisciplinary studies of weight loss and exercise interventions in women at increased risk for breast
    cancer”, AACR, Washington, DC, April 2010
101.    “Exercise Effects on Breast Cancer Biomarkers”, International Society for Behavioral Nutrition & Physical
    Activity, Minneapolis, MN, June 2010
102.    **“Physical Activity & Cancer” Lecture, Helsedirektoratet (Directory of Health), Oslo, Norway, December 2010
103.    “Physical Activity, Weight Control and Cancer Prevention” Physical Activity and Nutrition seminar series
    University of Michigan. The School of Kinesiology, February 2011.
104.    “Physical Activity in Cancer Prevention” American College of Sports Medicine President’s Talk, Denver, CO,
    June 2011
105.    “Breast Cancer Prevention” Foundation for Care Management, Lakewood, WA, January 2011
106.     “Breast Cancer Prevention” Foundation for Care Management, Coupeville, WA, February 2011
107.    “Inflammation, Insulin, & Obesity in Breast Cancer Survival”, University of Texas Southwestern Medical
    Center, Dallas, Texas, September 2011
108.    “Interventions in cancer survivors; issues and challenges in this population”, Institute of Medicine Workshop
    “The Role of Obesity in Cancer Survival and Recurrence”, Washington, DC, October 31-November 1, 2011
109.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2011
110.    **"Obesity, Physical Activity, & Related Mechanisms in Breast Cancer Survival", Norwegian Congress in
    Oncology, Oslo, Norway, November 2011
111.    “Impact of Obesity on Cancer “ Swedish Hospital Medical Center CME, Seattle, WA May 2012
112.    "Effects of Weight Loss and Physical Activity on Cancer Risk Factors: Evidence from Randomized Trials",
    University of Hawaii, July 2012
113.    “The Impact of Intentional Weight Loss on Cancer Risk”, The Obesity Society, San Antonio, Texas, September
    2012
114.    “Dietary Weight Loss and Exercise Effects on Metabolic Hormones in Postmenopausal Women”, Fred

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    Hutchinson Cancer Research Center Symposium on Metabolism and Cancer, September 2012
115.    **“Lifestyle Modifications to Reduce Cancer Risk and Improve Overall Health", Global Summit on International
    Breast Health, Vienna, Austria, October 2012
116.    **“ Medical Perspective on the Influential Role of Obesity in the Risk and Prognosis of Breast Cancer” and
    “Obesity, chronic diseases and cancer, a common link with lifestyle” Mexican Association of Mastology,
    Villahermosa, Tabasco, Mexico, October 2012
117.    "Effects of Weight Loss and Physical Activity on Cancer Risk Factors: Evidence from Randomized Trials"
    Oregon Health Sciences University, October 2012
118.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2012
119.    "Dietary weight loss and exercise effects on metabolic and sex hormones in postmenopausal women." American
    Association for Cancer Research, Washington, DC, April 2013
120.    “Obesity, Weight Loss, Vitamin D, and Cancer Biomarkers” Fred Hutchinson Cancer Research Center Joint
    Cancer Prevention/Epidemiology Seminar Series, May 2013
121.    **“The WCRF/AICR Continuous Update Project – Systematic Reviews on Nutrition, Physical Activity & Health
    Outcomes in Cancer Survivors” International Union of Nutrition Scientists (IUNS) 20th International Congress of
    Nutrition, Granada, Spain, 2013
122.    **“Appraisal of Evidence for Obesity Effects on Cancer” IASO/WCRF Obesity, Physical Activity and Cancer,
    London, 2013
123.     “Weight Loss & Exercise Effects on Breast Cancer Biomarkers” University of Illinois Symposium, Chicago,
    October 2013
124.    **“Obesity, Physical Activity and Cancer” State Institute of Diabetes and Endocrinology & Catholic University
    Post Graduation course on Endocrinology and Metabolism. Rio de Janeiro, Brazil, October 2013
125.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2013
126.    “Obesity, Physical Activity and Cancer” Keynote Speaker, The Center for Energy Balance in Cancer Prevention
    & Survivorship Research Retreat, MD Anderson Cancer Center, February 2014
127.    **”Exercise in Cancer Prevention & Survivorship”, Athens Institute for Education and Research, 10th Annual
    International Conference on Kinesiology and Exercise Sciences, Athens, Greece, August 2014
128.    **“Weight Loss & Exercise Effects on Cancer Biomarkers,” University of Tromso, Norway, September 2014
129.    “Breast Cancer Survivors: Findings from the Continuous Update Project,” American Institute for Cancer
    Research Annual Conference, October, 2014.
130.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2014
131.    “Obesity, Weight Loss, & Breast Cancer,” University of Iowa Diabetes and Obesity Talks Seminar Series,
    November, 2014
132.    “Weight Loss & Exercise Effects on Breast Cancer Biomarkers,” Memorial Sloan Kettering Cancer Center, New
    York, February, 2015.
133.    “Physical Activity & Weight Loss Effects on Cancer Biomarkers", NCI Schatzkin Talk, May 2015
134.    “Obesity, Weight Loss, Exercise & Breast Cancer” Seattle Cancer Care Alliance, May 2015
135.    **“Associations of Weight, Physical Activity, & Diet with Breast Cancer Survival”, International Society for
    Behavioral Nutrition & Physical Activity, Edinburg Scotland, June 2015
136.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2015
137.    **“The role of physical activity on cancer risk: epidemiology & molecular mechanisms” WCRF International
    and World Obesity Federation Joint Conference, September 2016
138.    **“Anthropometry: What Can We Measure & What Does It Mean?” WCRF International and World Obesity
    Federation Joint Conference, September 2016
139.    ““Exercise, Weight, and Cancer Risk” University of Alabama Center for Exercise Medicine, Birmingham,
    September 2016
140.    **“Long-term Effects of Exercise & Weight on Breast Cancer Biomarkers” University of Tromso, Norway,
    October 2016
141.    “Exercise, Weight, and Cancer Risk” Roswell Park Prevention Grand Rounds, Buffalo, NY, October 2016
142.    “Modifiable Health Behaviors for Cancer Survivors // Health Promotion: Exercise, Physical Rehab” SCCA
    Cancer Survivorship for Physicians CME, October 2016
143.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2016

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144.    “Physical Activity & Cancer – What We Know, What We Don’t Know” American Institute for Cancer Research
    AICR’s 25th Research Conference, November 2016
145.    **“Screening for Breast Cancer: Pro”, EuroMedLab, Athens, Greece, June 2017
146.    **“Weight Control and Exercise for Breast Cancer Pts & Survivors”, Mexican Association of Mastology, 14th
    National Congress, Guadalajara – México, August, 2017
147.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2017
148.    **“Effects of Weight Loss on Cancer Biomarkers, ” Canadian Cancer Research Conference, Vancouver, BC,
    Canada, November 2017
149.    “Physical Activity and Diet for Cancer Prevention and Treatment: State of the Evidence,” Arizona State
    University, Tempe, Arizona, February, 2018
150.    “Physical Activity for Cancer Prevention and Treatment: State of the Evidence,” Wolffe Lecture, American
    College of Sports Medicine, May 2018
151.    ** Diet, Weight & Exercise in Cancer Prevention & Survival: the World Cancer Research Fund Report,”
    Oncology Grand Rounds, BC Cancer, Vancouver, BC, Canada, September 2018
152.    **“Physical Activity and Cancer Prevention,” National Center for Sport and Exercise Medicine, University of
    Loughborough, England, July 2018
153.    “Weight Control and Exercise for Breast Cancer Prevention,” National Cancer Institute, Stars in Nutrition and
    Cancer lecture, October, 2018


** International Presentations

FUNDED RESEARCH PROJECTS (total dollars unless otherwise noted)
Completed
• A Case-Control Study of Thyroid Cancer in Women, PI: Anne McTiernan, American Cancer Society Institutional
   Grant 1N-26-U, 1979-1982.
• Counseling Strategies for Breast Cancer Risk, PI: Deborah Bowen, PhD, NIH Grant #HG/CA01190-01, 1994-97,
   $654,409.00.
• Fenfluramine as an Adjunct to Smoking Cessation Therapy, PI: Deborah Bowen, PhD, NIH Grant #R29CA50858,
   1990-94.
• Feasibility Study of an Exercise-Diet Program for Breast Cancer Patients, PI: Anne McTiernan, FHCRC Bid and
   Proposal funds, 1995-1996, $10,000 (direct)
• Echocardiographic Follow-up to a Randomized Trial of Fenfluramine in Women Smokers, PI: Deborah Bowen, PhD,
   Wyeth Ayerst research contract, 1998, $1,957,627.
• A Randomized Controlled Trial of Fat Reduction and Risk of Proliferative Forms of Benign Breast Disease, WHI
   Ancillary Study, PI: Tom Rohan, MD; PI of FHCRC subcontract to U. Toronto: Anne McTiernan, $13,699.
• Effect of Exercise on Mammogram Densities, PI: Anne McTiernan, FHCRC Bid and Proposal funds, 1999-2000.
• SEER Special Studies RFP Interaction of Genetic Susceptibility and Hormonal Exposures in Breast Cancer
   Prognosis, PI: Anne McTiernan, 1999-2001, $137,465.
• SEER Special Studies RFP Mammographic Breast Density and Breast Cancer Prognosis, PI: Anne McTiernan,
   1999-2001, $123,558.
• Genetic Risk Information for a Defined Populations, PI: Deborah Bowen, PhD, NIH grant #HG/CA1190-01, 1998-
   2001, $1,143,890.
• Effect of Hormone Replacement Therapy on Mammographic Density, WHI Ancillary Study, PI: Barbara Hulka, MD,
   MPH; PI of FHCRC subcontract to UNC Chapel Hill: Anne McTiernan, 1998-2003, $876,824.
• Effect of Exercise on Sex Hormones in Postmenopausal Women, PI: Anne McTiernan, NIH R01CA/AG69334-
   01A2, 1997-2003, $1,562,811.
• Effect of Exercise on Immune Function in Postmenopausal Women: Supplement to Effect of Exercise on Sex
   Hormones in Postmenopausal Women, PI: Anne McTiernan, NIH R01CA/AG69334-01A2, 1998-2003, $439,112.
• Women’s Intervention Nutrition Study (WINS) FHCRC Clinical Center, PI: Alan Kristal; Past-PI, $28,400.
• Exercise Intervention Trial for Colorectal Polyp Patients, PI: Anne McTiernan, R01 CA77572-01, 2000-2007,
   $4,046,212.
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•   Clinical Coordinating Center, Women's Health Initiative Trial & Observational Study, PI: Ross Prentice; Role on
    project: Co-Investigator, NIH N01-WH-2-2110, 1992-2007+, $112,336,577.
•   Randomized, Double-Blind, Placebo Controlled Trial of 4-OH Tamoxifen Gel in Premenopausal Women with 50-
    80% Density in Breast tissue Based on Digitized Analysis of Screening Mammography, Besins International U.S. Inc.
    PI: Anne McTiernan, 2002-2003, $116,165.
•   Seattle Cancer & Aging Program – Pilot: Effect of Exercise on Prostate Cancer Biomarkers: An Ancillary Study to a
    Randomized Controlled Clinical Trial, PI: Peter Rabinovitch; PI of Pilot Study: Anne McTiernan, P20 CA103728,
    2004-2006, $39,049.
•   Study of Tamoxifen vs. Raloxifene (STAR), PI: R. Clarfeld; Role on project: Co-Principal Investigator.
•   Exercise and Fitness in Childhood Cancer Survivors, PI: Debra Friedman; PI of FHCRC Subcontract: Anne
    McTiernan, NCI R21, 2004-2006, $23,904 (direct).
•   Proteomic Markers of Health Behaviors, PI: Paul Lampe/Yutaka Yasui; Role on project: Co-Investigator, NCI-5
    R03 CA108339-02, 2004-2006, $173,000.
•   Randomized placebo-controlled biomarker modulation trial using Celecoxib in premenopausal women at high risk for
    breast cancer, SWOG, PI: Powell Brown; PI of FHCRC subcontract: Anne McTiernan, NIH/NCI CA37429, 2005-
    2006, $37,799.
•   Effects of Aspirin on Biomarkers of Breast Cancer Risk (Avon Progress for Patients Funds), PI: Nicole Urban; Role
    on project: Project Leader, wrote proposal and directed trial, 2004-2007, $496,238.
•   ALPHA Trial: Alberta Physical Activity and Breast Cancer Prevention Trial. Canadian Breast Cancer Research
    Initiative, PIs: Christine Friedenreich and Kerry Courneya; Role on project: Co-Investigator, 2002-2007,
    $1,104,147.
•   Mammographic Density and Invasive Breast Cancer, PI: Etta Pisano, PI of FHCRC Subcontract: Anne
    McTiernan, R01 CA105007-01, 2004-2007, $50,524 (direct).
•   Cognitive Effects of Aerobic Exercise for Adults with Impaired Glucose Tolerance: A Controlled Trial (American
    Diabetes Association), PI: Laura Baker; Role on project: Co-Investigator, 2004-2007.
•   Cognitive Effects of Aerobic Exercise for Adults with Mild Cognitive Impairment: A Controlled Trial (Alzheimer’s
    Association), PI: Laura Baker; Role on project: Co-Investigator, 2004-2007.
•   Social and Physical Activity of Childhood Cancer Survivors, PI: Debra Friedman; Role on project: Co-Investigator,
    NIH/NCI CA 104123-01A2, 2005-2007, $107,500.
•   UW Multidisciplinary Research Training Grant, PI: R Deyo; Role on project: Co-Investigator, Mentor, 1 K12 HD
    49100-01, 2004-2009, $1,172,239.
•   Epidemiology of Gallbladder Sludge and Stones in Pregnancy, PI: Sum Lee; Role on project: Co-Investigator, RO1
    DK46890, 2003-2008, $372,840.
•   Breast Cancer Prognostic Factors/Pathobiology by Age, PI: Kathi Malone; Role on project: Co-Investigator, NCI-1
    R01 CA098858-01A2, 2004-2009.
•   Seattle TREC Center, PI: Anne McTiernan, NIH/NCI U54 CA116847, 09/23/2005 – 08/31/2011, $12,612,045.
•   Exercise, Diet, and Postmenopausal Sex Hormones, PI: Anne McTiernan, NIH/NCI R01 CA105204, 09/01/2004 –
    06/30/2011, $3,348,605.
•   Reducing Obesity at the Workplace: A Randomized Trial, PI: Shirley Beresford; Role on project: Co-Investigator,
    NIH/NHLBI R01 HL079491, 7/1/2004-6/30/2011.
•   Effect of Exercise and Weight Loss on Adipose Tissue Biology, PI: Anne McTiernan, NIH/NCI R21 CA131676,
    05/01/2008 – 04/30/2011, $435,600.
•   Effect of Dietary Intervention on Insulin and IGF-1 Receptors in Prostate Cancer (Pacific NW Prostate SPORE pilot
    project), PI: Anne McTiernan, NIH/NCI P50 CA97186, 09/01/2009 – 08/31/2011, $48,836.
•   Alberta Physical Activity (ALPHA) and Breast Cancer Prevention Trial: an ancillary study examining androgens,
    biomarkers of obesity, and inflammation. Alberta Breast Cancer Research Initiative, PI: CM Friedenreich; Role on
    project: Co-Investigator, $170,000.
•   Bid & Proposal Funds to Assess Baseline Body Composition, by Dual X-ray Absorptiometry (DXA), in Participants
    of an Ongoing Clinical Trial (Vitamin D, Diet & Activity Study, ViDA) PI: Anne McTiernan, 12/1/2010 –
    06/30/2011, $16,000 (direct).
•   A Phase III Randomized Controlled Study of Exemestane Versus Placebo in Postmenopausal Women at Increased
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    Risk of Developing Breast Cancer. PI of FHCRC Clinic: Anne McTiernan, National Cancer Institute of Canada,
    10/2004 – 11/2012, $1,631,150.
•   Komen Scientific Advisory Council Award “Vitamin D, Weight Loss, and Breast Cancer Biomarker,” PI: Anne
    McTiernan, SAC110024, 07/01/2010 – 06/30/2012, $500,000.
•   Weight Loss & Exercise Effects on Telomere Length in Postmenopausal Women, PI: Anne McTiernan, NIH/NCI
    R21 CA155823, 12/14/10 – 11/30/12, $428,705.
•   Oxidative Stress in Chronic Kidney Disease, University of UW PI: Jonathan Himmelfarb; Role on project: PI of
    FHCRC subcontract, NIH/NHLBI R01 HL070938, 01/01/2011 – 12/31/2012, $197,630 (FHCRC only).
•   Komen Scientific Advisory Council Award “Vitamin D, Weight Loss, and Breast Cancer Biomarker,” PI: Anne
    McTiernan, SAC110024, 07/01/2012 – 06/30/2013, $225,000.
•   NCI: Exercise Effects on Serum Biomarkers of Angiogenesis, PI: Catherine Duggan, PhD; Role on Project: Co-
    Investigator & Mentor, NIH/NCI R03 CA152847, 04/01/2011 – 03/31/2013, $176,000.
•   HEAL Follow-up, NIH/NCI Contract. Manuscript Development for the HEAL Study of Breast Cancer Prognosis, PI:
    Anne McTiernan, NCI contract, 10/2012-9/201/3
•   Vitamin D Effect on Body Composition During Behavioral Weight Loss in Women, PI: Anne McTiernan, NIH
    1R03CA162482, 04/01/12 – 03/31/14, $175,000
•   Effect of Vitamin D and Weight Loss on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
    Research Foundation, 10/1/13-9/30/14, $230,378.
•   Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
    Research Foundation, 10/1/14-9/30/15, $250,000.
•   Weight Loss & Cancer Biomarkers in Women: Oxidative Stress & Inflammation, PI: Anne McTiernan, NIH/NCI,
    1R01CA161131, 04/15/2012 – 9/30/2015, $863,179.
•   Safeway Foundation Assessing Vitamin D, Weight Loss and Breast Cancer Risk Factors, Safeway Foundation, PI:
    Catherine Duggan, PhD; Role on Project: Co-Investigator & Mentor, 7/1/2013 – 6/30/2014, $36,000 (in NCE).
•   Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
    Research Foundation, 10/1/15-9/30/16, $250,000.
•   Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
    Research Foundation, 10/1/16-9/30/17, $250,000.
•   Methods for Measurement Error in Physical Activity & Diet, PI: CY Wang; Role on Project: Co-Investigator,
    NIH/NHLBI R21HL121347, 12/1/13-12/31/16, $494,493.

Active
• Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
   Research Foundation, 10/1/17-9/30/18, $250,000.
• Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
   Research Foundation, 10/1/18-9/30/19, $250,000.
•   INTense Exercise foR surVivAL among men with Metastatic Castrate-Resistant Prostate Cancer (INTERVAL –
   MCRPC): A Multicenter, Randomized, Controlled, Phase III Study, PI: Jonathan Wright; Role on Project: Co-
   Investigator, Movember, 2016 - .
• Exercise Effects in Men & Women on Colon DNA Methylation, PI: Anne McTiernan, NIH/NCI 1R21CA209203-
   01A1, 3/15/17 – 2/28/19, $421,080.
• Exercise Effects in Men & Women on Colon DNA Methylation, PI: Anne McTiernan, NIH/NCI 1R21CA209203-
   01A1, 3/15/17 – 2/28/19, Administrative supplement, $176,000.
• Impact of an exercise program in cancer patients on chemotherapy treatment, PI’s: Anne McTiernan & Blair Irwin,
   Ben Greer SCCA Pilot Study Funds, 9/17-8/18, $50,000 (no cost extension).
• Longitudinal Weight Data from Two Behavioral Weight Loss Randomized Controlled Trial, PI: Anne McTiernan,
   FHCRC Bid & Proposal Funds, 10/17-9/18, $15,000.
• The effects of moderate exercise on distress, quality of life, and biomarkers of angiogenesis and chronic stress in
   ovarian cancer survivors, NCI R21CA215662-01A1, PI: Kathyrn Pennington; Role on Project: Co-Investigator



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TEACHING/MENTORING
Junior Faculty
        Katy Pennington, MD (School of Medicine, OB/GYN, University of Washington)
        Holly Harris, PhD (Epidemiology Program, PHS, FHCRC)
        Catherine Duggan, PhD (Epidemiology Program, PHS, FHCRC)
        Blair Irwin, MD (Multi-Care, Tacoma, SCCA affiliate)
        Jonathan Wright, MD, MPH (School of Medicine, Urology, University of Washington & Epidemiology Program,
        PHS, FHCRC)
Postdoctoral Fellows
    1. Melinda Irwin, PhD (current Full Professor, Yale University)
    2. Melanie Palomares, MD, MPH (current faculty City of Hope, Los Angeles)
    3. Laura Frank, PhD
    4. Page Abramson, PhD
    5. Karen Foster-Schubert, MD (current Assistant Professor, U. of Washington)
    6. Kristin Campbell, PhD (current Assistant Professor, U. British Columbia)
    7. Lisa Cadmus, PhD (current staff scientist U. C. San Diego)
    8. Ikuyo Imayama, MD (current medical resident, Seton Hall University, St. Francis Medical Center, Trenton, NJ)
    9. Caitlin Mason, PhD (current postdoctoral fellow, FHCRC)

Additional Postdoctoral Fellows Working with My Studies’ Data
   10. Jean De Dieu Tapsoba, PhD (current postdoctoral fellow, FHCRC; primary mentor is CY Wang, PhD)
   11. Aaron Thrift, PhD (current postdoctoral fellow, FHCRC; primary mentor is T. Vaughan, MD)

PhD Committees and Predoctoral Trainee Mentoring
   1. Lisa Godefroy Johnson (member of PhD committee)
   2. Shelley Slate Tworoger (member of PhD committee)
   3. Cara Frankenfeld (member of PhD committee)
   4. Victoria M. Chia (member of PhD committee)
   5. Lori Williams (member of PhD committee)
   6. Angela Kong (co-chair of PhD committee)
   7. Babbette Saltzman (member of PhD committee)
   8. Anita Iverson (visiting Norwegian predoctoral student 2009-10, advising)
   9. Adriana Villasenor (member of PhD committee)
   10. Sissi Espetvedt Finstad, MD (Norwegian PhD student, advising)

MS and MPH Committees
1. Margaret Krieg, MD (member of MPH committee)
2. Sylvia Young, MD (chair of MPH committee)
3. Jana Pruski (chair of MPH committee)
4. Melanie Palomares (chair of MPH committee)
5. Susan Stanford (member of MPH committee)
6. Melinda Irwin, PhD (chair of MPH committee)
7. Andrew Shors, MD (member of MPH committee)
8. Libbby Morimoto (member of M.S. committee)
9. Breanna Mitchell (member of M.S. committee)
10. Erin Aiello (chair of MPH committee)
11. Erin Shade (member of M.S. committee)
12. Julie Meyers (member of M.S. committee)
13. Manish Mohanka (chair of MPH committee)
14. Vivian Hawkins (chair of MPH committee)
15. Isaac Rhew (member of MPH committee)
16. Ann Ready (member of MPH committee)

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17. Alanna Boynton (member of MS committee)
18. Heather Hildebrant (member of MPH committee)
19. Jo Henderson (chair of MPH committee)
20. Laura Hooper (member of MPH committee)
21. Kristen Sipsma (member of MPH committee)
22. Karen Foster-Schubert (chair of MS committee)

Advising: Medical Students Research (University of Washington ISMS): Jennifer Rupert, Erin Griffith, Kelley D. Pratt,
Maegan Ashworth
Post-Graduate Physician Training in Cancer Prevention & Control (FHCRC): Elliott Rosenberg, MD, MPH, Mary Ann
Gilligan, MD, MPH, Maureen Brown, MD
Formal Career Development Mentoring: Karen Foster- Schubert, MD, University of Washington NIH K-12 Fellow 2005-
2010; Karen Mustian, PhD University of Rochester NCI Cancer Control Clinical Research Training Program 2004-
FHCRC scientists mentoring: Neli Ulrich, PhD, Rebecca Rudolph, MD, MPH, AnneClaire DeRoos, PhD, Alyson
Littman, PhD, Jonathan Wright, MD, MPH, Catherine Duggan, PhD, Larissa Korde, MD
Individual Study Credits
Course              Title                           Credits                  Years
Epi 499             Undergraduate Research          Var                      1997-2005
Epi 600             Graduate Study/Research         Var                      1997-2005
Epi 700             Masters Research                Var                      1998-2005
Cancer Epi          guest lecture                   1999, 2002-2005

Continuing Medical Education Teaching
• Breast Cancer in Young Women, University of Washington Continuing Education Conference, August 6, 1994,
    Depts. of Surgery and Medicine.
• Current Concepts in the Early Detection of Breast Cancer, Multicare, Madigan Army Medical Center, and American
    Cancer Society 3rd Annual Oncology Conference, April 11, 1995.
• Current Concepts in Breast Cancer – 1997, University of Washington Continuing Medical Education, October, 1997,
    1999, 2000 (session moderator), 2001, 2003, 2009, 2010
• “Update to the Women’s Health Initiative” March 18, 2001, University of Washington talk to IM, GYN, FM
    residents.
Clinical Teaching (U. of Washington School of Medicine)
• Attending Physician, Adult Medical Center, Harborview Medical Center, 1992-95 – supervised internal medicine
    residents in primary care setting.
• Mentoring and training geriatric fellow, Dr. Michi Yukawa, in exercise tolerance testing and testing VO2 max (1999)
Other Academic
Primary Opponent, PhD Thesis Defense, Aina Emaus, University of Oslo, Norway (thesis chair, Inger Thune) 2009

FHCRC SERVICE
• Director, Prevention Center Shared Resource, 2001-2012
• Chair or Member of several faculty promotion committees and 5-year review committees
• Reviewer for CCSG renewal: 2013, 2018
• Member, Scientific Advisory Committee for the Seattle Cancer Care Alliance Prevention Clinic
• Member, Research Trials Office Oversight Committee, 2003 – 2005
• Member, Fred Hutchinson Cancer Research Center Institutional Review Board, 1984-5; 2002 - 2003
• Member, FHCRC Health Care Task Force, 1996
• Member, Clinical Protocol Scientific Review and Monitoring Committee, 1996- 1997
• Organizer, FHCRC Public Health Sciences Hormone Special Interest Group 1995-96
• Member, Seattle Breast Cancer Program Executive Committee, 1998 - 2000
• Member, Ad-Hoc Committee on Improvements in Public Health Sciences Procedures, 1998
• Member, CSS Advisory Committee, 1999 – 2000

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                                                                                                      Anne McTiernan

•   Nutritional/Hormonal Biomarkers group, 2001 – 2002
•   Member, CDS Users Group, 2001 – 2002

UNIVERSITY OF WASHINGTON SERVICE
• Reviewer, Royalty Research Fund, Spring, 1997
• U. Washington Breast Cancer Update 2000 Continuing Medical Education – session moderator

PROFESSIONALLY-RELATED COMMUNITY SERVICE
• Medical Advisory Board, Team Survivor Northwest 1997-
• Professional Advisory Committee, Breastcancer.org, 2003-

LAY AUDIENCE PRESENTATIONS
• National Council of Jewish Women, Seattle Section, “Women’s Health Initiative”, Nov 1992
• Nordstrom’s “Face of Breast Cancer” breast cancer awareness seminar, October 1997
• Danskin Women’s Triathalon, 8/15/98
• Afternoon of Hope, Horizon of Hope National Charity Campaign, Longaberger Co., FHCRC, 8/29/98
• Media roundtable, Women’s Health Initiative, December, 1995
• Breast Cancer Forum: Clinical Implications of Current Research, FHCRC, 10/8/98
• Women’s Health Issues Panel, The Healthy Living Expo, Seattle, WA, 2/7/99
• Virginia Mason Hospital Breast Cancer Support Group “Weight Control and Cancer Survival” September 1999.
• FHCRC Volunteer Conference “Breast Cancer Risk Factors” May 2000.
• FHCRC Women’s Health Series “Exercise and Breast Cancer” April 2000.
• Bellevue Rotary Club, “Exercise and Breast Cancer” October 2000.
• Cardio Pulmonary Rehabilitation InstituteOncology Rehabilitation, Lubbock Texas, “Exercise for Breast Cancer
  Prevention and Rehabilitation”, March 2001
• Greater Cincinnati Breast Cancer Association, October 2001.
• FHCRC Community Lecture "Exercise for Breast and Colon Cancer Prevention" November 2001
• Providence/St. Vincent Medical Center, Portland, OR October 2003
• Women’s Health Day, Anchorage, Alaska 2005
• Cancer Wellness Center, Northbrook, IL 2005

MEDIA
• Media (TV) interviews on physical activity, obesity, vitamin D, sleep, cancer: Today Show (NBC); MSNBC News
  Show; ABC News w/Peter Jennings; ABC World News Tonight; CBS Evening News; CBS News; Seattle KOMO,
  KIRO, KING, FOX13; WZTV-FOX, KOCO-ABC, WFLA-NBC, WBTV-CBS, WLUK-FOX
• Media (radio): KJZZ, Canadian health radio talk show; numerous Seattle-area radio interviews
• Media (print) –Prevention Magazine, American Health Magazine, Time Magazine, Parents’ Magazine, Family Circle,
  Associated Press, Time, Women’s World, Cosmopolitan, Glamour, Self, Reader’s Digest, New York Times, Wall
  Street Journal, LA Times, Parade Magazine, Seattle Times Pacific Magazine, USA Today, U.S. News and World
  Report, Health Magazine, Seattle Magazine, Self, More and others
• Several on-line news media each year
• “Preventing Breast Cancer” written commentary for ABC.com, April 2002.
• Ivanhoe National TV Productions specials on Breastfeeding, Breast Cancer, and Breast Gel Study September 2002




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